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               SETTLEMENT AGREEMENT, RELEASE, AND POLICY BUYBACK

       This Settlement Agreement, Release, and Policy Buyback (“Agreement”) is hereby made
by, between, and among the “Archdiocese” (as defined below), the other “Archdiocese Parties”
(as defined below) on whose behalf this Agreement is executed, the “Parishes” (as defined
below), the other “Parish Parties” (as defined below) on whose behalf this Agreement is
executed, the “Seminary” (as defined below), the other “Seminary Parties” (as defined below) on
whose behalf this Agreement is executed, and the “Settling Insurers” (as defined below).

                                           RECITALS

       WHEREAS, numerous individuals have asserted certain “Tort Claims” (as defined
below) against the Archdiocese, the Parishes, and the Seminary;

        WHEREAS, the “Settling Insurer Entities” (as defined below) issued, allegedly issued, or
may have issued certain insurance policies that insure or allegedly insure the Archdiocese
Parties, the Parish Parties and/or the Seminary Parties (the “Settling Insurer Entity Policies” as
defined below);

        WHEREAS, certain disputes between the Archdiocese Parties, the Parish Parties, the
Seminary Parties (collectively, the “Catholic Parties”), and the Settling Insurers have arisen
and/or may arise in the future concerning the Settling Insurers’ positions regarding the nature and
scope of their responsibilities, if any, to provide coverage to the Catholic Parties under the
Settling Insurer Entity Policies including in connection with Tort Claims (the “Coverage
Disputes”), including those disputes at issue in the lawsuit captioned Archdiocese of St. Paul and
Minneapolis v. The Continental Insurance Company, et al., Adversary Proceeding No. 15-3013
pending in the United States Bankruptcy Court for the District of Minnesota (the “Coverage
Suit”);

        WHEREAS, on January 16, 2015 (the “Petition Date”), the Archdiocese filed a voluntary
petition for relief under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. § 101 et seq.
(the “Bankruptcy Code”), in the United States Bankruptcy Court for the District of Minnesota
(the “Bankruptcy Court”), Case No. 15-30125 (the “Reorganization Case”);

        WHEREAS, through this Agreement, the Catholic Parties and the Settling Insurers,
without any admission of liability or concession of the validity of the positions or arguments
advanced by each other, now wish to compromise and resolve fully and finally any and all
Coverage Disputes and all other disputes between and among them relating to the Catholic
Parties, the Coverage Disputes, the Settling Insurer Entity Policies, and/or Tort Claims;

        WHEREAS, through this Agreement, the Catholic Parties intend to provide the Settling
Insurer Entities with the broadest possible release and the broadest possible buyback with respect
to the Settling Insurer Entity Policies and to provide that the Settling Insurer Entities shall have
no further obligations now or in the future to the “Protected Parties” (as defined below) and no
further obligations now or in the future under, arising from, or related to the Settling Insurer
Entity Policies;

       WHEREAS, as part of the compromise and resolution of the Coverage Disputes, the
Archdiocese Parties and the Archdiocese Settling Insurers wish to effect a sale of the


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Archdiocese Settling Insurer Entity Policies issued or allegedly issued to the Archdiocese and the
Archdiocese’s Interests in the other Archdiocese Settling Insurer Entity Policies, pursuant to 11
U.S.C. §§ 105 and 363; and

        NOW, THEREFORE, in consideration of the foregoing recitals and of the mutual
covenants contained in this Agreement, the sufficiency of which is hereby acknowledged, and
intending to be legally bound, subject to the approval of the Bankruptcy Court, the Catholic
Parties and the Settling Insurers hereby agree as follows:

1. DEFINITIONS

    1.1. As used in this Agreement, the following terms shall have the meanings set forth below
    or in the recitals. Capitalized terms not defined below, herein, or in the recitals shall have the
    meanings given to them in the Bankruptcy Code.

           1.1.1. “Abuse” means (a) any actual or alleged sexual conduct, misconduct, abuse, or
           molestation, including actual or alleged “sexual abuse” as that phrase is defined in
           Minnesota Statutes § 541.073(1); (b) indecent assault or battery, rape, lascivious
           behavior, undue familiarity, pedophilia, ephebophilia, or sexually-related physical,
           psychological, or emotional harm; (c) contacts or interactions of a sexual nature; or (d)
           assault, battery, corporal punishment, or other act of physical, psychological, or
           emotional abuse, humiliation, intimidation, or misconduct.

           1.1.2. “Archdiocese” means the Archdiocese of St. Paul and Minneapolis, which is the
           diocesan corporation formed pursuant to Minnesota Statutes § 315.16 that is the public
           juridic person of the Roman Catholic Archdiocese of Saint Paul and Minneapolis, as
           now constituted or as it may have been constituted, and the Estate (pursuant to section
           541 of the Bankruptcy Code).

           1.1.3. “Archdiocese Insurance Policy(ies)” means (a) all insurance policies identified
           on Exhibit 1 and (b) any and all other known and unknown contracts, binders,
           certificates, or policies of insurance, in effect on or before the Effective Date that were
           issued to, allegedly issued to, or for the benefit of, or subscribed on behalf of or that
           otherwise actually, allegedly, or potentially insure, the Archdiocese or any of its
           predecessors in interest, successors or assigns, and that actually, allegedly, or could
           potentially afford coverage with respect to any Tort Claim; provided, however, that if a
           contract, binder, certificate, or policy of insurance that is not identified on Exhibit 1 and
           was not issued or subscribed on behalf of or allegedly issued to or subscribed on behalf
           of the Archdiocese insures or covers both the Archdiocese and another Person, such
           contract, binder, certificate, or policy of insurance is an “Archdiocese Insurance Policy”
           to the extent it insures or covers the Archdiocese, but not to the extent it insures or
           covers any other Person.

           1.1.4. “Archdiocese Other Insured Entities” means any Person, including those
           entities listed on Exhibit 1, insured or covered or allegedly insured or covered under an
           Archdiocese Settling Insurer Entity Policy that was issued or allegedly issued to the
           Archdiocese, but only with respect to any Claim that would be covered or alleged to be
           covered under that Archdiocese Settling Insurer Entity Policy but for this Agreement,
           including Tort Claims based on alleged Abuse that occurred in whole or in part during
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           the effective period of that Archdiocese Settling Insurer Entity Policy. Notwithstanding
           the foregoing, “Archdiocese Other Insured Entities” does not include the Archdiocese,
           the Parishes, or the Seminary.

           1.1.5. “Archdiocese Parties” means collectively the Archdiocese and: (a) each of the
           past, present, and future parents, subsidiaries, merged companies, divisions, and
           acquired companies of the Archdiocese; (b) any and all named insureds, insureds, and
           additional insureds under the Archdiocese Settling Insurer Entity Policies; (c) each of
           the foregoing Persons’ respective past, present, and future parents, subsidiaries, merged
           companies, divisions, and acquired companies; (d) each of the foregoing Persons’
           respective predecessors, successors, and assigns; and (e) any and all past and present
           employees, officers, directors, shareholders, principals, teachers, staff, members,
           boards, administrators, priests, deacons, brothers, sisters, nuns, other clergy or Persons
           bound by monastic vows, volunteers, agents, attorneys, and representatives of the
           Persons identified in the foregoing subsections (a)-(d), in their capacity as such.
           Nothing in the foregoing is intended to suggest that such Persons are “employees” or
           agents of the Archdiocese or subject to its control. An individual who perpetrated an act
           of Abuse that forms the basis of a Tort Claim is not an Archdiocese Party as to that Tort
           Claim. No religious order, diocese, or archdiocese, other than the Archdiocese itself, is
           an Archdiocese Party, except to the extent such religious order, diocese, or archdiocese
           is an Archdiocese Other Insured Entity.

           1.1.6. “Archdiocese Settling Insurers” means Travelers Casualty and Surety Company
           (formerly known as Aetna Casualty and Surety Company); Northfield Insurance
           Company; St. Paul Surplus Lines Insurance Company; and St. Katherine Insurance
           Company PLC (now known as Travelers Insurance Company Limited).

           1.1.7. “Archdiocese Settling Insurer Entity Policies” means any and all Archdiocese
           Insurance Policies issued, subscribed to, or underwritten in whole or in part or allegedly
           issued, subscribed to, or underwritten in whole or in part by a Settling Insurer Entity.

           1.1.8. “Bankruptcy Plan Effective Date” means the date upon which all of the
           Bankruptcy Orders (as defined in Section 3.1) become Non-Appealable Orders and all
           the conditions set forth in Sections 13.1 of the Joint Plan have been satisfied.

           1.1.9. “Catholic Entities” means the Parishes and those Persons listed on Exhibit 2.

           1.1.10. “Channeled Claim” means any Tort Claim, any Related Insurance Claim, or any
           other Claim against any of the Protected Parties or the Settling Insurer Entities that,
           directly or indirectly, arises out of, relates to, or is in connection with any Tort Claim,
           any Related Insurance Claim, any Class 13 Claims (as defined in the Joint Plan), any
           Medicare Claim, and any Claim covered by the Channeling and Supplemental Insurer
           Injunctions in Article XIV of the Joint Plan.

           1.1.11. “Claim” means any past, present or future claim, demand, action, request, cause
           of action, suit, proceeding or liability of any kind or nature whatsoever, whether at law
           or equity, known or unknown, actual or alleged, asserted or not asserted, suspected or
           not suspected, anticipated or unanticipated, accrued or not accrued, fixed or contingent,
           which has been or may be asserted by or on behalf of any Person, whether seeking
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           damages (including compensatory, punitive or exemplary damages) or equitable,
           mandatory, injunctive, or any other type of relief, including cross-claims,
           counterclaims, third-party claims, suits, lawsuits, administrative proceedings, notices of
           liability or potential liability, arbitrations, actions, rights, causes of action or orders, and
           any other claim within the definition of “claim” in section 101(5) of the Bankruptcy
           Code.

           1.1.12. “Covered Non-Tort Claim” means any Claim, other than Tort Claims, Related
           Insurance Claims, or Medicare Claims, for which the Archdiocese, a Catholic Entity,
           Other Insured Entity, or the Seminary would otherwise have coverage under a Settling
           Insurer Entity Policy but as a result of the sale, transfer, or release by the Debtor, the
           Catholic Entity or the Seminary of such Settling Insurer Entity Policy pursuant to an
           Insurance Settlement Agreement (as defined in the Joint Plan), the Archdiocese,
           Catholic Entity, Other Insured Entity, or Seminary does not have insurance coverage
           for such Claim(s).

           1.1.13. “Effective Date” means the date on which this Agreement has been executed by
           all of the Parties.

           1.1.14. “Extra-Contractual Claim” means any Claim against any of the Settling Insurer
           Entities based, in whole or in part, on allegations that any of the Settling Insurer
           Entities acted in bad faith or in breach of any express or implied duty, obligation or
           covenant, contractual, statutory or otherwise, including any Claim on account of
           alleged bad faith; failure to act in good faith; violation of any express or implied duty of
           good faith and fair dealing; violation of any unfair claims practices act or similar
           statute, regulation, or code; any type of alleged misconduct; or any other act or
           omission of any of the Settling Insurer Entities of any type for which the claimant seeks
           relief other than coverage or benefits under a policy of insurance. Extra-Contractual
           Claims include: (a) any claim that, directly or indirectly, arises out of, relates to, or is in
           connection with any of the Settling Insurer Entities’ handling of any Claim or any
           request for insurance coverage, including any request for coverage for any Claim; (b)
           any Claim that, directly or indirectly, arises out of, relates to, or is in connection with
           any of the Settling Insurer Entity Policies, or any contractual duties arising therefrom,
           including any contractual duty to defend any of the Protected Parties against any Claim;
           and (c) any Claim that directly or indirectly, arises out of, relates to, or is in connection
           with the conduct of the Settling Insurer Entities with respect to the negotiation of this
           Agreement or the Joint Plan.

           1.1.15. “Future Tort Claim” means any Tort Claim that was neither filed, nor deemed
           filed, by May 25, 2016, and is held by (a) an individual who was at the time of the
           Petition Date under a disability recognized by Minn. Stat. § 541.15, subds. 1, 2 and 3
           (or other applicable law suspending the running of the limitation period, if any, other
           than Minn. Stat. § 541.15, subd. 4); (b) an individual who was abused through and
           including the Effective Date and whose claim is timely under Minn. Stat. § 541.073
           subd. 2 as amended in 2013; (c) an individual who has a Tort Claim that was barred by
           the statute of limitations as of August 3, 2015 but is no longer barred by the applicable
           statute of limitations for any reason, including the enactment of legislation that revises
           previously time-barred Tort Claims; or (d) any other individual or class of individuals

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           the Future Tort Claim Representative can identify that would have had a Tort Claim on
           or prior to the Bankruptcy Plan Effective Date.

           1.1.16. “High Schools” means Benilde-St. Margaret’s School (“Benilde”) and De La
           Salle High School (“De La Salle”), both organized under Minnesota Statues Chapter
           317A, and Totino-Grace High School (“Totino Grace”) organized under Minnesota
           Statues Chapter 333A.

           1.1.17. “Interests” means all liens, Claims, encumbrances, interests, and other rights of
           any nature, whether at law or in equity, including any rights of contribution, indemnity,
           defense, subrogation, or similar relief.

           1.1.18. “Joint Plan” refers to the Second Amended Joint Chapter 11 Plan Of
           Reorganization Of The Archdiocese Of St. Paul And Minneapolis [ECF Doc. No. 1223]
           in the Reorganization Case and any subsequent amendment thereto agreed to by the
           Settling Insurers as provided herein.

           1.1.19. “Medicare Claims” means any and all Claims relating to Tort Claims by the
           Centers for Medicare & Medicaid Services of the United States Department of Health
           and Human Services and/or any other agent or successor Person charged with
           responsibility for monitoring, assessing, or receiving reports made under MMSEA and
           pursuing Claims under MSPA, including Claims for reimbursement of payments made
           to Tort Claimants who recover or receive any distribution from the Trust and Claims
           relating to reporting obligations.

           1.1.20. “Medicare Trust Fund” means a U.S. Treasury-held trust fund account from
           which Medicare is funded or from which Medicare disbursements are paid, including
           the Hospital Insurance Trust Fund and the Supplementary Medical Insurance (SMI)
           Trust Fund.

           1.1.21. “MMSEA” means § 111 of the Medicare, Medicaid, and SCHIP Extension Act
           of 2007 (P.L.110-173).

           1.1.22. “MSPA” means 42 U.S.C. § 1395y et seq., or any other similar statute or
           regulation, and any related rules, regulations, or guidance issued in connection
           therewith or amendments thereto, including the regulations promulgated thereunder,
           found at 42 C.F.R. § 411.1 et seq.

           1.1.23. “Non-Appealable Order” means an order, judgment, or other decree (including
           any modification or amendment thereof) that remains in effect and has not been
           reversed, withdrawn, vacated, or stayed, and as to which the time to appeal or seek
           review, rehearing, or writ of certiorari has expired and as to which no appeal, petition
           for certiorari, or other proceedings for reargument or rehearing shall then be pending or
           as to which, if such an appeal, writ of certiorari, review, reargument, or rehearing has
           been sought, (a) appeal, certiorari, review, reargument, or rehearing has been denied or
           dismissed and the time to take any further appeal or petition for certiorari, review,
           reargument, or rehearing has expired; or (b) such order has been affirmed by the highest
           court to or in which such order was appealed, reviewed, reargued, or reheard or that
           granted certiorari and the time to take any further appeal or petition for certiorari,
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           review, reargument, or rehearing has expired; provided, however, that the possibility
           that a motion under Rule 59 or Rule 60 of the Federal Rules of Civil Procedure or any
           analogous rule under the Bankruptcy Rules may be filed with respect to such order
           shall not cause such order not to be a “Non-Appealable Order.”

           1.1.24. “Other Insured Entities” means the Archdiocese Other Insured Entities, the
           Parish Other Insured Entities, and the Seminary Other Insured Entities.

           1.1.25. “Parishes” means all past and present parishes of or in the Archdiocese,
           including any current Diocese of New Ulm parish that was previously a parish of the
           Archdiocese but only for the time period prior to when it joined the Diocese of New
           Ulm. “Parishes” includes all the parishes identified on Exhibit 3.

           1.1.26. “Parish Insurance Policy(ies)” means any and all known and unknown
           contracts, binders, certificates, or policies of insurance in effect on or before the
           Effective Date that were issued to, allegedly issued to, or for the benefit of, or that
           otherwise actually, allegedly, or potentially insure, a Parish or any of its predecessors in
           interest, successors or assigns and that actually, allegedly, or could potentially afford
           coverage with respect to a Tort Claim; provided, however, that if a contract, binder,
           certificate, or policy of insurance that was not issued or allegedly issued to a Parish
           insures or covers both a Parish and another Person, that contract, binder, certificate, or
           policy of insurance is a “Parish Insurance Policy” to the extent it insures or covers a
           Parish, but not to the extent it insures any other Person. For the avoidance of doubt,
           “Parish Insurance Policies” does not include any Archdiocese Insurance Policy that was
           issued or allegedly issued to the Archdiocese.

           1.1.27. “Parish Other Insured Entities” means any Person insured or covered or
           allegedly insured under a Parish Settling Insurer Entity Policy that was issued or
           allegedly issued to a Parish and any and all past and present employees, officers,
           directors, shareholders, principals, teachers, staff, members, boards, administrators,
           priests, deacons, brothers, sisters, nuns, other clergy or religious, volunteers, agents,
           attorneys, and representatives of such Person, but only with respect to any Claim that
           would be covered or alleged to be covered under that Parish Settling Insurer Entity
           Policy, including any Tort Claims based on alleged Abuse that occurred in whole or in
           part during the effective periods of that Parish Settling Insurer Entity Policy.
           Notwithstanding the foregoing, “Parish Other Insured Entities” does not include the
           Archdiocese, the Parishes, or the Seminary.

           1.1.28. “Parish Parties” means the Parishes and: (a) each of the past, present, and future
           parents, subsidiaries, merged companies, divisions, and acquired companies of the
           Parishes; (b) any and all named insureds, insureds, and additional insureds under the
           Parish Settling Insurer Entity Policies; (c) each of the foregoing Persons’ respective
           past, present, and future parents, subsidiaries, merged companies, divisions and
           acquired companies; (d) each of the foregoing Persons’ respective predecessors,
           successors and assigns; and (e) any and all past and present employees, officers,
           directors, shareholders, principals, teachers, staff, members, boards, administrators,
           priests, deacons, brothers, sisters, nuns, other clergy or religious, volunteers, agents,
           attorneys, and representatives of the Persons identified in the foregoing subsections (a)-
           (d). Nothing in the foregoing is intended to suggest that such Persons are “employees”
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           or agents of a Parish or subject to its control. An individual who perpetrated an act of
           Abuse that forms the basis of a Tort Claim is not a Parish Party with respect to that Tort
           Claim. No religious order, diocese, or archdiocese is a Parish Party, except to the extent
           such religious order, diocese, or archdiocese is a Parish Other Insured Entity.

           1.1.29. “Parish Settling Insurers” means Travelers Casualty and Surety Company
           (formerly known as Aetna Casualty and Surety Company), Northfield Insurance
           Company, St. Paul Surplus Lines Insurance Company, and St. Katherine Insurance
           Company PLC (now known as Travelers Insurance Company Limited); Travelers
           Indemnity Company; St. Paul Fire and Marine Insurance Company; United States
           Fidelity and Guaranty Company; and Phoenix Insurance Company.

           1.1.30. “Parish Settling Insurer Entity Policies” means any and all Parish Insurance
           Policies issued, subscribed to, or underwritten in whole or in part or allegedly issued,
           subscribed to, or underwritten in whole or in part by a Settling Insurer Entity.

           1.1.31. “Parties” means the Archdiocese, the other Archdiocese Parties on whose behalf
           this Agreement is executed, the Parishes, the other Parish Parties on whose behalf this
           Agreement is executed, the Seminary, the other Seminary Parties on whose behalf this
           Agreement is executed and the Settling Insurers.

           1.1.32. “Person” means any individual or entity, including any corporation, limited
           liability company, partnership, general partnership, limited partnership, limited liability
           partnership, limited liability limited partnership, proprietorship, association, joint stock
           company, joint venture, estate, trust, trustee, personal executor or personal
           representative, unincorporated association, or other entity, including any federal,
           international, foreign, state, or local governmental or quasi-governmental entity, body,
           or political subdivision or any agency or instrumentality thereof and any other
           individual or entity within the definition of (a) “person” in section 101(41) of the
           Bankruptcy Code; or (b) “entity” in section 101(15) of the Bankruptcy Code.

           1.1.33. “Protected Party” means any of the Archdiocese Parties, the Reorganized
           Debtor, the High Schools, the Seminary Parties, the Annual Appeal, Catholic Youth
           Camp, Catholic Youth Center and the Parish Parties and, solely to the extent of and in
           their capacity as such, their respective predecessors and successors, and all of the
           foregoing Persons’ past, present, and future members, shareholders, trustees, officers,
           directors, officials, employees, agents, representatives, servants, contractors,
           consultants, volunteers, attorneys, professionals, insiders, subsidiaries, merged or
           acquired companies or operations, and their successors and assigns; but an individual
           who perpetrated an act of Abuse that forms the basis of a Tort Claim is not a Protected
           Party for that Tort Claim. Protected Party also includes (a) the Other Insured Entities
           and (b) solely to the extent of and in their capacity as such, the Other Insured Entities’
           respective predecessors and successors, and all of the foregoing Person’s, past, present,
           and future members, shareholders, trustees, officers, directors, officials, employees,
           agents, representatives, servants, contractors, consultants, volunteers, attorneys,
           professionals, insiders, subsidiaries, merged or acquired companies or operations, and
           their successors and assigns, but only for Claims with respect to which the
           corresponding Other Insured Entity is an Other Insured Entity. For the avoidance of
           doubt, and as more fully set forth in the definition of “Archdiocese Other Insured
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           Entities,” “Parish Other Insured Entities”, and “Seminary Other Insured Entities”,
           “Other Insured Entities,” are Protected Parties only as to certain Claims, including only
           certain Tort Claims. For the avoidance of doubt, no religious order, diocese or
           archdiocese other than the Archdiocese itself is a Protected Party except to the extent
           the religious order, diocese or archdiocese is an Other Insured Entity.

           1.1.34. “Related Insurance Claim” means (a) any Claim by any Person against any
           Protected Party or a Settling Insurer Entity that, directly or indirectly, arises from,
           relates to, or is in connection with a Tort Claim, including any such Claim for defense,
           indemnity, contribution, subrogation, or similar relief or any direct action or claim,
           including an action or claim under Minn. Stat. § 60A.08, subd. 8; and (b) any Extra-
           Contractual Claim.

           1.1.35. “Reorganized Debtor” means the Archdiocese, on and after the Bankruptcy Plan
           Effective Date.

           1.1.36. “Seminary” means The St. Paul Seminary.

           1.1.37. “Seminaries” means the Seminary and St. John Vianney Seminary.

           1.1.38. “Seminary Insurance Policy(ies)” means any and all known and unknown
           contracts, binders, certificates, or policies of insurance in effect on or before the
           Effective Date that were issued to, allegedly issued to, or for the benefit of, or that
           otherwise actually, allegedly, or potentially insure the Seminary or any of its
           predecessors in interest, successors or assigns and that actually, allegedly, or could
           potentially afford coverage with respect to a Tort Claim; provided, however, that if a
           contract, binder, certificate, or policy of insurance that was not issued or allegedly
           issued to the Seminary insures or covers both the Seminary and another Person, that
           contract, binder, certificate, or policy of insurance is a “Seminary Insurance Policy” to
           the extent it insures the Seminary, but not to the extent it insures or covers any other
           Person. For the avoidance of doubt, “Seminary Insurance Policies” does not include
           any Archdiocese Insurance Policy that was issued or allegedly issued to the
           Archdiocese.

           1.1.39. “Seminary Settling Insurers” means the Travelers Casualty and Surety
           Company (formerly known as Aetna Casualty and Surety Company), Northfield
           Insurance Company, St. Paul Surplus Lines Insurance Company, and St. Katherine
           Insurance Company PLC (now known as Travelers Insurance Company Limited);
           Travelers Indemnity Company; St. Paul Fire and Marine Insurance Company; United
           States Fidelity and Guaranty Company; and Phoenix Insurance Company.

           1.1.40. “Seminary Parties” means the Seminary: (a) each of its past, present, and future
           parents, subsidiaries, merged companies, divisions, and acquired companies; (b) any
           and all named insureds, insureds, and additional insureds under the Seminary Settling
           Insurer Entity Policies; (c) each of the foregoing Persons’ respective past, present, and
           future parents, subsidiaries, merged companies, divisions and acquired companies; (d)
           each of the foregoing Persons’ respective predecessors, successors and assigns; and (e)
           any and all past and present employees, officers, directors, shareholders, principals,
           teachers, staff, members, boards, administrators, priests, deacons, brothers, sisters,
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           nuns, other clergy or religious, volunteers, agents, attorneys, and representatives of the
           Persons identified in the foregoing subsections (a)-(d). Nothing in the foregoing is
           intended to suggest that such Persons are “employees” or agents of the Seminary or
           subject to its control. An individual who perpetrated an act of Abuse that forms the
           basis of a Tort Claim is not the Seminary Party with respect to that Tort Claim. No
           religious order, diocese, or archdiocese is a Seminary Party, except to the extent such
           religious order, diocese, or archdiocese is a Seminary Other Insured Entity.

           1.1.41. “Seminary Other Insured Entities” means any Person insured or covered or
           allegedly insured under a Seminary Settling Insurer Entity Policy that was issued or
           allegedly issued to the Seminary and any and all past and present employees, officers,
           directors, shareholders, principals, teachers, staff, members, boards, administrators,
           priests, deacons, brothers, sisters, nuns, other clergy or religious, volunteers, agents,
           attorneys, and representatives of such Person, but only with respect to any Claim that
           would be covered or alleged to be covered under that Seminary Settling Insurer Entity
           Policy but for this Agreement, including any Tort Claims based on alleged Abuse that
           occurred in whole or in part during the effective periods of that Seminary Settling
           Insurer Entity Policy. Notwithstanding the foregoing, “Seminary Other Insured
           Entities” does not include the Archdiocese, the Parishes, or the Seminary.

           1.1.42. “Seminary Settling Insurer Entity Policies” means any and all Seminary
           Insurance Policies issued, subscribed to, or underwritten in whole or in part or allegedly
           issued, subscribed to, or underwritten in whole or in part by a Seminary Settling Insurer
           Entity; provided, however, that any Seminary Insurance Policy that was issued by a
           Seminary Settling Insurer Entity to the Seminary for an effective period commencing
           on or after July 1, 2007 is a “Seminary Settling Insurer Entity Policy” only to the extent
           it actually, allegedly, or could potentially afford coverage in connection with Tort
           Claims.

           1.1.43. “Settlement Amount” means the Travelers Settlement Amount (as defined in
           Section 3.4 below).

           1.1.44. “Settling Insurer Entities” means the Archdiocese Settling Insurers, the Parish
           Settling Insurers, and the Seminary Settling Insurers, and each of their past, present and
           future parents, subsidiaries, affiliates, and divisions; each of the foregoing Persons’
           respective past, present, and future parents, subsidiaries, affiliates, holding companies,
           merged companies, related companies, divisions and acquired companies; each of the
           foregoing Persons’ respective past, present and future directors, officers, shareholders,
           employees, partners, principals, agents, attorneys, joint ventures, joint venturers,
           representatives, and claims handling administrators; and each of the foregoing Persons’
           respective predecessors, successors, assignors, and assigns, whether known or
           unknown, and all Persons acting on behalf of, by, through or in concert with them.

           1.1.45. “Settling Insurer Entity Policies” means the Archdiocese Settling Insurer Entity
           Policies, the Parish Settling Insurer Entity Policies, and the Seminary Settling Insurer
           Entity Policies.

           1.1.46. “Settling Insurers” means the Archdiocese Settling Insurers, the Parish Settling
           Insurers, and the Seminary Settling Insurers.
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           1.1.47. “Tort Claim” means any Claim against any of the Protected Parties that arises
           out of, relates to, results from, or is in connection with, in whole or in part, directly or
           indirectly, Abuse that took place in whole or in part prior to the Bankruptcy Plan
           Effective Date, including any such Claim that seeks monetary damages or any other
           relief, under any theory of liability, including vicarious liability; respondeat superior;
           any fraud-based theory, including fraud in the inducement; any negligence-based or
           employment-based theory, including negligent hiring, supervision, retention or
           misrepresentation; any other theory based on misrepresentation, concealment, or unfair
           practice; contribution; indemnity; public or private nuisance; or any other theory,
           including any theory based on public policy or any acts or failures to act by any of the
           Protected Parties or any other Person for whom any of the Protected Parties are
           allegedly responsible, including any such Claim asserted against any of the Protected
           Parties in connection with the Reorganization Case. “Tort Claim” includes any Future
           Tort Claim.

           1.1.48. “Tort Claimant” means any Person holding a Tort Claim.

           1.1.49. “Trust” means the trust or trusts established pursuant to the Joint Plan.

2. THE REORGANIZATION CASE AND JOINT PLAN

    2.1 The Archdiocese and the Official Committee of Unsecured Creditors (the “UCC”)
    appointed by the United States Trustee in the Reorganization Case filed the Joint Plan on
    June 28, 2018. This Agreement is contingent on the Joint Plan being amended to the Settling
    Insurers’ satisfaction, including as set forth in Section 2.1.4. The Joint Plan so amended, and
    any subsequent amendments thereto, shall be in all respects consistent with this Agreement
    and shall not deprive the Settling Insurer Entities of any right or benefit under this
    Agreement or otherwise adversely affect the rights and interests of the Settling Insurer
    Entities under this Agreement, and must, in form and substance, be approved by the Settling
    Insurers. As set forth in the Joint Plan, in the event of a conflict between the Joint Plan and
    this Agreement, this Agreement shall control and shall be deemed incorporated into the Joint
    Plan to the extent necessary to effectuate such result.

           2.1.1 The Joint Plan includes, and shall include, an injunction (the “Channeling
           Injunction”) in substantially the form of Section 14.3 of the Joint Plan as filed on June
           28, 2018, with only such modifications as are acceptable to the Settling Insurers,
           pursuant to section 105(a) of the Bankruptcy Code.

           2.1.2 The Joint Plan shall also include an injunction (the “Supplemental Injunction”)
           in substantially the form of Exhibit 4, with only such modifications as are acceptable to
           the Settling Insurers, pursuant to sections 105(a) and 363 of the Bankruptcy Code.
           Neither the Channeling Injunction nor the Supplemental Injunction shall be construed
           to bar either (a) a Claim based on Abuse against a Person who is not a Protected Party
           or a Settling Insurer Entity or (b) a Claim by such Person for insurance coverage in
           connection with a Claim described in the foregoing subsection (a) under an insurance
           policy other than the Settling Insurer Entity Policies.



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           2.1.3 The Joint Plan does and shall identify the Protected Parties and Settling Insurer
           Entities as parties protected by the Channeling Injunction and the Supplemental
           Injunction and shall contain a Section 7.7 that provides as follows:

                (a)     In consideration of the releases and Channeling Injunction and other
                covenants set forth herein, subject to the occurrence of the Bankruptcy Plan
                Effective Date, each of the Archdiocese Parties:

                       (1)     Irrevocably and unconditionally, without limitation, releases,
                       acquits, forever discharges, and waives any Claims and/or Interests they
                       have or might have now or in the future against the other Protected Parties,
                       the Reorganized Debtor, and the Settling Insurer Entities with respect to
                       any and all Related Insurance Claims, any contribution, subrogation,
                       indemnification, or other similar Claim arising from or relating to Tort
                       Claims, and any Settling Insurer Entity Policies; and

                       (2)     Consents to the sale of Archdiocese Parties’ Claims and/or
                       Interests, if any, in the Settling Insurer Entity Policies in accordance with
                       this Agreement and to the contribution of the proceeds from such sale and
                       settlement to the Trust, as provided in the Joint Plan.

                (b)     In consideration of the releases and Channeling Injunction and other
                covenants set forth herein, subject to the occurrence of the Bankruptcy Plan
                Effective Date, each of the Catholic Entities:

                       (1)     Irrevocably and unconditionally, without limitation, releases,
                       acquits, forever discharges, and waives any Interests they have or might
                       have now or in the future against the other Protected Parties, the
                       Reorganized Debtor, and the Settling Insurer Entities with respect to any
                       and all Related Insurance Claims, any contribution and indemnity claims
                       arising from or relating to Tort Claims, and any Settling Insurer Entity
                       Policies; and

                       (2)     Consents to the sale of such Catholic Entity’s Interests, if any, in
                       the Settling Insurer Entity Policies in accordance with this Agreement and
                       to the contribution of the proceeds from such sale and settlement to the
                       Trust, as provided in the Joint Plan.

                (c)     In consideration of the releases and Channeling Injunction and other
                covenants set forth herein, subject to the occurrence of the Bankruptcy Plan
                Effective Date, each of the Other Insured Entities:

                       (1)     Irrevocably and unconditionally, without limitation, releases,
                       acquits, forever discharges, and waives any Interests they have or might
                       have now or in the future against the other Protected Parties, the
                       Reorganized Debtor, and the Settling Insurer Entities in connection with
                       the Settling Insurer Entity Policies with respect to any and all Related
                       Insurance Claims, and any contribution and indemnity claims arising from
                       or relating to Tort Claims; and
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                        (2)    Consents to the sale of such Other Insured Entity’s Interests, if
                        any, in the Settling Insurer Entity Policies in accordance with this
                        Agreement and to the contribution of the proceeds from such sale and
                        settlement to the Trust, as provided in the Joint Plan.

                (d)     In consideration of the releases and Channeling Injunction and other
                covenants set forth herein, subject to the occurrence of the Bankruptcy Plan
                Effective Date, each of the Seminaries:

                        (1)     Irrevocably and unconditionally, without limitation, releases,
                        acquits, forever discharges, and waives any Interests they have or might
                        have now or in the future against the other Protected Parties, the
                        Reorganized Debtor, and the Settling Insurer Entities with respect to any
                        and all Related Insurance Claims, and any contribution and indemnity
                        claims arising from or relating to Tort Claims, and any Settling Insurer
                        Entity Policies; and

                        (2)     Consents to the sale of such Seminaries’ Interests, if any, in the
                        Settling Insurer Entity Policies in accordance with the “Insurance
                        Settlement Agreements” (as defined in the Joint Plan) and to the
                        contribution of the proceeds from such sales and settlements to the Trust,
                        as provided in the Joint Plan.

                (v)     Nothing in Sections 7.7(a) through 7.7(d) of the Joint Plan shall be
                construed to bar either (a) a Claim based on Abuse against a Person who is not a
                Protected Party or a Settling Insurer Entity or (b) a Claim by such Person for
                insurance coverage in connection with a Claim described in the foregoing
                subsection (a) under an insurance policy other than the Settling Insurer Entity
                Policies.

           2.1.4 The Joint Plan does and shall provide that this Agreement is binding on the
           Trust. The Joint Plan shall provide: The Trust shall establish a “Medicare Holdback”
           and such Medicare Holdback shall consist of the proceeds of the Archdiocese Home
           Liquidation Claim (as described in Section 5.1(b)(2)(vi) of the Joint Plan). The Trust
           shall not distribute any portion of the Medicare Holdback until such time as the
           Medicare Procedures (defined below) are completed by the Trust. The “Medicare
           Procedures” to be completed by the Trust are as follows: (a) immediately upon
           confirmation, the Trustee shall make a query to the Social Security Administration (the
           “SSA Query”), with respect to each Tort Claimant, to determine whether each Tort
           Claimant is eligible to receive, is receiving, or has received Medicare benefits
           (“Medicare Eligible”); (b) within ten (10) calendar days after the Confirmation Date,
           the Trust shall provide to the Settling Insurers and, if requested, the Archdiocese,
           information sufficient to allow the Settling Insurers to perform their own SSA queries
           to the extent they wish to do so; (c) in the event that one or more Tort Claimants is/are
           identified through the SSA Query process as Medicare Eligible, the Trust shall
           complete a query to the Centers for Medicare and Medicaid Services (“CMS”) for each
           such Tort Claimant to determine whether any payment (“Conditional Payment”) made
           pursuant to Section 1395y(b)(2)(B) of the MSPA has been made to or on behalf of that
           Tort Claimant arising from or relating to treatment for Abuse; (d) if any Conditional
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           Payment has been made to or on behalf of that Tort Claimant, the Trustee shall, within
           the time period called for by the MSPA, reimburse the appropriate Medicare Trust
           Fund for the appropriate amount, and submit the required information for that Tort
           Claimant to the appropriate agency of the United States government; and (e) upon
           resolution of all CMS inquiries or matters relating to Section 2.1.4(c) and (d) above, the
           Medicare Holdback shall be immediately available for distribution by the Trust. The
           Trustee’s obligation to make the reimbursements required by Section 2.1.4(d) above
           and to indemnify the Settling Insurers and the other Parties as provided herein with
           respect to Medicare Claims, Tort Claims, and Related Insurance Claims is not limited
           to the amount of the Medicare Holdback. The Joint Plan shall continue to provide that:

                  2.1.4.1       It is the position of the Parties that none of the Parties nor the Trust
                  will have any reporting obligations in respect of their contributions to the Trust,
                  or in respect of any payments, settlements, resolutions, awards, or other claim
                  liquidations by the Trust, under the reporting provisions of MSPA or MMSEA.
                  Prior to making any payments to any claimants, the Trust shall seek a statement
                  or ruling from the United States Department of Health and Human Services
                  (“HHS”) that the Trust and the Parties have no reporting obligations under
                  MMSEA with respect to payments to the Trust by the Parties or payments by
                  the Trust to claimants. Unless and until there is definitive regulatory,
                  legislative, or judicial authority (as embodied in a final non-appealable decision
                  from the United States Court of Appeals for the Eighth Circuit or the United
                  States Supreme Court), or a letter from the Secretary of Health and Human
                  Services confirming that the Parties have no reporting obligations under
                  MMSEA with respect to any settlements, payments, or other awards made by
                  the Trust or with respect to contributions the Parties have made or will make to
                  the Trust, the Trust shall, at its sole expense, in connection with the
                  implementation of the Joint Plan, act as a reporting agent for the Parties, and
                  shall timely submit all reports that would be required to be made by the Parties
                  under MMSEA on account of any Claims settled, resolved, paid, or otherwise
                  liquidated by the Trust or with respect to contributions to the Trust, including
                  reports that would be required if the Parties were determined to be “applicable
                  plans” for purposes of MMSEA, or any of the Parties were otherwise found to
                  have MMSEA reporting requirements. The Trust, in its role as reporting agent
                  for the Parties, shall follow all applicable guidance published by CMS to
                  determine whether or not, and, if so, how, to report to CMS pursuant to
                  MMSEA.

                  2.1.4.2 If the Trust is required to act as a reporting agent for the Parties
                  pursuant to the provisions of this Section 2.1.4, the Trust shall provide a written
                  certification to each of the Parties within ten (10) business days following the
                  end of each calendar quarter, confirming that all reports to CMS required by this
                  Section 2.1.4. have been submitted in a timely fashion, and identifying (a) any
                  reports that were rejected or otherwise identified as noncompliant by CMS,
                  along with the basis for such rejection or noncompliance, and (b) any payments
                  to a claimant who is eligible to receive, is receiving, or has received Medicare
                  benefits (“Medicare Beneficiaries”) that the Trust did not report to CMS.


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               2.1.4.3 With respect to any reports rejected or otherwise identified as
               noncompliant by CMS, the Trust shall, upon request by any Party, promptly
               provide copies of the original reports submitted to CMS, as well as any response
               received from CMS with respect to such reports; provided, however, that the
               Trust may redact from such copies the names, Social Security numbers other
               than the last four digits, health insurance claim numbers, taxpayer identification
               numbers, employer identification numbers, mailing addresses, telephone
               numbers, and dates of birth of the injured parties, claimants, guardians,
               conservators, and/or other personal representatives, as applicable. With respect
               to any such reports, the Trust shall reasonably undertake to remedy any issues
               of noncompliance identified by CMS and resubmit such reports to CMS, and,
               upon request by any Party, provide the Parties copies of such resubmissions;
               provided, however, that the Trust may redact from such copies the names,
               Social Security numbers other than the last four digits, health insurance claim
               numbers, taxpayer identification numbers, employer identification numbers,
               mailing addresses, telephone numbers, and dates of birth of the injured parties,
               claimants, guardians, conservators, and/or other personal representatives, as
               applicable. In the event the Trust is unable to remedy any issue of
               noncompliance, the provisions of this Section 2.1.4 shall apply.

               2.1.4.4 If the Trust is required to act as a reporting agent for the Parties
               pursuant to the provisions of this Section 2.1.4, with respect to each Claim of a
               Medicare Beneficiary that was paid by the Trust and not disclosed to CMS, the
               Trust shall, upon request by any Party, promptly provide the last four digits of
               the claimant’s Social Security number, the year of the claimant’s birth and any
               other information that may be necessary in the reasonable judgment of any
               Party to satisfy their obligations, if any, under MMSEA, as well as the basis for
               the Trust’s failure to report the payment. In the event any Party informs the
               Trust that it disagrees with the Trust’s decision not to report a Claim paid by the
               Trust, the Trust shall promptly report the payment to CMS. All documentation
               relied upon by the Trust in making a determination that a payment did not have
               to be reported to CMS shall be maintained for a minimum of six (6) years
               following such determination.

               2.1.4.5 If the Trust is required to act as a reporting agent for the Parties
               pursuant to the provisions of this Section 2.1.4, the Trust shall make the reports
               and provide the certifications required by this Section 2.1.4 until such time as
               Archdiocese, Catholic Entities, the Seminaries, and the Settling Insurers
               determine, in their reasonable judgment, that they have no further legal
               obligation under MMSEA or otherwise to report any settlements, resolutions,
               payments, or liquidation determinations made by the Trust or contributions to
               the Trust. Furthermore, following any permitted cessation of reporting, or if
               reporting has not previously commenced due to the satisfaction of one or more
               of the conditions set forth in this Section 2.1.4, and if any Party reasonably
               determines, based on subsequent legislative, administrative, regulatory, or
               judicial developments, that reporting is required, then the Trust shall promptly
               perform its obligations under this Section 2.1.4.


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               2.1.4.6 Section 2.1.4 is intended to be purely prophylactic in nature, and does
               not imply, and shall not constitute an admission, that the Parties are in fact
               “applicable plans” within the meaning of MMSEA, or that they have any legal
               obligation to report any actions undertaken by the Trust or contributions to the
               Trust under MMSEA or any other statute or regulation.

               2.1.4.7 In the event that CMS concludes that reporting done by the Trust in
               accordance with this Section 2.1.4 is or may be deficient in any way, and has
               not been corrected to the satisfaction of CMS in a timely manner, or if CMS
               communicates to the Trust or any Party a concern with respect to the sufficiency
               or timeliness of such reporting, or there appears to any Party a reasonable basis
               for a concern with respect to the sufficiency or timeliness of such reporting or
               non-reporting based upon the information received pursuant to this Section
               2.1.4, or other credible information, then each Party shall have the right to
               submit its own reports to CMS under MMSEA, and the Trust shall provide to
               any Party that elects to file its own reports such information as the electing
               Party may require in order to comply with MMSEA, including the full reports
               filed by the Trust pursuant to this Section 2.1.4 without any redactions. The
               Parties shall keep any information they receive from the Trust pursuant to this
               Section 2.1.4. confidential and shall not use such information for any purpose
               other than meeting obligations under MMSEA.

               2.1.4.8 Notwithstanding any other provisions hereof, the Trust shall not be
               required to report as required by this Section until Settling Insurers shall have
               provided their Medicare Reporting Number, if one exists. Moreover, the Trust
               shall have no indemnification obligation under Section 2.1.4.10 to the Settling
               Insurers for any penalty, interest, or sanction with respect to a Claim that may
               arise solely on account of the Settling Insurers’ failure timely to provide their
               Medicare Reporting Number, if one exists, to the Trust in response to a timely
               request by the Trust for such Medicare Reporting Number. However, nothing
               herein relieves the Trust from its reporting obligations with respect to each
               Person who provides the Trust with its Medicare Reporting Number. The Trust
               shall indemnify each Archdiocese Party, Parish Party, Seminary Party, or
               Settling Insurer for any failure to report payments to Medicare eligible Tort
               Claimants on behalf of Persons who have supplied Medicare Reporting
               Numbers, if any exists.

               2.1.4.9 In connection with the implementation of the Joint Plan, the Trustee
               shall obtain, prior to remittance of funds to Tort Claimants’ counsel or the Tort
               Claimant, if pro se, in respect of any Claim a certification from the claimant to
               be paid that said claimant has or will provide for the payment and/or resolution
               of any obligations owing or potentially owing under MSPA relating to such
               Claim; otherwise the Trust shall withhold from any payment to the Tort
               Claimant funds sufficient to assure that any obligations owing or potentially
               owing under MSPA relating to such Claim are paid to CMS. The Trust shall
               provide a quarterly certification of its compliance with this Section 2.1.4 to each
               Party, and permit reasonable audits by such Persons, no more often than
               quarterly, to confirm the Trust’s compliance with this Section 2.1.4. For the

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                 avoidance of doubt, the Trust shall be obligated to comply with the
                 requirements of this Section 2.1.4 regardless of whether any Party elects to file
                 its own reports under MMSEA pursuant to this Section 2.1.4.

                 2.1.4.10 The Trust shall defend, indemnify, and hold the Settling Insurer
                 Entities and the Catholic Parties harmless from any Medicare Claims and any
                 Claims related to the Trust’s obligations under this Section.

    2.2         The Archdiocese or UCC shall serve and file a motion (the “Approval Motion”)
    pursuant to which the Archdiocese and UCC will seek the entry of an order in form and
    substance acceptable to the Settling Insurers, entered by the Bankruptcy Court under sections
    363(b), (f), and (m) and 105(a) of the Bankruptcy Code and Federal Rules of Bankruptcy
    Procedure 6004 and 9019 and under such other provisions as the Bankruptcy Court may
    order, approving this Agreement and authorizing the Parties to undertake the settlement and
    the transactions contemplated by this Agreement (the “Approval Order”). The Approval
    Order shall include an injunction pursuant to sections 105 and 363 of the Bankruptcy Code
    enjoining all Persons from asserting any Interests in the Archdiocese Settling Insurer Entity
    Policies. The Archdiocese or UCC shall serve and file a motion (the “Procedures Motion”)
    that seeks the entry of an order, in form and substance acceptable to the Settling Insurers,
    approving the Procedures Motion and the procedures proposed therein for notice, service,
    and publication of the Approval Motion (the “Procedures Order”). The Approval Motion
    shall be filed in accordance with the Procedures Order or as otherwise ordered by the
    Bankruptcy Court. The Archdiocese and the Settling Insurers will use their best efforts to
    have the Approval Motion heard and decided by the Bankruptcy Court in advance of any
    hearing by the Bankruptcy Court on confirmation of the Joint Plan as amended to the Settling
    Insurers’ satisfaction.

    2.3         The Archdiocese or UCC will provide written notice of the Approval Motion in
    accordance with the local rules at least 14 days in advance of the hearing to (a) all Tort
    Claimants to the extent they are known by the Archdiocese, even if not scheduled or the
    subject of a proof of claim, by serving their counsel of record, or if pro se or unrepresented at
    their last known address to the extent available after a reasonable search; (b) counsel for the
    UCC; (c) the Future Claimants’ Representative appointed by the Court on February 14, 2017
    [No. 969]; (d) all Persons who have filed notices of appearance in the Reorganization Case;
    (e) all Persons known to have provided general or professional liability insurance to the
    Catholic Parties that actually, allegedly, or could potentially afford coverage for any of the
    Catholic Parties with respect to any Tort Claim, after a reasonable search; and (f) all co-
    defendants and their counsel (to the extent of record) in any pre-petition litigation brought by
    Tort Claimants as to whom any claim for contribution, subrogation, indemnification or other
    similar Claim arose for purposes of statute of limitations after January 16, 2013 at the last
    address shown on any filed appearance or, if such co-defendant is proceeding pro se, then to
    the last address of record for such pro se co-defendant. The Archdiocese shall also cause a
    notice of intent to seek entry of the Approval Order to be published twice in the USA Today,
    Star Tribune, Pioneer Press, and The Catholic Spirit in forms and at times as ordered by the
    Bankruptcy Court.

    2.4 If any Person files an objection to the Procedures Motion or Approval Motion, the
    Archdiocese shall file a written response, in form and substance acceptable to the Settling
    Insurers, such acceptance not to be unreasonably withheld, and shall take all reasonable steps
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    to defend against any appeal, petition, motion, or other challenge to the Bankruptcy Court’s
    entry of the Procedures Order and Approval Order.

    2.5 In the Reorganization Case, the Archdiocese shall seek and obtain entry of a Non-
    Appealable Order in form and substance acceptable to the Settling Insurers that: (a) approves
    the Joint Plan (as amended to the Settling Insurers’ satisfaction) pursuant to section 1129 of
    the Bankruptcy Code and any other applicable provision of the Bankruptcy Code; (b)
    contains the Channeling Injunction; (c) contains the Supplemental Injunction; (d) provides
    that this Agreement is binding on the Tort Claimants, the Trust, the Reorganized Debtor, and
    any successors of the Trust or Reorganized Debtor; and (e) provides all protections to the
    Settling Insurer Entities against Tort Claims and other Channeled Claims that are afforded to
    “Settling Insurers Entities” as defined in the Joint Plan under the Joint Plan as amended to the
    Settling Insurers’ satisfaction (the “Plan Confirmation Order”).

           2.5.1 The Plan Confirmation Order shall be in all respects consistent with this
           Agreement and shall contain no provisions that diminish or impair any benefit of this
           Agreement to the Settling Insurer Entities.

           2.5.2 In seeking to obtain the Plan Confirmation Order, the Archdiocese must: (a)
           seek a confirmation hearing within a reasonable time; (b) urge the Bankruptcy Court to
           overrule any objections and confirm the Joint Plan as amended to the Settling Insurers’
           satisfaction; and (c) take all reasonable steps to defend against any appeal, petition,
           motion, or other challenge to the Bankruptcy Court’s entry of the Plan Confirmation
           Order.

           2.5.3 The form and manner of notice of the hearing to confirm the Joint Plan (as
           amended to the Settling Insurers’ satisfaction) are subject to advance approval by the
           Settling Insurers, which approval shall not be unreasonably withheld.

           2.5.4 Prior to entry of the Plan Confirmation Order, the Archdiocese shall oppose any
           motion to lift stay pursuant to section 362 of the Bankruptcy Code as to any Tort Claim.
           If the Bankruptcy Court lifts the stay as to any Tort Claim prior to entry of the Plan
           Confirmation Order, the Archdiocese Settling Insurers shall have the right, but not the
           duty, to defend the Archdiocese and other Archdiocese Parties insured or allegedly
           insured under the Archdiocese Settling Insurer Entity Policies against that Tort Claim
           subject to a reservation of rights and with counsel of the Archdiocese Settling Insurers’
           choosing. If no Settling Insurer Entity defends against the Tort Claim, the Archdiocese
           and other Archdiocese Parties insured under the Archdiocese Settling Insurer Entity
           Policies shall defend against the Tort Claim and comply with the terms of the stay relief
           order. The Archdiocese Settling Insurers, to the extent required under their respective
           Archdiocese Settling Insurer Entity Policies in the absence of this Agreement, if any,
           shall pay the reasonable and necessary costs and expenses incurred by counsel for the
           Archdiocese or other Archdiocese Parties insured under the Archdiocese Settling
           Insurer Entity Policies in defending such Tort Claims. The Archdiocese Parties will
           cooperate with the Archdiocese Settling Insurers in connection with the defense of any
           Tort Claim to the extent required by the respective Archdiocese Settling Insurer Entity
           Policies and applicable law. Any actions taken by the Archdiocese Settling Insurers
           pursuant to this Section 2.5.4, including in connection with the defense of any Tort
           Claim, shall be subject to a reservation of all of the Archdiocese Settling Insurers’
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           rights and defenses, including any such rights or defenses reserved in prior or
           contemporaneous correspondence. For any Tort Claim that is permitted to proceed
           prior to entry of the Plan Confirmation Order, if any, the Archdiocese Settling Insurers
           will indemnify the Archdiocese and other Archdiocese Parties insured under the
           Archdiocese Settling Insurer Entity Policies for such Tort Claims to the extent, if any,
           required under their respective Archdiocese Settling Insurer Entity Policies in the
           absence of this Agreement. Any amounts incurred or paid by the Archdiocese Settling
           Insurers in connection with the defense of or indemnification of any Tort Claim prior to
           the Plan Confirmation Order shall be deducted from the amount that the Settling
           Insurers are required to pay pursuant to Section 3.2 of this Agreement. If the amount
           paid by the Archdiocese Settling Insurers in connection with the defense and
           indemnification reaches the Settlement Amount, then the Archdiocese Settling Insurers
           will automatically be relieved of any obligations they might have had with respect to
           the defense or indemnification of any Tort Claim and may withdraw from the defense
           and stop paying for defense costs without any further obligations with respect to the
           defense or indemnification of the Archdiocese or other Archdiocese Parties insured
           under the Archdiocese Settling Insurer Entity Policies with respect to any Claims then
           in suit or any others that may thereafter be brought. In such event, the Archdiocese
           shall ensure that all claims are otherwise defended and that no default is entered to the
           extent feasible.

    2.6 The Joint Plan and the “Trust Distribution Plan” (as defined in the Joint Plan) shall be
    amended to provide that the assets in the Trust shall be used first for payment of indemnity
    and expenses relating to reimbursing the United States government for reimbursement
    obligations for Conditional Payments made pursuant to the MSPA applicable to any given
    Medicare Beneficiary and, after satisfaction thereof, to such Medicare Beneficiaries and Tort
    Claimants, as well as all other expenditures and disbursements as provided in the Joint Plan,
    “Trust Agreement” (as defined in the Joint Plan) and “Trust Distribution Plan” (as defined in
    the Joint Plan). Except for the payment of the Settlement Amount, the Settling Insurer
    Entities shall not be obligated to make any other payments, including any payments to the
    Trust.

    2.7 The Catholic Parties and the Trust will undertake all reasonable actions and cooperate
    with the Settling Insurers once they pay the Settlement Amount pursuant to Section 3.2 in
    connection with their reinsurers, including responding to reasonable requests for information
    and meeting with representatives of reinsurers as set forth below.

           2.7.1 The Settling Insurers shall have the right (upon reasonable notice and in a
           manner convenient to the Catholic Parties or the Trust, as applicable) to review and
           obtain from the Catholic Parties or the Trust relevant files, information and documents
           (a) concerning Claims subject to payment or potential payment from the Settlement
           Amount, and (b) required of or necessary to the Settling Insurers in connection with any
           Claims for reinsurance for the Settlement Amount or in connection with this
           Agreement. The Settling Insurers will accept the documents in the form provided to the
           Catholic Parties or the Trust (e.g., electronic, paper, etc.) or in the form easiest for the
           Catholic Parties or the Trust to provide. Neither the Catholic Parties nor the Trust shall
           be required to create any additional documents or reports or modify or change the form
           or format of any such information.
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           2.7.2 For the avoidance of doubt, the relevant files, information and documents
           referenced in Section 2.7.1 shall include:

                        (a)    Information from any database maintained by the Trust, any
                               information that the Trust collects pursuant to any trust
                               distribution procedures, and any information included on any claim
                               form used by the Trust with respect to Channeled Claims, and,

                        (b)    For each Channeled Claim that has been resolved by settlement,
                               judgment, allowance, disallowance or otherwise:

                               (i)     the claimant’s name;

                               (ii)    a claim number, if the Trust uses such a number to
                                       identify Claims;

                               (iii)   dates of alleged abuse;

                               (iv)    the age of the claimant at the time of the alleged abuse;
                                       and

                               (v)     the amount paid to the claimant.

           2.7.3 As of the Bankruptcy Plan Effective Date, the Catholic Parties and the Trust,
           once established, shall reasonably cooperate in obtaining and providing the files,
           information and documents referred to in Sections 2.7, 2.7.1 and 2.7.2 at the Settling
           Insurers’ reasonable request and expense (provided that the Settling Insurers shall have
           no obligation to pay, other than reasonable copying costs, any internal costs of the
           Catholic Parties or the Trust, including costs associated with time or expenses of the
           Trust’s employees or agents). For the avoidance of doubt, Sections 2.7 and 2.7.1
           through 2.7.7, and any results of such a review:

                (a)     shall not affect the Settling Insurers’ payment obligations under this
                        Agreement;

                (b)     shall not obligate the Catholic Parties or the Trust to collect any
                        information from any claimant that it is not otherwise obligated to collect;

                (c)     shall not give the Settling Insurers any right to challenge the allowance or
                        payment of any Claim by the Trust; and

                (d)     shall not require the Catholic Parties or the Trust to make any
                        representations or warranties regarding the accuracy of any information
                        contained in or derived from a proof of claim in the Reorganization Case.

           2.7.4 At the Trust’s sole discretion, the Trust may satisfy its obligations under
           Section 2.7 by providing the Settling Insurers with a report (“Report”) concerning
           Claims activity with respect to the time period that is the subject of their requests for
           relevant files, information and documents. If a Trust is required to collect under the

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           Joint Plan or any trust distribution procedures, or in fact collects the following
           information, such Reports shall include:

                   (a) With respect to the Trust, the number of total Claims filed, pending,
                       settled, dismissed or that went to judgment, the total indemnity paid, and
                       total expense paid; and

                   (b) With respect to each Claim received by the Trust:

                                (i)      the claimant’s name and Social Security number;

                                (ii)     the claim number, if any;

                                (iii)    status (open or closed);

                                (iv)     the dates of abuse as set forth in the complaint and
                                         reflected by information reasonably available to the
                                         Archdiocese or a Trust (as applicable);

                                (v)      the age of the claimant at the time of first alleged abuse;

                                (vi)     the name of the abuse perpetrator for which the
                                         Archdiocese is alleged to be responsible;

                                (vii)    date of death, if applicable; and

                                (viii)   the amount of indemnity paid.

           2.7.5 If the Trust exercises its discretion to provide Reports to the Settling Insurers
           pursuant to Section 2.7.4, the Trust shall still be obligated, at the request of the Settling
           Insurers to make available to the Settling Insurers files, information and documents
           described in Sections 2.7.1 through 2.7.3 relating to Claims that are the subject of the
           Report.

           2.7.6 Nothing in Sections 2.7.1 through 2.7.5 requires the Trust or the Catholic
           Parties to disclose any privileged information, violate the Bankruptcy Court’s April 15,
           2015 Order [ECF Doc. No. 188] concerning confidentiality of information contained in
           Proofs of Claim or provide information without a reasonable expectation that such
           information shall be kept confidential. For the avoidance of doubt, both the Trust and
           the Catholic Parties have a reasonable expectation that information will be kept
           confidential if provided to the Settling Insurers as provided herein, except to the extent
           necessary to provide information to reinsurers and retrocessionaires.

    2.8     The Parties shall cease all litigation activities against each other in the Coverage Suit;
    provided, however, that each Party may take whatever steps that, in its sole judgment, are
    necessary to defend its interests as long as it remains a party in the Coverage Suit. But in no
    event shall any further litigation in the Coverage Suit relieve the Settling Insurers of their
    obligation to pay the Settlement Amount or obligate the Settling Insurers to pay more than
    the Settlement Amount unless this Agreement is terminated in accordance with Section 5 of
    this Agreement.
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    2.9     Within ten (10) days after the Settling Insurers pay the Settlement Amount, the
    Parties shall sign and file any necessary papers to dismiss with prejudice any and all claims
    asserted by them against each other in the Coverage Suit.

    2.10 Within a reasonable time after the Settling Insurers pay the Settlement Amount, the
    Archdiocese shall use its best efforts to obtain the dismissal of other Claims, if any, against
    the Settling Insurers by any other insurer in the Coverage Suit.

    2.11 Subject to Section 2.8 above, the Parties covenant not to sue each other until (a) the
    Bankruptcy Orders become Non-Appealable Orders, at which time this covenant is
    superseded by the releases provided in Section 4, or (b) the date on which this Agreement is
    terminated, except that in the event the Bankruptcy Court lifts the stay as to any Tort Claim
    and any Settling Insurer refuses to reimburse the Archdiocese as provided in Section 2.5.4,
    then the Archdiocese or the respective Settling Insurer may seek leave to reopen the
    Coverage Suit for the limited purpose of determining whether the Archdiocese is entitled to
    reimbursement of defense costs for such Tort Claim. As of the Bankruptcy Plan Effective
    Date, the Catholic Parties:

               2.11.1   will withdraw all outstanding tenders of Claims to the Settling Insurer
                        Entities for defense and indemnity under the Settling Insurer Entity
                        Policies;
               2.11.2   will not tender any Claims to the Settling Insurer Entities under the
                        Settling Insurer Entity Policies; and
               2.11.3   will not request the Settling Insurer Entities to fund any judgments,
                        settlements, or defense costs under the Settling Insurer Entity Policies.
    2.12 The Settling Insurer Entities shall have no obligation to pay, defend, handle, object,
    or otherwise respond to any Tort Claim, unless this Agreement is terminated, except as
    expressly provided herein.

    2.13 The Joint Plan does and shall include a “Defense and Indemnity for Covered Non-
    Tort Claims” provision in Section 17.7 of the Joint Plan that requires the Reorganized Debtor
    to: (a) defend and indemnify the Catholic Entities, the Seminaries, and the Other Insured
    Entities with respect to any Covered Non-Tort Claim; and (b) as to any Claim against the
    Trust that qualifies as a Covered Non-Tort Claim, undertake on behalf of the Trust the
    enforcement of the injunctions set forth in Article XIV of the Joint Plan, defend the Covered
    Non-Tort Claim, and, if judgment is entered on such Claim, indemnify the Trust for any
    liability for such Claim. The Joint Plan shall further provide that the Reorganized Debtor
    may not seek insurance coverage from the Settling Insurer Entities for the Claims defended
    or indemnified under Section 17.7 of the Joint Plan or any other Claims under the Settling
    Insurer Entity Policies.
    2.14 The Joint Plan does and shall contain a judgment reduction provision in substantially
    the form of Section 7.4 of the Joint Plan, with only such modifications as are acceptable to
    the Settling Insurers.



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3. PAYMENT OF THE SETTLEMENT AMOUNT

    3.1. Conditions Precedent. The Settling Insurers’ obligation to pay the Settlement Amount
    is conditioned on (a) the Joint Plan being amended to the Settling Insurers’ satisfaction; (b)
    the Archdiocese obtaining entry of the Procedures Order, the Approval Order, and the Plan
    Confirmation Order (the “Bankruptcy Orders”) and all of the Bankruptcy Orders becoming
    Non-Appealable Orders; and (c) all other conditions in Sections 13.1 and 13.2 of the Joint
    Plan being satisfied.

    3.2. In full and final settlement of all responsibilities under and arising out of the
    Archdiocese Settling Insurer Entity Policies, the Parish Settling Insurer Entity Policies, and
    the Seminary Settling Insurer Entity Policies; and in consideration of the sale of the
    Archdiocese Settling Insurer Entity Policies that were issued or allegedly issued to the
    Archdiocese, the Parish Settling Insurer Entity Policies that were issued or allegedly issued to
    a Parish, and the Seminary Settling Insurer Entity Policies that were issued or allegedly
    issued to the Seminary to the Settling Insurers free and clear of all Interests of any Person;
    the sale of the Archdiocese’s Interests in the Archdiocese Settling Insurer Entity Policies that
    were not issued or allegedly issued to the Archdiocese; the sale of the Parishes’ Interests in
    the Parish Settling Insurer Entity Policies that were not issued or allegedly issued to a Parish;
    and the sale of the Seminary’s Interests in the Seminary Settling Insurer Entity Policies that
    were not issued or allegedly issued to the Seminary; and the other releases and benefits
    provided herein, the Settling Insurers shall pay to the Trust, in accordance with the Joint Plan
    as amended to the Settling Insurers’ satisfaction, the sum of $35,500,000 (the “Travelers
    Settlement Amount”) or such sum as remains after payments made pursuant to Section 2.5.4
    above are deducted from the Travelers Settlement Amount pursuant to Section 2.5.4, within
    30 days after the Settling Insurers receive both written notice from the Archdiocese or the
    Trustee that the Bankruptcy Plan Effective Date has occurred and directions as to
    transmission of the payment.

    3.3. The Parties agree that (a) the Settlement Amount is the total amount the Settling Insurer
    Entities are obligated to pay on account of any and all Claims under, arising out of, relating
    to, or in connection with all Settling Insurer Entity Policies (including all Channeled Claims);
    (b) under no circumstance will the Settling Insurer Entities ever be obligated to make any
    additional payments to or on behalf of anyone in connection with Settling Insurer Entity
    Policies, including any payments in connection with any Claims, including any Channeled
    Claims; (c) under no circumstance will the Settling Insurer Entities ever be obligated to make
    any additional payments to or on behalf of any Person, including any Protected Parties and
    any Tort Claimants, under the Settling Insurer Entity Policies with respect to any Claims that,
    directly or indirectly, arise out of, relate to, or are in connection with any Channeled Claims,
    including any Tort Claims; and (d) all limits of liability of the Settling Insurer Entity Policies
    issued or allegedly issued to the Archdiocese, the Parishes, or the Seminary, regardless of
    how those Settling Insurer Entity Policies identify or describe those limits, including all per
    person, per occurrence, per claim, “each professional incident,” per event, per accident, total,
    and aggregate limits, shall be deemed fully and properly exhausted. The Parties further agree
    that the Settlement Amount includes the full purchase price of the Settling Insurer Entity
    Policies and consideration for the releases and other protections afforded by this Agreement.

           3.3.1. The Parties agree and represent that (a) the consideration to be provided by the
           Settling Insurers pursuant to this Agreement (including the Settlement Amount)
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           constitutes a fair and reasonable exchange for the consideration granted to the Settling
           Insurer Entities in this Agreement (including the releases set forth below), and (b) the
           consideration to be provided by the Catholic Parties to the Settling Insurer Entities
           pursuant to this Agreement (including the releases set forth below) constitutes a fair and
           reasonable exchange for the consideration granted to the Catholic Parties in this
           Agreement (including the Settlement Amount). The Settling Insurers are not acting as
           volunteers in paying the Settlement Amount, and the Settling Insurers’ payment of the
           Settlement Amount reflects potential liabilities and obligations to the Catholic Parties
           of amounts the Settling Insurer Entities allegedly are obligated to pay pursuant to the
           Settling Insurer Entity Policies on account of any and all Claims, including any and all
           unknown or future Claims.

    3.4. Nothing in this Agreement precludes the Parties from internally allocating payments or
    receipt of payments made under this Agreement in such manner as each Party sees fit. Any
    such allocation by any of the Parties shall not be binding on the other Parties. For purposes
    of the Joint Plan and the Approval Motion, the Catholic Parties have allocated the Settlement
    Amount as a $29,500,000 payment on behalf of the Archdiocese and a $6,000,000 payment
    on behalf of the Parishes and the Seminary.

4. RELEASES AND SALE FREE AND CLEAR

    4.1. Upon payment by the Settling Insurers of the Settlement Amount pursuant to Section
    3.2 in accordance with the Joint Plan as amended to the Settling Insurers’ satisfaction:

                (a) the Archdiocese, the Parishes, and the Seminary hereby fully, finally, and
                completely remise, release, acquit, and forever discharge the Settling Insurer
                Entities and any of their reinsurers or retrocessionaires solely in their capacity as
                such from any and all past, present, and future Claims that, directly or indirectly,
                arise out of, relate to, or are in connection with Tort Claims or the Settling Insurer
                Entity Policies, including any Channeled Claims, and all Claims that, directly or
                indirectly, arise from, relate to, or are in connection with the Reorganization Case;

                (b) each Other Insured Entity and every other Catholic Party who is not the
                Archdiocese, a Parish, the Seminary, or a Person listed in Section 1.1.5 (c) – (e),
                Section 1.1.28 (c) – (e), or Section 1.1.40 (c) – (e) above, hereby fully, finally,
                and completely remises, releases, acquits, and forever discharges the Settling
                Insurer Entities and any of their reinsurers or retrocessionaires solely in their
                capacity as such from any and all past, present, and future Claims that, directly or
                indirectly, arise out of, relate to, or are in connection with the Reorganization
                Case, any of the Settling Insurer Entity Policies that were issued or allegedly
                issued to the Archdiocese, the Parishes, or the Seminary, or any Tort Claims that
                are based on alleged Abuse that occurred during the time periods covered by such
                Settling Insurer Entity Policies; and

                (c)     each Person listed in Section 1.1.5 (c) – (e), Section 1.1.28 (c) – (e), or
                Section 1.1.40 (c) – (e) above hereby fully, finally, and completely remises,
                releases, acquits, and forever discharges the Settling Insurer Entities to the same
                extent as the Catholic Parties with respect to which it has the capacity listed in
                Section 1.1.5 (c) – (e), Section 1.1.28 (c) – (e), or Section 1.1.40 (c) – (e) above is
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               releasing the Settling Insurer Entities pursuant to Section 4.1(a) and (b) and then
               only to the extent of such capacity.

    The releases in this Section 4.1 specifically include all future Claims that are based in whole
    or in part on the referenced Tort Claims or the referenced Settling Insurer Entity Policies.

    4.2. Upon payment by the Settling Insurers of the Settlement Amount pursuant to Section
    3.2, the Settling Insurers:

               (a) hereby fully, finally, and completely remise, release, acquit, and forever
               discharge the Archdiocese, the Parishes, and the Seminary from any and all past,
               present, and future Claims that, directly or indirectly, arise out of, relate to, or are
               in connection with Tort Claims or Settling Insurer Entity Policies, including any
               Channeled Claims, and all Claims that, directly or indirectly, arise from, relate to,
               or are in connection with the Reorganization Case;

               (b) hereby fully, finally, and completely remise, release, acquit, and forever
               discharge each Other Insured Entity and every other Catholic Party who is not the
               Archdiocese, a Parish, the Seminary, or a Person listed in Section 1.1.5 (c) – (e),
               Section 1.1.28 (c) – (e), or Section 1.1.40 (c) – (e) above from any and all past,
               present, and future Claims that, directly or indirectly, arise out of, relate to, or are
               in connection with the Reorganization Case, any of the Settling Insurer Entity
               Policies that were issued or allegedly issued to the Archdiocese, the Parishes, or
               the Seminary, or any Tort Claims that are based on alleged Abuse that occurred
               during the time periods covered by such Settling Insurer Entity Policies; and

               (c) hereby fully, finally, and completely remise, release, acquit, and forever
               discharge each Person listed in Section 1.1.5 (c) – (e), Section 1.1.28 (c) – (e), or
               Section 1.1.40 (c) – (e) above to the same extent as the Settling Insurers are
               releasing the Parishes with respect to which such Person has the capacity listed in
               Section 1.1.5 (c) – (e), Section 1.1.28 (c) – (e), or Section 1.1.40 (c) – (e) above
               and then only to the extent of such capacity.

    4.3. From and after the Bankruptcy Plan Effective Date, none of the Catholic Parties shall
    assert against any of the Settling Insurer Entities any Claim with respect to any matter,
    conduct, transaction, occurrence, fact, or other circumstance that, directly or indirectly, arises
    out of, relates to, or is in connection with any of the Settling Insurer Entity Policies, any
    Channeled Claim, and/or any other matter released pursuant to Section 4.1 above.

    4.4. The Archdiocese’s Sale Of Policies And Interests Pursuant To Section 363 Of The
    Bankruptcy Code. From and after the first day on which the Bankruptcy Orders are Non-
    Appealable Orders, the Archdiocese Settling Insurers hereby buy back the Archdiocese
    Settling Insurer Entity Policies that were issued or allegedly issued to the Archdiocese and
    the Archdiocese’s Interests in the other Archdiocese Settling Insurer Entity Policies, free and
    clear of all Interests of all Persons, including all Interests of the Archdiocese Parties, any
    other Person claiming coverage by, through, or on behalf of any of the Archdiocese Parties,
    any other insurer, and any Tort Claimant. This sale is pursuant to sections 363(b), (f), and
    (m) of the Bankruptcy Code. The Parties acknowledge and agree, and the Approval Order
    shall find and conclude, that: (a) the Archdiocese Settling Insurers are good faith purchasers
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    of the foregoing Archdiocese Settling Insurer Entity Policies and Interests within the
    meaning of section 363(m) of the Bankruptcy Code; (b) the consideration exchanged
    constitutes a fair and reasonable settlement of the disputes between the Archdiocese Parties
    and the Archdiocese Settling Insurers and of their respective rights and obligations relating to
    the foregoing Archdiocese Settling Insurer Entity Policies and Interests and constitutes
    reasonably equivalent value; (c) the releases in this Agreement and the policy buyback
    comply with the Bankruptcy Code and applicable non-bankruptcy laws; (d) upon the
    Bankruptcy Orders becoming Non-Appealable Orders, the foregoing Archdiocese Settling
    Insurer Entity Policies and Interests shall be terminated and of no further force and effect; (e)
    the Settling Insurers’ payment of the Settlement Amount in accordance with the Joint Plan as
    amended to the Settling Insurers’ satisfaction constitutes the Settling Insurer Entities’ full and
    complete performance of any and all obligations under the Archdiocese Settling Insurer
    Entity Policies, including any performance owed to the Archdiocese Parties, and exhausts all
    limits of liability of the Archdiocese Settling Insurer Entity Policies issued or allegedly
    issued to the Archdiocese and extinguishes all Interests in the other Archdiocese Settling
    Insurer Entity Policies; (f) all Interests the Archdiocese Parties may have had, may presently
    have, or in the future may have in the Archdiocese Settling Insurer Entity Policies that were
    issued or allegedly issued to the Archdiocese and all Interests the Archdiocese has in the
    other Archdiocese Settling Insurer Entity Policies are released pursuant to the terms of this
    Agreement; (g) the Archdiocese Parties meet the requirements to complete the sale of the
    Archdiocese Settling Insurer Entity Policies and Interests free and clear of any liens or other
    Interests; and (h) the Archdiocese Parties accept the payment of the Settlement Amount set
    forth in Section 3.2 in accordance with the Joint Plan (as amended the Settling Insurers’
    satisfaction) in full and complete satisfaction of all the Settling Insurer Entities’ past, present,
    and future obligations, including any obligations to any of the Archdiocese Parties under
    such Archdiocese Settling Insurer Entity Policies or arising therefrom, as to any and all
    Claims for insurance coverage or policy benefits of any nature whatsoever arising out of or
    related in any way to such Archdiocese Settling Insurer Entity Policies, whether legal or
    equitable, known or unknown, suspected or unsuspected, fixed or contingent, and regardless
    of whether or not such claims arise from, relate to, or are in connection with the Channeled
    Claims, the Reorganization Case, or otherwise under the Archdiocese Settling Insurer Entity
    Policies.

    4.5.        The Parish Parties’ Sale Of Policies And Interests. From and after the first day
    on which the Bankruptcy Orders are Non-Appealable Orders, the Parish Settling Insurers
    hereby buy back the Parish Settling Insurer Entity Policies that were issued or allegedly
    issued to the Parishes and the Parish Parties’ Interests in the other Parish Settling Insurer
    Entity Policies, free and clear of all Interests of all Persons, including all Interests of the
    Parish Parties, any other Person claiming coverage by, through, or on behalf of any of the
    Parish Parties, any other insurer, and any Tort Claimant. The Parties acknowledge and agree
    that: (a) the Parish Settling Insurers are good faith purchasers of the Parish Settling Insurer
    Entity Policies; (b) the consideration exchanged constitutes a fair and reasonable settlement
    of the disputes between the Parish Parties and the Parish Settling Insurers and of their
    respective rights and obligations relating to the Parish Settling Insurer Entity Policies and
    constitutes reasonably equivalent value; (c) the releases in this Agreement and the policy
    buyback comply with applicable law; (d) as of the Bankruptcy Plan Effective Date, the
    Parish Settling Insurer Entity Policies shall be terminated and of no further force and effect;
    (e) the Settling Insurers’ payment of the Settlement Amount pursuant to Section 3.2 to the
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    Trust in accordance with the Joint Plan (as amended to the Settling Insurers’ satisfaction)
    constitutes the Settling Insurer Entities’ full and complete performance of any and all
    obligations under the Parish Settling Insurer Entity Policies, including any performance owed
    to the Parish Parties under any Parish Settling Insurer Entity Policies, and exhausts all limits
    of liability of the Parish Settling Insurer Entity Policies issued or allegedly issued to the
    Parish Parties and extinguishes all Interests in the other Parish Settling Insurer Entity
    Policies; (f) all Interests the Parish Parties may have had, may presently have, or in the future
    may have in the Parish Settling Insurer Entity Policies are released pursuant to the terms of
    this Agreement; and (g) the Parish Parties accept the Settling Insurers payment of the
    Settlement Amount pursuant to Section 3.2 in accordance with the Joint Plan (as amended to
    the Settling Insurers’ satisfaction) in full and complete satisfaction of all the Settling Insurer
    Entities’ past, present, and future obligations, including any obligations to any of the Parish
    Parties under the Parish Settling Insurer Entity Policies or arising therefrom, as to any and all
    past, present, and future Claims for insurance coverage or policy benefits of any nature
    whatsoever arising out of or related in any way to the Parish Settling Insurer Entity Policies,
    whether legal or equitable, known or unknown, suspected or unsuspected, fixed or
    contingent, and regardless of whether or not such claims arise from, relate to, or are in
    connection with the Channeled Claims, the Reorganization Case, or otherwise under the
    Parish Settling Insurer Entity Policies.

    4.6.        The Seminary Parties’ Sale Of Policies And Interests. From and after the first
    day on which the Bankruptcy Orders are Non-Appealable Orders, the Seminary Settling
    Insurers hereby buy back the Seminary Settling Insurer Entity Policies that were issued or
    allegedly issued to the Seminary and the Seminary Parties’ Interests in the other Seminary
    Settling Insurer Entity Policies, free and clear of all Interests of all Persons, including all
    Interests of the Seminary Parties, any other Person claiming coverage by, through, or on
    behalf of any of the Seminary Parties, any other insurer, and any Tort Claimant. The Parties
    acknowledge and agree that: (a) the Seminary Settling Insurers are good faith purchasers of
    the Seminary Settling Insurer Entity Policies; (b) the consideration exchanged constitutes a
    fair and reasonable settlement of the disputes between the Seminary Parties and the Seminary
    Settling Insurers and of their respective rights and obligations relating to the Seminary
    Settling Insurer Entity Policies and constitutes reasonably equivalent value; (c) the releases in
    this Agreement and the policy buyback comply with applicable law; (d) as of the Bankruptcy
    Plan Effective Date, the Seminary Settling Insurer Entity Policies shall be terminated and of
    no further force and effect; (e) the Settling Insurers’ payment of the Settlement Amount
    pursuant to Section 3.2 in accordance with the Joint Plan (as amended to the Settling
    Insurers’ satisfaction) constitutes the Settling Insurer Entities’ full and complete performance
    of any and all obligations under the Seminary Settling Insurer Entity Policies, including any
    performance owed to the Seminary Parties under any Seminary Settling Insurer Entity
    Policy, and exhausts all limits of liability of the Seminary Settling Insurer Entity Policies
    issued or allegedly issued to the Seminary Parties and extinguishes all Interests in the other
    Seminary Settling Insurer Entity Policies; (f) all Interests the Seminary Parties may have had,
    may presently have, or in the future may have in the Seminary Settling Insurer Entity Policies
    are released pursuant to the terms of this Agreement; and (g) the Seminary Parties accept the
    Settling Insurers payment of the Settlement Amount pursuant to Section 3.2 in accordance
    with the Joint Plan (as amended to the Settling Insurers’ satisfaction) in full and complete
    satisfaction of the Settling Insurer Entities’ past, present, and future obligations, including
    any obligations to any of the Seminary Parties under the Seminary Settling Insurer Entity
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    Policies or arising therefrom, as to any and all past, present, and future Claims for insurance
    coverage or policy benefits of any nature whatsoever arising out of or related in any way to
    the Seminary Settling Insurer Entity Policies, whether legal or equitable, known or unknown,
    suspected or unsuspected, fixed or contingent, and regardless of whether or not such claims
    arise from, relate to, or are in connection with the Channeled Claims, the Reorganization
    Case, or otherwise under the Seminary Settling Insurer Entity Policies.

    4.7. The Archdiocese, Parishes, and the Seminary represent and warrant that all of the
    releases and other benefits provided in this Agreement by the Catholic Parties to the Settling
    Insurer Entities are at least as favorable as the releases and other benefits that the
    Archdiocese, Parishes, and the Seminary has provided to any of the Archdiocese’s, Parishes’,
    and the Seminary’s other insurers in the Reorganization Case. If the Archdiocese, Parishes,
    or the Seminary enter into any agreement with any other one of their other insurers in the
    Reorganization Case that provides that insurer with releases or other benefits that are more
    favorable than those contained in this Agreement, then this Agreement shall be deemed to be
    modified to provide the Settling Insurer Entities with those more favorable releases and/or
    benefits. The Archdiocese, Parishes, and the Seminary shall notify the Settling Insurers
    promptly of the existence of such more favorable releases or benefits.

    4.8. Nothing in this Agreement is intended to or shall be construed to apply to or have any
    effect on the Settling Insurer Entities’ right to reinsurance recoveries arising under or in
    connection with the Settling Insurer Entity Policies or any other binder, certificate, or policy
    of insurance issued, subscribed to, or underwritten in whole or in part or allegedly issued,
    subscribed to, or underwritten in whole or in part by the Settling Insurer Entities.

    4.9. Nothing in this Agreement is intended to or shall be construed to release any Claims
    that the Settling Insurer Entities have or might have against any insurer except that, to the
    extent such other insurers have agreed or in the future agree to release any Claims against the
    Settling Insurer Entities arising out of or related in any way related to Tort Claims and any
    Related Insurance Claims, the Settling Insurer Entities also release such Claims against such
    other insurers to the same extent.

    4.10. This Section 4 is not intended to, and shall not be construed to, release, waive,
    relinquish, or otherwise affect the Parties’ rights and obligations under this Agreement.

5. TERMINATION OF AGREEMENT

    5.1. The Parties may terminate this Agreement prior to the Bankruptcy Orders becoming
    Non-Appealable Orders by providing written notice to the other Parties if one or more of the
    conditions (“Termination Conditions”) identified in Section 5.2 or 5.3 below occurs. Upon
    termination of this Agreement, this Agreement shall be void and of no effect, including the
    releases provided in Section 4 of this Agreement, and the Parties shall retain all of their
    rights, defenses, and obligations with respect to Settling Insurer Entity Policies as if this
    Agreement never existed.

    5.2. Termination Conditions for purposes of Section 5.1 of this Agreement are:

               (a)     the Bankruptcy Court issues an order denying the request for the
                       Channeling Injunction or Supplemental Injunction provided in the Joint
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                        Plan or denying confirmation of the Joint Plan as amended to the Settling
                        Insurers’ satisfaction, and any of the foregoing orders becomes a Non-
                        Appealable Order;

                (b)     the Bankruptcy Court enters an order confirming a plan of reorganization
                        that does not contain the Channeling Injunction or Supplemental
                        Injunction provided in the Joint Plan, or that does not contain any of the
                        other protections afforded the Settling Insurers under the Joint Plan, and
                        such order becomes a Non-Appealable Order;

                (c)     the Bankruptcy Court issues an order either dismissing the Reorganization
                        Case or converting it to one under Chapter 7 of the Bankruptcy Code and
                        that order becomes a Non-Appealable Order; or

                (d)     the written agreement of the Parties that the Agreement should be
                        terminated.

6. REPRESENTATIONS AND WARRANTIES OF THE PARTIES

    6.1. The Parties separately represent and warrant as follows:

           6.1.1. To the extent it is a corporation, including a non-profit corporation, or other
           legal entity, it has the requisite power and authority to enter into this Agreement and to
           perform the obligations contemplated by this Agreement, subject only to approval of
           the Bankruptcy Court;

           6.1.2. This Agreement has been thoroughly negotiated and analyzed by counsel to the
           Parties and executed and delivered in good faith, pursuant to arm’s length negotiations
           and for value and valuable consideration.

    6.2 The Catholic Parties represent and warrant that they have not and will not assign any
    Interests in any Settling Insurer Entity Policies.

    6.3 The Archdiocese represents and warrants that to the best of its knowledge i) it is an
    owner of the Archdiocese Settling Insurer Entity Policies listed in Exhibit 1 of this
    Agreement, and ii) no Person, except those specifically identified in Exhibit 1 has any
    Interest in such Archdiocese Settling Insurer Entity Policies.

    6.4 The Catholic Parties represent and warrant that they have not in any way assisted, and
    shall not in any way assist, any Person in the establishment of any Claim against the Settling
    Insurer Entities
    6.5. The Archdiocese and the Parishes represent and warrant that Exhibit 3 identifies all
    current parishes of the Archdiocese. If a parish has been incorrectly named in the signature
    block or omitted as a signatory, the parties agree to amend the Agreement to add the proper
    name of the parish or the name of an omitted parish as a signatory to the Agreement.




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7. ACTIONS INVOLVING THIRD PARTIES

    7.1. For purposes of supporting the releases granted in Section 4 and the extinguishment of
    any and all rights under Settling Insurer Entity Policies resulting from the purchase and sale
    thereof contemplated by this Agreement, the Catholic Parties hereby agree as follows:

           7.1.1. From and after the first day on which the Bankruptcy Orders become Non-
           Appealable Orders, if any insurer of the Catholic Parties that is not a Settling Insurer
           Entity obtains a judicial determination or binding arbitration award that it is entitled to
           obtain a sum certain from any of the Settling Insurers Entities as a result of a claim for
           contribution, subrogation, indemnification, or other similar Claim for any of the
           Settling Insurer Entities’ alleged share or equitable share, or to enforce subrogation
           rights, if any, with respect to the defense and/or indemnity obligation of any of the
           Settling Insurer Entities for any Claims released or resolved pursuant to this
           Agreement, the Catholic Party(ies) (or the Trust, as applicable) shall voluntarily reduce
           its judgment or Claim against, or settlement with, such other insurer(s) to the extent
           necessary to satisfy such contribution, subrogation, indemnification, or other claims
           against the Settling Insurer Entities. To ensure that such a reduction is accomplished,
           the Settling Insurer Entities shall be entitled to assert this Section 7 as a defense to any
           action against them brought by any other insurer for any such portion of the judgment
           or Claim and shall be entitled to request that the court or appropriate tribunal issue such
           orders as are necessary to effectuate the reduction to protect the Settling Insurer Entities
           from any liability for the judgment or Claim. Moreover, if any other insurer asserts that
           it has a Claim for contribution, indemnity, subrogation, or similar relief against any of
           the Settling Insurer Entities, such Claim may be asserted as a defense against a Claim
           by the Catholic Party(ies) (or the Trust, as applicable) in any coverage litigation, and
           the Catholic Parties (or the Trust, as applicable) may assert the legal and equitable
           rights of the Settling Insurer Entities in response thereto; and to the extent such a Claim
           is determined to be valid by the court presiding over such action, the liability of such
           other insurer to the Catholic Parties (or the Trust, as applicable) shall be reduced dollar
           for dollar by the amount so determined.

           7.1.2. Unless this Agreement is terminated, the Settling Insurers shall not seek
           reimbursement for any payments they make under this Agreement under theories of
           contribution, subrogation, indemnification, or similar relief from any other insurer
           unless that other insurer first seeks contribution, subrogation, indemnification, or
           similar relief from any of the Settling Insurer Entities. Notwithstanding the foregoing,
           nothing herein shall be construed as prohibiting any of the Settling Insurer Entities from
           seeking recovery from its reinsurers. The Archdiocese, Parishes, and Seminary shall
           use their reasonable best efforts to obtain from all insurers with which it settles
           agreements similar to those contained in this Section 7; provided, however, that the
           failure of the Archdiocese, Parishes, or Seminary, despite reasonable best efforts, to
           obtain such an agreement from any insurer with which they settle will not be a basis to
           terminate this Agreement or excuse the Settling Insurers from performing their
           obligations hereunder, including payment of the Settlement Amount.

    7.2. From and after the Bankruptcy Plan Effective Date, the Trust shall defend, indemnify,
    and hold harmless the Settling Insurer Entities with respect to any Tort Claims, Related
    Insurance Claims, and Medicare Claims and the Reorganized Debtor shall defend, indemnify,
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    and hold harmless the Settling Insurer Entities with respect to all other Channeled Claims.
    The Settling Insurers shall have the right to defend any Claims identified in this Section 7.2
    and shall do so in good faith. The Settling Insurers may undertake the defense of any such
    Claim on receipt of such Claim. The Settling Insurers agree to notify the Trust or
    Reorganized Debtor, as applicable, as soon as practicable of any Claims identified in this
    Section 7.2 and of their choice of counsel. The Trust or Reorganized Debtor, as applicable,
    shall reimburse all reasonable and necessary attorneys’ fees, expenses, costs, and amounts
    incurred by the Settling Insurers in defending such Claims. The Settling Insurers may settle
    or otherwise resolve a Claim with the prior consent of the Trust or Reorganized Debtor, as
    applicable, which consent shall not be unreasonably withheld. The Settling Insurers’
    defense, settlement, or other resolution of any Claims pursuant to this Section 7.2 shall not
    diminish the Trust’s or Reorganized Debtor’s obligations to indemnify the Settling Insurers
    for such Claims, as set forth in this Section 7.2.

    7.3. If any Person attempts to prosecute a Channeled Claim against any of the Settling
    Insurer Entities before the Bankruptcy Orders become Non-Appealable Orders, or,
    alternatively, this Agreement is terminated under Section 5, then promptly following notice
    to do so from the Settling Insurer Entity against whom the Claim is asserted, the Archdiocese
    will file a motion and supporting papers to obtain an order from the Bankruptcy Court,
    pursuant to Bankruptcy Code §§ 362 and 105(a), protecting the Settling Insurer Entity from
    any such Claims until the Bankruptcy Orders become Non-Appealable Orders, or,
    alternatively, this Agreement is terminated under Section 5.

8. MISCELLANEOUS

    8.1. If any action or proceeding of any type whatsoever is commenced or prosecuted by any
    Person not a Party to this Agreement to invalidate, interpret, or prevent the validation or
    enforcement, or carrying out, of all or any of the provisions of this Agreement, the Parties
    mutually agree, represent, warrant, and covenant to cooperate fully in opposing such action
    or proceeding.

    8.2. The Parties will take such steps and execute any documents as may be reasonably
    necessary or proper to effectuate the purpose and intent of this Agreement and to preserve its
    validity and enforceability.

    8.3. The Parties shall cooperate with each other in connection with the Approval Motion,
    the Procedures Order, the Approval Order, the Joint Plan as amended to the Settling Insurers’
    satisfaction, the Plan Confirmation Order, and the Reorganization Case. Such cooperation
    shall include consulting with each other upon reasonable request concerning the status of
    proceedings and providing each other with copies of reasonably requested pleadings, notices,
    proposed orders, and other documents relating to such proceedings as soon as reasonably
    practicable prior to any submission thereof. If the Bankruptcy Court issues an order denying
    the request for the Channeling Injunction or Supplemental Injunction provided for in the
    Joint Plan or denying confirmation of the Joint Plan as amended to the Settling Insurers’
    satisfaction, or if the Bankruptcy Court issues an order on the Approval Motion that refuses
    to approve this Agreement, the Archdiocese shall exhaust all rights to appeal with respect to
    such order and, if no appeal of right is allowed, the Archdiocese shall seek interlocutory
    review of each such order by all possible means, including by invoking all exceptions to the
    final order requirement for appellate review, all certifications for immediate appeal, and all
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    available writs, each as provided by the federal rules, U.S. Code, or decisional authority.
    Notwithstanding the foregoing, the Archdiocese has no obligation to seek a writ of certiorari
    from the United States Supreme Court.

    8.4. This Agreement constitutes a single integrated written contract that expresses the entire
    agreement and understanding between and among the Parties.

    8.5. This Agreement may be modified only by a written amendment signed by the Parties
    and approved by the UCC or Trust, such approval shall not be unreasonably withheld, and no
    waiver of any provision of this Agreement or of a breach thereof shall be effective unless
    expressed in a writing signed by the waiving Party. The waiver by any Party of any of the
    provisions of this Agreement or of the breach thereof shall not operate or be construed as a
    waiver of any other provision or breach.

    8.6. By entering into this Agreement, none of the Parties has waived or shall be deemed to
    have waived any rights, obligations, or positions they have asserted or may in the future
    assert in connection with any matter outside the scope of this Agreement. No part of this
    Agreement, its negotiation, or its performance may be used in any manner in any action, suit,
    or proceeding as evidence of the rights, duties, or obligations of the Parties with respect to
    matters outside the scope of this Agreement. All actions taken and statements made by the
    Parties or by their representatives, relating to this Agreement or participation in this
    Agreement, including its development and implementation, shall be without prejudice or
    value as precedent and shall not be used as a standard by which other matters may be judged.

    8.7. This Agreement represents a compromise of disputed Claims and shall not be deemed
    an admission or concession regarding liability, culpability, wrongdoing, or insurance
    coverage. All related discussions, negotiations, and all prior drafts of this Agreement shall
    be deemed to fall within the protection afforded to compromises and to offers to compromise
    by Rule 408 of the Federal Rules of Evidence and any parallel state law provisions. Any
    evidence of the negotiations or discussions associated with this Agreement shall be
    inadmissible in any action or proceeding for purposes of establishing any rights, duties, or
    obligations of the Parties, except that they shall be admissible to the extent they would have
    otherwise been admissible, absent this Section 8.7, in (a) an action or proceeding to enforce
    the terms of this Agreement, including any use as set forth in Section 7.1.1 or (b) any
    possible action or proceeding between any of the Settling Insurer Entities and any of their
    reinsurers. This Agreement shall not be used as evidence or in any other manner, in any court
    or dispute resolution proceeding, to create, prove, or interpret the Settling Insurer Entities’
    obligations under any of the Settling Insurer Entity Policies or any other binder, certificate, or
    policy of insurance issued, subscribed to, or underwritten in whole or in part or allegedly
    issued, subscribed to, or underwritten in whole or in part by the Settling Insurer Entities, with
    respect to any Claims against any of the Settling Insurer Entities.

    8.8. None of the Parties shall make any public statements or disclosures (a) regarding each
    other’s rationale or motivation for negotiating or entering into this Agreement, or (b)
    asserting or implying in any way that the Parties acted improperly or in violation of any duty
    or obligation, express or implied, in connection with any matter arising out of, relating to, or
    in connection with Settling Insurer Entity Policies or any other binder, certificate, or policy
    of insurance issued, subscribed to, or underwritten in whole or in part or allegedly issued,

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    subscribed to, or underwritten in whole or in part by the Settling Insurer Entities, including
    handling of or involvement in connection with Tort Claims or the resolution of Tort Claims.

    8.9. Neither this Agreement nor the rights and obligations set forth in this Agreement shall
    be assigned without the prior written consent of the other Parties.

    8.10. This Agreement was jointly drafted by the Parties and the language of all parts of this
    Agreement shall in all cases be construed as a whole according to its meaning and not strictly
    for or against any of the Parties.

    8.11. Section titles and/or headings contained in this Agreement are included only for ease of
    reference and shall have no substantive effect.

    8.12. All notices, demands, or other communication to be provided pursuant to this
    Agreement shall be in writing and sent by e-mail and Federal Express or other overnight
    delivery service, costs prepaid, to the Parties at the addresses set forth below, or to such other
    person or address as any of them may designate in writing from time to time:

         If to the Archdiocese Parties:

                 Joseph F. Kueppers
                 Chancellor of Civil Affairs
                 Office of the Chancellor for Civil Affairs
                 Archdiocese of St. Paul and Minneapolis
                     777 Forest Street
                     Saint Paul, MN 55106

                 With a copy to:

                 Charles B. Rogers and Lauren E. Lonergan
                 Briggs and Morgan, P.A.
                 Suite 2200
                 80 South Eighth Street
                 Minneapolis, MN 55402


         If to Parish Parties:

                 Joseph F. Kueppers
                 Chancellor of Civil Affairs
                 Office of the Chancellor for Civil Affairs
                 Archdiocese of St. Paul and Minneapolis
                 777 Forest Street
                 Saint Paul, MN 55106

                 With a copy to:

                 Margo S. Brownell
                 Maslon LLP
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                 3300 Wells Fargo Center
                 90 South Seventh Street
                 Minneapolis, MN 55402

         If to the Seminary Parties:

                 Robley D. Evans
                 The Saint Paul Seminary
                 2260 Summit Avenue St. Paul, MN 55105

                 With a copy to:

                 Margo S. Brownell
                 Maslon LLP
                 3300 Wells Fargo Center
                 90 South Seventh Street
                 Minneapolis, MN 55402

         If to the Settling Insurers:

                 Ed Zawitoski
                 Senior Vice President
                 Travelers
                 11 Schilling Road
                 Hunt Valley, MD 21031-1110
                 E-mail: ezawitos@travelers.com

                 Scott Myers
                 Travelers
                 One Tower Square MSO4-B
                 Hartford, CT 06183
                 E-mail: spmyers@travelers.com

                 With a copy to:

                 Frederick P. Marczyk
                 Drinker Biddle & Reath LLP
                 One Logan Square, Ste. 2000
                 Philadelphia, PA 19103-6996
                 Fax: (215) 988-3373
                 E-mail: frederick.marczyk@dbr.com

    8.13. This Agreement may be executed in multiple counterparts, all of which together shall
    constitute one and the same instrument. This Agreement may be executed and delivered by
    facsimile, e-mail, or other electronic image, which facsimile, e-mail, or other electronic
    image counterparts shall be deemed to be originals. This agreement may be electronically
    signed. Any such electronic signatures are the same as handwritten signatures for the
    purposes of validity, enforceability and admissibility.
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    8.14. Nothing contained in this Agreement shall be deemed or construed to constitute (a) an
    admission by any of the Settling Insurers that any Person was or is entitled to any insurance
    coverage under the Settling Insurer Entity Policies or any other binder, certificate, or policy
    of insurance issued or allegedly issued by the Settling Insurer Entities or as to the validity of
    any of the positions that have been or could have been asserted by the Parties, (b) an
    admission by the Catholic Parties as to the validity of any of the positions or defenses to
    coverage that have been or could have been asserted by the Settling Insurer Entities, or (c) an
    admission by any of the Parties of any liability whatsoever with respect to any of Tort
    Claims.

    8.15. All of the Persons included in the definition of the Settling Insurer Entities are intended
    beneficiaries of this Agreement. Except as set forth in the preceding sentence or otherwise
    set forth in this Agreement, there are no third-party beneficiaries of this Agreement.

    8.16. Except as provided in this Agreement, the Parties shall be responsible for their own fees
    and costs incurred in connection with the Reorganization Case, this Agreement, and the
    implementation of this Agreement.

    8.17. The following rules of construction shall apply to this Agreement:

           8.17.1. Unless the context of this Agreement otherwise requires: (a) words of any
           gender include each other gender; (b) words using the singular or plural number also
           include the plural or singular number, respectively; (c) the terms “hereof,” “herein,”
           “hereby,” and derivative or similar words refer to this entire Agreement; and (d) the
           words “include,” “includes,” or “including” shall be deemed to be followed by the
           words “without limitation.”

           8.17.2. References to statutes shall include all regulations promulgated thereunder
           and references to statutes or regulations shall be construed as including all statutory and
           regulatory provisions regardless of whether specifically referenced in this Agreement.

           8.17.3. The wording of this Agreement was reviewed by legal counsel for each of the
           Parties, and each of them had sufficient opportunity to propose and negotiate changes
           prior to its execution. The wording of this Agreement shall not be construed in favor of
           or against any Person.

           8.17.4. The use of the terms “intend,” “intended,” or “intent,” when describing the
           intention of the Parties, as the case may be, shall not be construed to create a breach of
           this Agreement when the stated intent is not achieved.

    8.18. The Bankruptcy Court in the Reorganization Case shall retain jurisdiction to interpret
    and enforce the provisions of this Agreement, which shall be construed in accordance with
    Minnesota law. The Settling Insurers do not, by virtue of this Section 8.18 or any other
    provision in this Agreement, consent to the Bankruptcy Court’s jurisdiction as to any other
    matter.

    8.19. This Agreement and the Archdiocese’s obligations under this Agreement shall be
    binding on the Archdiocese and the Reorganized Debtor and shall survive the entry of the
    Plan Confirmation Order.
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    8.20. This Agreement shall be effective on the Effective Date.


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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of Saint Paul Seminary
                              2260 Summit Avenue, St. Paul, Minnesota 55105


                                         By:      14


                                         Title:   Vice kcelLE-      4.1m is -Fro-410.A


                                         Date:     .1-2411v




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                 IN WITNESS WHEREOF, the. Parties have duly executed this Agreement as of
 the last date indicated below.

                               On behalf of Saint John Vianney Seminary
                               2115 Summit Ave, Mail 5024, St. Paul, Minnesota     105


                                          By:



                                          Title _Scz, c /-e-OCC1



                                          Date:   qa-</




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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of the Catholic Cemeteries, individually and as
                              successor in interest to: Calvary Cemetery, Gethsemane
                              Cemetery (including Assumption Cemetery), Resurrection
                              Cemetery, St. Anthony’s Cemetery, and St. Mary’s
                              Cemetery
                              2105 Lexington Ave S., Mendota Heights, MN 55120


                                         By:
                                                      7v/o nn

                                         Title:                 j

                                         Date:    S - 3b




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                IN WITNESS WHEREOF, the Patties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Newman Center and Chapel (f/k/a
                              Newman Hall)


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                              1203 5th St SE, Minneapolis, MN 55414

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                                         Title:   ~"?~tzyr




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                lN WITNESS WHEREOF, the Parties have duly executed this Agreement      as   of
the last date indicated below.

                                 On behalf of The Society for the Propagation of the Faith,
                                 Incorporated (f/k/a Center for Mission)
                                 777 Forcst Street, St. Paul, Minnesota 55106
                                                              x)-
                                            By:



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                                            Datc:    ?-   21' 2otr-




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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Cathedral of Saint Paul, including the
                              former parish of The Church of St. Vincent of St. Paul,
                              Minnesota, and as successor to the Cathedral School
                              239 Selby Ave., St. Paul, MN 55102

                                         By:      pt/)       (3114"

                                         Title:      Ri   OCI,C

                                         Date:




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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of All Saints of Lakeville,
                              Minnesota, including the parish school
                              19795 Holyoke Ave Lakeville, MN 550

                                         By:                  t



                                         Title:



                                         Date:




                                            47                                      Travelers

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                 IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
 the last date indicated below.

                               On behalf of The Church of the Annunciation of
                               Hazelwood, Minnesota
                               4996 Hazelwood Ave., Northfield, MN 55057

                                          By:
                                                     YVis

                                         Title:   P -t-ttri-
                                         Date:




                                           48                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Annunciation of
                              Minneapolis, including the parish school, and including The
                              Church of the Visitation in Minneapolis
                              509 54th St W, Minneapolis, MN 55419

                                         B •
                                                        6r,Zr. Park
                                         Title:   PA.S1b>r
                                         Date:




                                            49                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Ascension of Norwood,
                              Minnesota
                              323 Reform St N, Norwood Young America IN 55368

                                         By:


                                         Title:


                                         Date:        ;1? 3/ gel'




                                           50                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Ascension of Minneapolis,
                              Minnesota, including the parish school and the former
                              parish of The Church of St. Philip of Minneapolis,
                              Minnesota
                              1723 Bryant Ave N, Minneapolis, MN 55411

                                         By:



                                         Title:      A-V
                                         Date:      f I-7,4tr




                                           51                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Assumption
                              51 7th St W, St. Paul, MN 55102

                                         By:


                                         Title:   cord     r

                                         Date:     S.?-10. h1 2 01




                                            52                                    Travelers

141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Assumption of Richfield,
                              Minnesota
                              305 East 77th St, Richfield, MN 55423

                                         By:                      4     ekl—


                                         Title:        4J        9i n


                                         Date:                  ,,11 020/e




                                            53                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of Basilica of St. Mary of Minneapolis
                              88 17th St. N., P.O. Box 50010, Minneapolis, MN 55405

                                         By:      " 11.11 9               ISZetce_



                                         Title:


                                         Date:      9 - 12 -/V




                                           54                                        Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Blessed Sacrament of St.
                              Paul, including The Church of St. Thomas the Apostle, of
                              St. Paul, Minnesota
                              2119 Stillwater Ave, St. Paul, MN 55119

                                         By: F     -   Onirl


                                         Title:


                                         Date: q/1      /a0/




                                           55                                    Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Christ the King of Minneapolis
                              5029 Zenith Ave S, Minneapolis, MN 55410

                                         BY~             i'~



                                         Title: --~i~~~f1



                                         Date:       ~~l~~,~




                                                                                  Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of All Saints of Minneapolis
                              435 4th St NE, Minneapolis, MN 55413

                                         By:


                                         Title: ?a.51
                                                    -o


                                         Date:     Y /o51/ g




                                            57                                       Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Corpus Christi of Saint Paul
                              2131 Fairview Ave N, Roseville MN 55113

                                         By:
                                                             \ri/\

                                         Title:     't7ovlotaxk,     444Ni-44,
                                         Date:                         Z® i




                                            58                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                             On behalf of The Catholic Church of Divine Mercy of
                             Faribault, including the parish school, and the former
                             parishes of The Church of the Immaculate Conception of
                             Faribault Minnesota, The Church of the Sacred Heart of
                             Faribault, Minnesota, and The Church of St. Lawrence of
                             Faribault, MN.
                             139 Mercy Drive, Faribault, MN 55021

                                         By ---
                                              a0      4t.)-bui__?0A1411,i


                                         Title:


                                         Date:    cl—to-W t




                                            59                                    Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                             On behalf of The Church of The Epiphany of Coon Rapids,
                             Minnesota, including the parish school
                             1900 111th Ave NW, Coon Rapids, MN 55433

                                        By:                  U -r



                                        Title:       C)0.0\-er-
                                        Date:
                                                          \\-\71
                                                                       Du      el




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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Gichitwaa Kateri
                              3045 Park Ave, Minneapolis    N 55407

                                         By:'
                                                            DLN-cya s A acet
                                         Title: -Pct sfur



                                         Date:   5 STkm6a- 2° 12




                                           61                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Good Shepherd, of
                              Minneapolis, Minnesota, including the parish school
                              145 Jersey Ave S, Golden Valley, MN 55426




                                         Title: ?Ps5-r-D


                                         Date: 5 flen1602.    I Zo




                                           62                                       Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of Church of the Guardian Angels of Chaska,
                              Minn including the parish school
                              218 Second St W, Chaska, MN 55318

                                         By:

                                                                    C)e.--G4
                                         Title:   P45 Toff


                                         Date:




                                           64                                    Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of Highland Catholic School
                              2017 Bohland Ave, St. Paul, MN 55116

                                         By:
                                                  Paul F. Feela

                                         Title:   Pastor



                                         Date:    07 September 2018




                                           65                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Holy Childhood, St. Paul,
                              Minnesota
                              1435 Midway Pkwy, St. Paul, MN 551

                                         B


                                         Title:


                                         Date:




                                             66                                   Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Holy Cross of Minneapolis,
                              Minnesota, including the Church of Saint Anthony of
                              Padua, Church of Saint Hedwig of Minneapolis, and the
                              former parish of The Church of Saint Clement
                              1621 University Ave NE, Minneapolis, MN 55413

                                         By:



                                         Title:   'PO Roc-t+         AV') )

                                         Date:




                                           67                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of Holy Cross Catholic School
                              6100 37th St. W., Webster, MN 55088

                                         By:


                                        Title:   CA-1^4-0,1:C ALS"."
                                         Date:




                                           68                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Holy Family of St. Louis
                              Park, including the parish school
                              5900 Lake St W, Saint Louis Park, MN 55416

                                         By:



                                         Title:    /Z
                                         Date:     Y9.4 F




                                            69                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Holy Name of Minneapolis
                              363711th Ave S, Minneapolis, MN 55407

                                         By.



                                         Title:



                                         Date:     7— //—* /     e




                                           70                                     Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Holy Name of Jesus of
                              Medina, Minnesota, including the parish school
                              155 County Rd 24, Wayzata, MN 55391

                                         B :



                                         Title:     /PS


                                         Date:            2_,,A,/urs       (z26 18/




                                            71                                     Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of Dominican Fathers Holy Rosary Church &
                              School
                              2424 — 18th Ave S, Minneapolis, MN 55404

                                         By:               2--gle-v--kei    or
                                         Title:   PCLS      r
                                         Date:              i s&




                                           72                                    Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Holy Spirit of St. Paul,
                              Minnesota, including the parish school
                              515 Albert St S, St. Paul, MN 55116

                                                              C,/
                                         By.



                                         Title:   Pas\--D

                                         Date:




                                           73                                     Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Holy Trinity, including the
                              former parishes of The Church of St. Columbkille of Belle
                              Creek, Minnesota and The Church of St. Mary of Belvidere,
                              Minnesota
                              308 e St N, Goodhue, MN 55027


                                         BY: -1-41        1          "Ael


                                         Title: Artth64       ,   ddiffana            (cr -



                                        Date:                         ‘/       b /8
                                                                             P -j




                                           74                                    Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Holy Trinity of Waterville,
                              Minnesota
                              506 Common St, Waterville, MN 56096

                                         By:            ,
                                                    AI is         eL          /4/cs

                                         Title:    ift,a/ar



                                         Date:     7,         —        7




                                           75                                    Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.
                               On behalf of The Church of the Holy Trinity of South St.
                               Paul, including the parish school and The Church of St.
                               Augustine of South St. Paul, Minnesota.
                               749 6th Ave S, South St. Paul, MN 55075-



                                         Title:   fflLbVor"

                                         Date:    9 " / ^ """^^




                                            76                                    Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Immaculate Conception
                              116 Alabama St SE, Lonsdale, MN 55046

                                         By:


                                         Title:   Pas/-6-c-

                                         Date:




                                           77                                     Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Immaculate Conception of
                              Watertown, Minnesota
                              109 Angel Ave NW, Watertown, MN 55388

                                         By:


                                         Title:


                                        Date:     5-t_j-e4". ){..- tJ i-0! 51




                                           78                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Immaculate Conception of
                              Columbia Heights, including the parish school
                              4030 Jackson St NE, Columbia Heights, MN 55421

                                         By:                       P

                                         Title: Rcoal             of\MI-or


                                         Date: 54>kliv1W I1,       2o 1B




                                           79                                     Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Immaculate Conception of
                              Marysburg, Minnesota
                              27528 Patrick St, Madison Lake, MN 56063

                                         By:


                                         Title:   Rrsi

                                         Date:    Vtode




                                           80                                    Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Immaculate Heart of Mary
                              of Glen Lake, Minnesota
                              13505 Excelsior Blvd, Minnetonka, MN 55345

                                         By:


                                         Title:



                                         Date:    9- -




                                            81                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Incarnation of Minneapolis,
                              including Siado Corazon de Jesus
                              3817 Pleasan Ave Minn p s, MN 5540

                                         By:


                                         Title: / 9MY            CC-, AP4Z411              —


                                         Date:                          porg




                                               82                                  Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Lumen Christi, including The
                              Church of Saint Therese of St. Paul, The Church of Saint
                              Gregory the Great of Saint Paul, Minnesota, and the
                              Church of Saint Leo of St. Paul, Minnesota.
                              2055 Bohland Ave, St. Paul, MN 55116

                                         By:
                                                  Paul F. Feela

                                         Title:   Pastor



                                         Date:    05 September 2018




                                           83                                    Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Mary, Mother of the Church of
                              Burnsville, Minnesota
                              3333 East Cliff Rd, Burnsville, MN 55337

                                         By.


                                         Titl      12.kA51r=




                                         Date:                 20 IT(




                                            84                                     Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Catholic Church of Mary Queen of Peace,
                              including the parish school and the former parishes of the
                              Church of Saint Martin of Rogers and The Church of St.
                              Walberg, of Hasson
                              21304 Church Ave, Rogers (Hassan Township), MN 55374

                                         By: .   '1:MiNciA
                                                                           ° 14/ (31P

                                         Title: _1     -1--\


                                         Date:   s             2.4.Atc




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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Maternity of the Blessed
                              Virgin, Saint Paul, Minnesota, including parish school and
                              former parish of The Church of St. Andrews of St. Paul
                              Minnesota
                              1414 Dale St N, St. Paul, MN 55117

                                         B •



                                         Title:



                                         Date:                    026/ov--




                                           86                                     Travelers

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                 IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
 the last date indicated below.

                               On behalf of The Church of the Most Holy Redeemer of
                               Montgomery, Minnesota, including the parish school and
                               The Church of St. Canice of Kilkenny, Minnesota
                               206 Vine Ave W, Montgomery, MN 56069

                                          By:          Vrcov, Vajos,A.
                                          Title:      Cow
                                          Date:    sp). ll, )t)




                                            87                                    Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Most Holy Trinity of
                              Wesely, Minnesota
                              4939 Washington St, Veseli, MN 55046

                                         By: 7


                                         Title: 4   01" 1-


                                         Date:   (CY /,




                                           88                                    Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of The Nativity, of Cleveland,
                              Minnesota, including the parish school
                              200 West Main St, Cleveland, MN 56017

                                         By:


                                         Title:   7/5)14Dr



                                         Date:    Se




                                           89                                    Travelers

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                         IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
         the last date indicated below.

                                       On behalf of The Church of the Nativity of Our Lord,
                                       including the parish sch
                                       1900 Wellesley Av >, . Pa , MN 55105

                                                  By:


                                                  Title:   Pitsi-or
                                                  Date:    115121)15e




                                                    90                                     Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Nativity of the Blessed
                                     Oxboro, Minnesota, including parish school
                              9900 Lyndale Ave S, Bloomington, MN 55420

                                         By <9      Vt6            X'&


                                         Title:   ; ig


                                        Date:     Sep--7-Emecre fay ,...;76/?




                                           91                                     Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                             On behalf of The Church of Our Lady of Grace, in Edina,
                             Minnesota, including the parish school and The Church of
                             the Most Holy Trinity of St. Louis Park, Minnesota
                             5071 Eden Ave, Edina, MN 55436

                                         By:    V,I44 A,+'1, A #7.-.
                                               6 1-4./er rii#CA/Mic4 C
                                                                                         ,e'
                                         Title:   ef.rtir,   Ode 4 0 7       4/



                                         Date: c),    1"--i'‘‘.°11"   `c   1...2*'/9'




                                           92                                           Travelers
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    Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                 IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
 the last date indicated below.

                               On behalf of The Church of Our Lady of Guadalupe of
                               Saint Paul, Minnesota
                               401 Concord St, St. Paul, MN 55107

                                          By:     7/4W5Afriiklovv\



                                         Title:      M3--ro/t


                                         Date:       g 31 02018




                                           93                                    Travelers

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  Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.



                             On behalf of The Church of Our Lady of Lourdes of St.
                             Anthony, Minnesota
                             1 Lourdes Place, l rrreapglis, MN 55 14

                                         By:        --(AA

                                         Title:


                                         Date:    AOO 06          Q018




                                           94                                    Travelers

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Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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   Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Our Lady of Peace, including
                              the parish school, The Church of St. Kevin and The
                              Catholic Church of the Resurrection of Minneapolis
                              5426 12th Ave S, Minneapolis, MN 55417

                                         By: 7T.4.4i.         C -*-0 "eej:
                                                Re,v. JOa_k. T -EWs
                                         Title: Pa         Ji ce, Prcs-LattAt-


                                         Date: 4143144-- 3 P, 2-° t21




                                           96                                     Travelers
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Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Our Lady of the Lake of
                              Mound, Minn., including the parish school
                              2385 Commerce Blvd, Mound, MN 55364

                                         By:


                                         Title:


                                         Date:    ?;"//////




                                           97                                    Travelers

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Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Our Lady of the Prairie, Belle
                              Plaine, including the parish school, the former parish of The
                              Church of Sacred Heart of Belle Plaine, Minnesota and the
                              former parish of The Church of Saints Peter and Paul of
                              Belle Plaine, Minn.
                              212 N Chestnut St, Belle Plaine, MN 56011

                                         By: g   -Li &         G—


                                         Title    as-c-o   r

                                         Date: Se.,0e AN 6z_r       S- 1   a_O I g




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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Our Lady of Victory of
                              Minneapolis
                              5155 Emerson Ave N, Minneapolis, MN 55430

                                         By:


                                         Title:   Pa 6tor

                                         Date:    9/4 /18




                                            99                                    Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Pax Christi of Eden Prairie
                              12100 Pioneer Trail, Eden Prairie, MN 55347

                                         By:     °V,"


                                         Title: _ A5IT-7 ,"

                                         Date:      0.1,02..0a




                                           100                                    Travelers

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  Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of St. John Paul II Catholic Preparatory School
                              1630 4th St. NE, Minneapolis, MN 55413

                                         By:      14 4-    /Le_         14


                                         Title:


                                         Date:        r4     I          [




                                           101                                    Travelers

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 Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Presentation of the Blessed
                              Virgin Mary of Saint Paul, including the parish school
                              1725 Kennard St, Maplewood, MN 55109

                                         By:         1,.2. p7;/
                                                   , L.,
                                                  he. 110    s M.   c

                                         Title:    PACI"or
                                         Date:      °1- 4 - 1 (6




                                           102                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Risen Savior, of Apple
                              Valley
                              1501 County Rd 42 E, Burnsville, MN 55306

                                         By:      4t 11414 741-4 4/41;t44014:4



                                         Title:      P.o t
                                         Date:




                                          103                                    Travelers
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 Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Sacred Heart in St. Paul
                              840 6th St E, St. Paul, MN 55106
                                                            do4e,
                                         By:


                                         Title:


                                         Date:




                                           104                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Sacred Heart of Rush City
                              Minnesota
                              425 Field Ave, PO Box 45, Rush City, MN 55069

                                         BY fr.All         A      -W
                                                      -              a -T       -

                                         Title:   Pci14.r
                                         Date:            el,,,Le- 101   206?




                                          105                                       Travelers
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Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of the Sacred Heart, including the
                              parish school
                              4087 West Broadway Ave, Robbinsdale, MN 55422

                                         By:


                                         Title:   r?rs          Vice-i9eva.Ar—
                                         Date.            the_ Ig-wek




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                                                               Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
                                                               Exhibit(s) Supplement to Plan - Executed Settlement Agreement Page 107 of 276



                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Cyril of Minneapolis,
                              Minnesota (also known as the Church of Ss. Cyril and
                              Methodius)
                              1315 2nd St NE, Minneapoli     N 55413

                                         By:


                                         Title: iit.rochial   Adm'nletrator


                                         Date:   Sipr 11      raois




                                           107                                    Travelers

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 Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of Parish of Saints Joachim and Anne of
                              Shakopee, Minnesota, including parish school, formerly
                              known as St. Mary of Shakopee, Saint Mark's Church of
                              Shakopee, Scott County and The Church of Saint Mary of
                              the Purification of Marystown, Minn.
                              2700 17th Ave E, Shakopee, MN 55379

                                         By:,


                                         Title:


                                        Date:     9   —




                                          108                                    Travelers
141559966.17
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                 IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
 the last date indicated below.

                               On behalf of The Church of. SS. Peter and Paul of Medina,
                               Minnesota
                               145 Railway St E, P.O. Box 96, Loretto, N 55357

                                          By:


                                          Title:


                                          Date:




                                           109                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Adalbert, of St. Paul,
                              Minnesota
                              265 Charles Ave, St. Paul, MN 55103

                                         By.


                                         Title:   / J --vvi„,s7



                                         Date:




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                      IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
      the last date indicated below.

                                    On behalf of The Church of St. Agatha of Vermillion,
                                    Minnesota
                                    3700 160th St E, Rosemount, MN 55068

                                               By:


                                               Title: _,PrAtiee. fra d     a—rdonc.:4-tiLattiracci



                                               Date:




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   Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Agnes of St. Paul,
                              Minnesota, including the parish school
                              535 Thomas Ave, St. Paul, MN 55103

                                         By:
                                               Zt., /€4r 4/f4lr:^ r

                                         Title:     /Ai- -


                                         Date:    94 ' 2 //8'




                                          112                                     Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Albert the Great, of
                              Minneapolis, Minn., including former parish of The Church
                              of Our Lady of Perpetual Help of Minneapolis, Minnesota
                              and the former parish of the Church of Saint Austin of
                              Minneapolis, Minnesota
                              2836 33rd Ave S, Minneapolis, MN 55406

                                         By:      / ea.
                                                                                   /1 -
                                                     4
                                         Title:       W


                                         Date:             17/. ,20 le




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 Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Alphonsus, of Brooklyn
                              Center, Minnesota, including the parish school
                              7025 Halifax Ave N, Brooklyn Center, MN 55429

                                         By:   4,                       0E4,-             Cfs

                                         Title:   ‘---"PC' Ss +Q ui-


                                         Date:    S7-1--- 50 20




                                           115                                    Travelers
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 Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Ambrose of Woodbury,
                              including the parish school (formerly located in St. Paul,
                              Minnesota)
                              4125 Woodbury Dr., Woodbury, MN 55129

                                         By: En .   ?etc.-, d.     C.J.t 2.12-.:—



                                         Title:   ?0,5 i oy-


                                         Date:    $60.         i 01 ZOI 8




                                           116                                      Travelers

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Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Andrew of Elysian,
                              Minnesota
                              305 Park Ave NE, Elysian, MN 56028

                                         By:
                                                     ,P

                                         Title:   1rmrs-le_

                                         Date:    ?///      69




                                          117                                     Travelers
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Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                 IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                                                          of Saint Anne - Saint Joseph Hien
                              2627 Queen Ave N               olis, MN 55411




                                         Date: ---=-------,
                                                    ~      ,________.,___
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Anne of Hamel, Minnesota
                              200 Hamel Rd, P.O. Box 256, Hamel, MN 55340

                                         By:              /144(2._


                                         Tit le:(74.-if    Zifru 1. 14 (kit


                                        Date: Scri- 0 b ,     201e




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    Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St Anne of LeSueur, Minnesota,
                              including the parish school and the former parish of Church
                              of St. Thomas of Derrynane
                              217 N 3rd St, Le Sueur, MN 56058

                                         By:


                                         Title:   R1.5 m+'


                                         Date:




                                           121                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Bartholomew of Wayzata,
                              including the parish school
                              630 Wayzata Blvd E, Wayzata, MN 55391

                                         By: 5    - 4( 64Citea         4e(`4



                                         Title:   /64   s.-10 r

                                         Date:    5erie m &2 6, do/8




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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Bernard of St Paul
                              Minnesota
                              1160 Woodbridge St., St. Paul, MN 55117

                                         By: r    .7.



                                         Title:    fa))

                                         Date:
                                                        FIrGy\Li( 4, ‘.26.




                                           123                                      Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Bernard, of Benton,
                              Minnesota, including the parish school
                              212 Church St E, Cologne, MN 55322

                                         By: Fr


                                         Title:           Z.


                                         Date:           1 -




                                           124                                     Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Bonaventure, of
                              Bloomington, Minnesota
                              901 90th St E, Bloomington, MN 55420


                                         By:   /Pp.'.
                                         Title:         S-1- 0



                                         Date:            c -




                                           125                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Boniface of St. Bonifacius,
                              Minn.
                              4025 Main St, Saint Bonifacius, MN 55375

                                         By:



                                         Title:   (2             7 ,--\



                                         Date:




                                          127                                     Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                             On behalf of The Church of St. Bridget of Sweden, of
                             Lindstrom, Minnesota
                             13060 Lake Blvd, P.O. Box 754, Lindstrom, MN 55045

                                         By: L             ran,- / w       gkval.1/
                                                  kit... 10‘..viroi W.   K. b (ins i,-

                                         Title:      Va. s A---0Y%


                                         Date:      J   -e c4-- , 'I,    loi




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Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Casimir of St. Paul,
                              Minnesota
                              934 Geranium Ave E, St. Paul, MN 55106

                                         BY: Fr Altja12)          aUj


                                         Title:   Pc fa


                                         Date: q/SP




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                [N WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Cecilia of St. Paul
                              2357 Bayless Place, St. Paul, MN 55114

                                         By:


                                         Ti e     0 'I   6W • /717,


                                         Date:       -/e447(          ec




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                  IN WITNESS WI IEREOP, the Parties have duly executed this Agreement as of
the illt4l date indicated below.

                               On behalf of The Church of St. Charles Borromeo of
                               Minneapolis, Minnesota, including the parish school
                               2739 Stinson Blvd NE, Saint Anthony, MN 55418

                                           By:


                                           Title:   g5   for

                                           Date:    gefirm 2K        51 zeig-




                                             133                                     Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Charles, Bayport,
                              Minnesota
                              409 3rd St N, Bayport, MN 55003

                                         By:


                                         Title:   rtil--5 I


                                         Date:




                                          134                                      Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Columba of St. Paul,
                              Minn.
                              1327 LaFond Ave, St. Paul, MN 55104

                                         B              CT ,--



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                                         Date:        1 7,




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                 IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
 the last date indicated below.

                              On behalf of The Church of St Dominic of Northfield
                              Minnesota, including the parish school
                              216 Spring St N, Northfield, MN 55057

                                          By:
                                                -D-IZ v1 n s‘ S ibe   P Y
                                         Title:    Pado-r

                                         Date:     co9-0 -gn(y




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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Edward, of Bloomington,
                              Minnesota
                              9401 Nesbitt Ave S, Bloomington, MN 55437

                                         By:                          -7,7(---
                                         Title:   Pa_S't-e) r

                                        Date:      q-/3-/g




                                          137                                    Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Elizabeth Ann Seton,
                              Hastings, Minnesota, including the parish school and the
                              former parishes of The Church of Guardian Angels,
                              Hastings, Minnesota and The Church of St. Boniface of
                              Hasting, Minnesota
                              2035 15th St W, Hastings, MN 55033

                                         By:



                                         Title:   (-Pc,._orts0
                                                             Y



                                         Date:    Sy    -eAn-39e,   5 .)   -1) 1 S




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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Frances Cabrini of
                              Minneapolis, Minnesota
                              1500 Franklin Ave SE, Minneapolis, MN 55414

                                         By:


                                         Title:


                                         Date:    9    1c3 — /8




                                           139                                      Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Francis de Sales of St. Paul,
                              Minnesota including Child Care Center & Preschool, and
                              The Church of St. James of St. Paul
                              650 Palace Ave, St. Paul, MN 55102

                                         B :                                       yy)
                                         Title: Pret.tte-vti-


                                         Date:     it   (t) ,2-t) IF
                                                  t




                                          140                                      Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Francis of Assisi
                              16770 13th St S, Lake St Croix Beach, MN 55043

                                         By:


                                         Title: )'),‘


                                         Date:                       7-01




                                           141                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Francis Xavier of
                              Franconia, Minnesota
                              25267 Redwing Ave, Shafer, MN 55074

                                         B .   e
                                         Title:   Par0 c..ka.A    A ot 01.: elj-nior

                                         Date:     5    -i-c_en-,b er 61, 200




                                           142                                     Travelers

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   Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Francis of Buffalo,
                              Minnesota, including the parish school
                              300 First Ave NW, Buffalo, MN 55313

                                         By:   Xi                     .0%6 i4.4
                                                      ikeed     Ara-dtF

                                         Title: (.1,)4/



                                         Date: Cl 151 1g




                                          143                                      Travelers

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 Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Parish of Saint Gabriel the Archangel of
                              Hopkins, Minnesota, including St. Joseph of Hopkins and
                              Saint John the Evangelist of Interlachen Park
                              6 Interlochen Rd, Hopkins, MN 55343

                                         By:         (7.4„,
                                         Title: Vtce eRe511- E.Ari


                                         Date:   Seei—Em6g,'\ 7, aol ?




                                          144                                    Travelers
141559966.17
   Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Genevieve of Centerville,
                              Minnesota including The Church of St. John the Baptist of
                              Hugo
                              7087 Goiffon Rd, Centerville, MN 55038
                                         By:

                                                  Gyni
                                         Title:    r aa-l-or

                                         Date:     Seri      lZ,asp




                                           145                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Gerard
                              9600 Regent Ave N, Br i  yn rk, MN 55443

                                         By:


                                                              AI    t   "
                                         Title:


                                         Date:




                                           147                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Gregory
                              38725 Forest Blvd, North Branch, MN 55056

                                         By:


                                         Title:     Pct r (Dr



                                         Date:    Ser4,-„,L, Jai 2491F




                                           148                                   Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Helena of Minneapolis,
                              including parish school
                              3204 43rd St E, Minneapolis, MN 55406

                                         By:              c/o.✓           s.~


                                        Title:       627410 fen


                                         Date:                    .Z.e)




                                          150                                    Travelers

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    Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Henry of Monticello, Minn
                              1001 7th St E, Monticello, MN 55362

                                         By:



                                         Title:   Pa S*0 r



                                         Date:




                                          151                                    Travelers

141559966.17
     Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Henry of Sharon,
                              Minnesota
                              165 N. Waterville Ave, Le Center, MN 56057

                                         By:


                                         Title:   AS44r


                                         Date:     q/cia




                                          152                                     Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Hubert of Chanhassen
                              Minn, including parish school
                              8201 Main St, Ch       sen,    -5317

                                         By:



                                         Title:   Fie.   e0 ii   . 70/164;-,cri,


                                         Date:       Sep tern Love 6; aoi?




                                          153                                      Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Ignatius of French Lake,
                              Minnesota
                              35 Birch St E, Annandale, MN 55302

                                         By:



                                         Title:   / le?!l a
                                                          ' r



                                         Date:     9//i7/




                                           154                                    Travelers
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 Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Jerome, Maplewood,
                              Minnesota including parish school
                              380 Roselawn Ave E, Maplewood, MN 55117
                                                  (/‘,.)
                                         By:          e(/.        tuj   az_cei.e._


                                         Title:      ?C&--C/cTi


                                                                        7
                                         Date:                              d 0 /g /




                                           155                                         Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Joan of Arc in
                              Minneapolis
                              4537 3rd Ave S, Minneapolis, MN 55419

                                         By:      r' ) AtiAJAJCD.,j2,41.
                                                    C.

                                         Title:        tisibl"


                                         Date:           )01.. . 12)   2.04.




                                           156                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. John Neumann
                              4030 Pilot Knob Rd, Eagan, MN 55122

                                         By.
                                                                  DoLtailet   elTir
                                         Title:   fet.%{-tne
                                         Date:       Sys       2o (g




                                           l 57                                  Travelers

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  Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. John the Baptist of Dayton
                              Minnesota
                              18380 Columbu     , P.O. Box 201, Dayton, MN 55327




                                         Title:   P013-1-vr


                                         Date: 96)




                                           158                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. John Baptist, including
                              parish school
                              835 2nd Ave NW, New B ight , MN 5

                                         B


                                         Title: grOi        r-


                                         Date c        (,   c - o.
                                                             I




                                             160                                  Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint John the Baptist of
                              Jordan Minn., including parish school
                              313 East 2nd St, Jord   MN 55352

                                         By


                                         Title:        t'kfu      4,-L; s-Irk
                                         Date:     -7 —I-IS




                                          161                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of Church of St. John the Baptist of Excelsior,
                              Minnesota, including parish school
                              680 Mill St, Excelsior, MN 55331

                                         By:


                                         Title:   .PQ etor -


                                         Date:    cl -   -   201 ig




                                          162                                      Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. John of Vermillion
                              Minnesota, including parish school
                              106 Main St W, Vermillion, MN 55085

                                         By:          Cot.2 • ai---



                                         Title:   gl IA fr

                                         Date:




                                          163                                     Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of St. John's Church of Little Canada,
                              Minnesota, including parish school
                              380 Little Canada Rd E, Little Canada, MN 55117

                                         By:      ri_4
                                         Title:



                                         Date:




                                           164                                   Travelers
141559966.17
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                 IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
 the last date indicated below.

                               On behalf of The Church of Saint John Vianney in South
                               Saint Paul, Minnesota
                               789 17th Ave North, South St. Paul, MN 55075

                                          By: /    /JIONV     grotat

                                          Title:   0)

                                          Date: 04/            - zevig




                                           165                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Joseph
                              8701 36th Ave N, New Hope, MN 55427

                                                                i'
                                         By: 2 2-i de          ' Vid"WV.....   ---

                                           Fr, Terry        615cm iA s5-e-in

                                         Title: Pas-ro it


                                         Date: .-CIP.e3141.0,117e..r U. 20/q




                                          166                                        Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Joseph of West Saint
                              Paul, Minnesota
                              1154 Seminole Ave, West St. Paul, MN 55118

                                         By:      \P`-`14/-AA


                                         Title:         p A-tra ft


                                                           gior12,019
                                         Date:




                                          167                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Joseph, of Red Wing
                              Minnesota
                              426 8th St W, Red Wing, MN 55066

                                         By: 14 ii


                                         Title:   FA Our

                                         Date:




                                            168                                    Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Joseph of Taylors Falls
                              490 Bench St, Taylors Falls, MN 55084

                                         By: fey



                                         Title:   ecodzAd ktio4va

                                         Date:    (5e79 i-exiA_b&r         ?-0/e.




                                           169                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Joseph, of Rosemount
                              Minnesota, including parish school
                              13900 Biscayne Ave W, Rosemount, MN 55068

                                         By:



                                         Title:   Pt-5-ro-),2
                                         Date:       12, )




                                           171                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Joseph, of Miesville,
                              Minnesota, in the Township of Douglas, including parish
                              school
                              23955 Nicolai Ave E, Hastings, MN 55033

                                         By:        %/ II"


                                         Title:   /4)1.5



                                         Date:         /;;,       6:1 )0/6/




                                           172                                   Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of Church of St. Joseph of Rice Lake, Minnesota
                              171 Elm St, Lino Lakes, MN 55014

                                         By:


                                         Title: "if


                                         Date: S-"# P2 ---




                                          173                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Joseph the Worker, Maple
                              Grove, Minnesota
                              7180 Hemlock Lane N, Maple Grove, MN 55369

                                         By:, o,2i 7,411.„f_e€„0:„


                                         Title: ,/geff;4


                                         Date:,47.ZpL4e4         ,;40/1




                                           174                                    Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Jude of the Lake in the
                              Town of Lincoln, including parish school
                              700 Mahtomedi Ave, Mahtomedi, MN 55115

                                         By:


                                         Title:   71 24' .    -



                                         Date:




                                          175                                     Travelers
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                 IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
 the last date indicated below.

                               On behalf of The Church of Saint Katharine Drexel,
                               Ramsey, Minnesota
                               7101 143rd Ave NW, Ramsey, MN 55303

                                          By:       ,e-fd

                                          Title:       SfrO



                                         Date:     q////A,O




                                           176                                    Travelers
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                IN WI TNESS WH ERE OF, the Parties have duly executed this Agreement as of
the last date indicated below.

                               On behalf of The Church of St. Lawrence of Minneapolis,
                               Minnesota
                               1203 5th St SE, Minneapolis
                                                     C
                                          By: __
                                               f-----,
                                                   v.,,__
                                                       . -""~--f-----                            I
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                                          Title:    ?c,$fl)t
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                                                                                                 I
                                          Date:    _1_-_)
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Leonard of Port Maurice, of
                              Minneapolis, Minnesota
                              3949 Clinton Ave S, Minneapolis, MN 55409

                                         By,/



                                         Title:



                                         Date:         / a2 — /   8)




                                          178                                    Travelers

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09/11/2018    10:40   6512240017                      CHURCH OF ST. LOUIS                 PAGE     05/05
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                     IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
     the last date indicated below.

                                   On behalf of The Church of St. Louis, of St. Paul Minnesota
                                   506 Cedar St, St. Paul, MN 55101

                                              By:


                                              Title: _athc_r_CLIQ


                                              Date: n             r




                                                179                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Luke of Clearwater,
                              Minnesota
                              17545 Huber Ave NW, Clearwater, MN 55320

                                         By:      ke
                                                   " 'k




                                         Title:   PA"- 0 c   , k   I A- ct ,v)

                                         Date:            — —




                                          180                                      Travelers

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Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Margaret Mary, of
                              Minneapolis, Minnesota
                              2323 Zenith Ave N, Golden Valley, MN 55422

                                         By:


                                         Title:   .-P6 617)-7

                                         Date:




                                          181                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Mark of St. Paul,
                              Minnesota, including parish school
                              2001 Dayton Ave, St. Paul, IN N 5 104

                                         By:



                                         Title:


                                         Date:    5qpitaber 511\ 261K




                                          182                                    Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Mary, of St. Paul Minnesota
                              261 8th St E, St. Pau y, MN 55101

                                         By:



                                         Title: 4 09 1-7 16-6/



                                         Date:                            DzIg




                                           183                                    Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Mary of Le Center,
                              Minnesota
                              165 Waterville Ave N, Le Center, MN 56057

                                         By:      gePatidepla        /ASP         —


                                         Title:    Wt5,44-•

                                         Date:




                                           184                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Mary, of New Trier,
                              Minnesota
                              8433 239th St E, Hampton, MN 55031

                                         By:


                                         Title:


                                         Date:      ci/y/g




                                          185                                      Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Mary of Stillwater
                              423 5th St S, Stillwater, MN 55082

                                         By:           1    --


                                         Title:   SS
                                         Date:




                                           186                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St Mary of Waverly Minnesota
                              606 Elm Ave, Wa rly, MN       90

                                         By:


                                         Title:



                                         Date:    y-5=-,re/04e




                                          187                                    Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Mary, Minnesota (also
                              known as the Church of St. Mary of Czestochowa)
                              1867 95th St SE, Delano, MN 55328

                                         By:       -t5,Z&SC/TA—CIN


                                         Title:   OK(16     (Z_


                                         Date:




                                          188                                    Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Mary of the Lake, of White
                              Bear, Minnesota
                              4690 Bald Eagle ye,     ite ear Lake,      t5511

                                         By:                            (at
                                         Title:


                                         Date:       '-- c   r   26(   e i




                                           190                                    Travelers

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                     IN WITNESS WHEREOF, the Parties have duly executed this Agreement     as   of
the last date indicated below.

                                    On behalf of The Church of St. Matthew of St. Paul,
                                    Minnesota
                                    490 Hall Ave, St. Paul, MN 55107


                                               ,r,(*L,/a. r("4',,F
                                               rnt                                /r-/o r

                                               oate:    ?r/{/*aE




                                                191                                       Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Mathias of Hampton,
                              Minnesota
                              23315 Northfield Blvd Hampton, MN 55031

                                         By:


                                        Title:     Pashit--
                                        Date:




                                          192                                    Travelers

141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Maximilian Kolbe,
                              including parish school, formerly known as The Church of
                              St. Peter, of Delano, Minnesota and The Church of St.
                              Joseph of Delano
                              204 South River St., PO Box 470, Delano, MN 55328

                                         By:


                                         Title:   F,Is-i-r


                                         Date:       -)\ -ao 1 7s•




                                           193                                    Travelers
141559966.17
  Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Michael of Farmington,
                              Minnesota
                              22120 Denmark Ave, Farmington, MN 55024

                                         By:      p,                 t


                                         Title:


                                         Date:        4 c                y
                                                     1 *




                                           194                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Michael of Kenyon,
                              Minnesota
                              108 Bullis St, Kenyon, MN 55946

                                        By:       --Peki


                                         Title:            1
                                         Date:     q -10 "XiS




                                           195                                    Travelers

141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Michael, of Pine Island
                              Minnesota
                              451 5th St SW, Pine Island, MN 55963

                                         By:C        4frtAit       /aid


                                         Title:   /44-Ar


                                         Date. SeSp        , ae4             "OW




                                           196                                    Travelers
141559966.17
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                   IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
   the last date indicated below.

                                 On behalf of The Church of St. Michael of St. Paul
                                 Minnesota
                                 337 Hurley St F, West St. Paul, MN 55118

                                            By: -De                     te7 24_
                                                                            •

                                            Title:   " 20 , Sete r'!2


                                            Date:•




                                              197                                     Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Michael, of Stillwater
                              Minnesota
                              611 3rd St S, Stillwater, MN 55082

                                         By:


                                         Title:   /557r-
                                         Date:               / I




                                           198                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Michael, of Frankfort,
                              Minnesota, including parish school
                              11300 Frankfurt Pkwy NE, Saint Michael, MN 55376

                                         By:      /17

                                                  Fr. Pti-cr       Riciutrds
                                         Title:    Pastor

                                         Date:      q   IL°I lel




                                          199                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Michael of Prior Lake,
                              including parish school
                              16311 Duluth Ave SE, Prior Lake, MN 55372
                                                                              ,
                                         By: C - iA JAPYI''-44-    CA-ift-Kio'x
                                                  Fr`      hornoS   J , (Ao/kc-
                                         Title:     eqS-      0 , 1 V‘Ce   — Pres-do /IC


                                         Date:     7 (i21/t




                                          200                                     Travelers
141559966.17
Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Nicholas,of~Carver Minn.
                              412 4th St W, Carver, MN 55315

                                         By:


                                         Title:


                                         Date:    SO/4yr /3, 200




                                           201                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of St. Nickolaus Church of New Market Scott
                              County Minnesota
                              51 Church St, New Market, MN 55054

                                         By:          CPec     T-



                                         Title: ?i-S+



                                         Date:   1/   1/(3




                                          202                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Odilia, of Shoreview,
                              Minnesota, including parish school
                              3495 Victoria St N, Shoreview, MN 55126

                                         By:
                                               Ph i I Li?

                                         Title:   Wu-       9itfp' citi-.1"


                                         Date:    09 )11/ wid




                                           203                                       Travelers

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  Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of St. Olaf Catholic Church of Minneapolis,
                              Minnesota
                              215 South 8th St, Minneapolis, MN 55402




                                         Title:       1-1z1-----


                                         Date:    ic, ""d          3—   70/6




                                           204                                    Travelers
141559966 17
Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Pascal Baylon, St. Paul,
                              Minnesota, including parish school, and the former parish
                              of The Church of St. John of St. Paul, Minnesota
                              1757 Conway St, St. Paul, MN 55106

                                         By:


                                         Title:   PASTog.

                                         Date:    Erpfeti14er          ; ,?0/5-




                                           205                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Patrick of Inver Grove,
                              Minnesota
                              3535 72nd St E, Inver Grg Heights         55076

                                         B :
                                                          LCk


                                         Title:



                                         Date:




                                           206                                    Travelers
141559966.17
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                  IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
  the last date indicated below.

                                On behalf of The Church of, St. Patrick, of Shieldsville
                                Minnesota
                                7525 Dodd Rd, Faribault, MN 55021

                                           By:      °R,CV Vdp, Vakte:sto
                                           Title:      /1205 )11(14/



                                           Date:      5          1)1 mr




                                             208                                      Travelers
Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
Exhibit(s) Supplement to Plan - Executed Settlement Agreement Page 209 of 276



                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Patrick of Cedar Lake,
                              Minnesota
                              24425 Old Highway 13 Blvd, Jordan, MN 55352

                                         By: Z.    "Jae
                                         Title:   Pas-1-or

                                         Date:




                                           209                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Patrick of Cedar Creek,
                              Minnesota
                              19921 Nightingale St NW, Oak Grove, MN 55011

                                         By:


                                         Title:   /i9S'rD4



                                         Date:    9 —   7-    /   r




                                           210                                    Travelers

141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Patrick of St. Paul
                              Minnesota
                              1095 DeSoto St, St. Paul, MN 55130

                                         By.      rrAielew0


                                         Title:   65to r

                                         Date:      (S7 )   6 (R




                                          211                                      Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Paul of Zumbrota,
                              Minnesota
                              749 Main St S, Zumbrota, MN 55992

                                         B


                                         Title: S)S        -r


                                         Date. `-l eieeks4414"                 2.°      t S3




                                             212                                   Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Paul
                              1740 Bunker Lake Blvd NE, Ham Lak •, MN 55304

                                         B .



                                         Title:


                                         Date:
                                                   pi -i-trilei r,     2-cir




                                          213                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Peter of Richfield,
                              Minnesota, including parish school of Blessed Trinity
                              6730 Nicollet Ave, Richfield, MN 55423


                                         By:


                                         Title:



                                         Date:             / Z, — 20/ cr"




                                          214                                     Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Peter, of Mendota,
                              Minnesota
                              1405 Hwy 13, Mendota, MN 55150

                                         By:
                                                   sitve%)
                                         Title:      PAS ale
                                         Date:      SCe72,,5(




                                           215                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Peter, including parish
                              school
                              1250 Shore Dr. S, Forest Lake, MN 55025


                                         By:        4    47-1-, 4.3(


                                         Title:


                                         Date:            ‘,       .0)0 /8




                                          216                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Peter of North St. Paul,
                              including parish school and the former parish The Church
                              of the Holy Redeemer
                              2600 Margaret St N, North St. Paul, MN 55109

                                         By:                 _,E1,4A4)   (,




                                         Title:   rec   r



                                         Date:      )2 / 7        eo ig




                                          217                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Pius of Cannon Falls,
                              Minnesota
                              410 Colvill St W, Cannon Falls, MN 55009

                                         By:   r-,
                                         Title:      c
                                         Date:




                                          219                                    Travelers
141559966.17
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                 IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
 the last date indicated below.

                               On behalf of The Church of St. Pius X of White Bear,
                               Minnesota
                               3878 Highland Ave, White Bear Lake, MN 55110

                                          By:


                                          Title:
                                                   P-.       le




                                                         I
                                          Date:                   b   /kJ




                                           220                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Raphael in Crystal,
                              Minnesota, including parish school
                              7301 Bass Lake Rd, Crystal, MN 55428

                                         By       of ,

                                         Title:   19a )7tv r-
                                         Date:     _ e_r, 7,    6, 26( II




                                          221                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Richard, of Richfield,
                              Minnesota
                              7540 Penn Ave S Richfield, MN 55423

                                         By:                   cwc_itit


                                         Title:     3d-uL


                                         Date: ie




                                          222 .                                   Travelers

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 Case 15-30125 Doc 1256-1 Filed 09/14/18 Entered 09/14/18 17:37:14 Desc
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Rita of Cottage Grove,
                              Minnesota
                              8694 80th St S, Cottage Grove, MN 55016

                                         By:      TeL) 1.c!N          Cp


                                         Title:                4,00


                                        Date:




                                          223                                    Travelers
141559966.17
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                 IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
 the last date indicated below.

                              On behalf of The Church of Saint Rose of Lima of
                              Rosetown, Minnesota, includ' g parish school
                              2048 Hamline Ave N,    Seville, IN 55113

                                          By:


                                         Title:     Posrac5LA        /41,Aklin



                                         Date:           b^ (4           24 \1)




                                           224                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Stanislaus of Saint Paul,
                              Minnesota
                              398 Superior St, St. Paul, MN 55102

                                         By:      0.         C z?,6



                                         Title:


                                         Date: i4 )//   (7( 62 67 z".




                                           225                                     Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Stephen of Minneapolis,
                              Minnesota
                              2211 Clinton Ave, Minneapolis, MN 55404

                                         By:


                                                 Fes:
                                        Title:



                                         Date:
                                                              oa_V




                                          226                                    Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Stephen, of Anoka,
                              Minnesota, including parish school
                              525 Jackson St, Anoka MN 55303

                                         By:


                                         Title:   /P4 t


                                         Date: 5 C1f-tret        (




                                           227                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Therese of Deephaven,
                              including parish school
                              18323 Minnetonka Blvd, Deephaven, MN 55391

                                         By:      gr


                                         Title:


                                        Date:




                                          228                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Thomas Aquinas in St. Paul
                              Park, Minnesota
                              920 Holly Ave, St. Paul Park, MN 55071

                                         BY: ihjel       -lAt`   PM/ "Ci71-L e&A


                                         Title:      P           7 7)P---



                                         Date:




                                           230                                     Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Thomas Becket
                              4455 S Robert Trail, Ea an, MN 55123

                                         By:


                                         Title:


                                         Date:




                                          23 1                                   Travelers
141559966.17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Thomas More, including
                              parish school, The Church of the Immaculate Heart of
                              Mary, St. Paul, Minnesota and former parish of Church of
                              St. Luke, St. Paul Minnesota
                              1079 Summit Ave, St. Paul, MN 55105

                                         By:      (1.\.e.,)



                                         Title:               A -51-(21


                                         Date:                 A //F




                                           232                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Thomas of Minneapolis
                              2914 W 44th St, Minneapolis, MN 55410



                                                  M ich4el Red;rN

                                         Title:   PAs6r


                                         Date:    al - II - I 8




                                           233                                   Travelers

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                 IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
 the last date indicated below.

                               On behalf of The Church of St. Thomas, of Corcoran,
                               Minnesota
                               20000 County Rd 10, Corcoran, MN 55340


                                          By:      •1 4 -


                                          Title:            d/   (- ,


                                          Date:             b7a_k_61,71Ag




                                          234                                    Travelers
141559966 17
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint Timothy of Blaine
                              707 89th Ave NE, Blaine, MN 55434

                                         By:


                                         Title: Pastor; Vice-President


                                         Date: 9-5-18




                                           235                                     Travelers
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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Timothy of Maple Lake,
                              Minnesota, including parish school
                              8 Oak Ave N, Maple Lake, MN 55358

                                         By:


                                         Title:


                                         Date:    7-618




                                           236                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Vincent de Paul, of Osseo,
                              Minnesota, including parish school
                              9100 93rd Ave N, Broo        ark, lit, 55445

                                         By:      •


                                         Title:   PA5rD
                                         Date:    Setf (2 7415




                                           238                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of St. Wenceslaus, of New Prague,
                              Minnesota, including parish school, Saint Scholastica
                              Church of Heidelberg, Minnesota, The Church of Saint
                              John the Evangelist of Union Hill, Minn., The Church of St.
                              Joseph, and Church of Saint Benedict, of St. Benedict
                              215 Main St E, New Prague, MN 56071

                                         By: tj

                                                  C..„.„)
                                         Title:       bac:3 \?()

                                        Date:




                                          239                                    Travelers

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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of The Church of Saint William of Fridley,
                              Minnesota
                              6120 5th St NE, Fridley, MN 55432

                                         By:      -Pw   (Gjct-,-<-L-(


                                         Title:


                                         Date:                          /a, 26/j7




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                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of
the last date indicated below.

                              On behalf of Transfiguration Church of Oakdale,
                              Minnesota, including parish school
                              6133 15th St N, Oakdale, MN 55128

                                         By:



                                         Title:   Pakc r

                                         Date:     S-epf-. iO   Zol g




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                                              EXHIBIT 1




 Entity Name, Address and Insured Interest             Policy Number(s) and Insured Year(s)
 All Parishes, Schools, Cemeteries and Other    Northfield Insurance Companies policy number EL
 Agencies under specific names owned or         85004 (11/7/85-9/1/86); St. Paul Surplus Lines
 operated by the Archdiocese of St. Paul and    Insurance Company policy number SUO 5500535
 Minneapolis and all other directly connected   (9/1/86-9/1/87); any other Archdiocese Settling
 organizations                                  Insurer Entity Policy that insures or allegedly
 (as listed on Exhibit M of Plan)               insures such entities that was issued or allegedly
                                                issued to the Archdiocese
 Catholic Cemeteries, individually and as       Travelers Casualty and Surety Company (formerly
 successor in interest to: Calvary Cemetery,    known as Aetna Casualty and Surety Company)
 Gethsemane Cemetery (including Assumption      policy numbers 37AL188420 (8/1/73 – 8/1/74),
 Cemetery), Resurrection Cemetery, St.          37SM802875FCA (8/1/74 – 8/1/77),
 Anthony’s Cemetery, and St. Mary’s             37SM802875FCA7 (8/1/77 – 8/1/78),
 Cemetery                                       37SM10285FCA (8/1/78 – 8/1/79),
 2105 Lexington Ave S.                          37SM15868FCA (8/1/79 – 7/1/80), 37XS1768WCA
 Mendota Heights, MN 55120                      (8/17/75 – 8/17/76), 37XS2046WCA (8/17/76 –
                                                8/17/77), 37XS2401WCA (8/17/77 – 8/17/78),
                                                37XS2831WCA (8/17/78 – 7/1/79), and
                                                37XS3399WCA (7/1/79 – 9/1/80); and any other
                                                Archdiocese Settling Insurer Entity Policy that
                                                insures or allegedly insures such entities that was
                                                issued or allegedly issued to the Archdiocese
 Calvary Cemetery (St. Paul)                    Travelers Casualty and Surety Company (formerly
 Part of Catholic Cemeteries                    known as Aetna Casualty and Surety Company)
                                                policy number 37AL188420 (8/1/73 – 8/1/74); and
                                                any other Archdiocese Settling Insurer Entity Policy
                                                that insures or allegedly insures such entities that
                                                was issued or allegedly issued to the Archdiocese
 Assumption Cemetery (New Hope)                 Travelers Casualty and Surety Company (formerly
 Part of Gethsemane Cemetery, which is part     known as Aetna Casualty and Surety Company)
 of Catholic Cemeteries                         policy number 37AL188420 (8/1/73 – 8/1/74); and
                                                any other Archdiocese Settling Insurer Entity Policy
                                                that insures or allegedly insures such entities that
                                                was issued or allegedly issued to the Archdiocese

 Gethsemane Cemetery (New Hope)                 Travelers Casualty and Surety Company (formerly
 Part of Catholic Cemeteries                    known as Aetna Casualty and Surety Company)
                                                policy number 37AL188420 (8/1/73 – 8/1/74); and
                                                any other Archdiocese Settling Insurer Entity Policy
                                                that insures or allegedly insures such entities that
                                                was issued or allegedly issued to the Archdiocese


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 Entity Name, Address and Insured Interest              Policy Number(s) and Insured Year(s)
 St. Anthony’s Cemetery (Minneapolis)            Travelers Casualty and Surety Company (formerly
 Part of Catholic Cemeteries                     known as Aetna Casualty and Surety Company)
                                                 policy number 37AL188420 (8/1/73 – 8/1/74); and
                                                 any other Archdiocese Settling Insurer Entity Policy
                                                 that insures or allegedly insures such entities that
                                                 was issued or allegedly issued to the Archdiocese

 St. Mary’s Cemetery (Minneapolis)               Travelers Casualty and Surety Company (formerly
 Part of Catholic Cemeteries                     known as Aetna Casualty and Surety Company)
                                                 policy number 37AL188420 (8/1/73 – 8/1/74); and
                                                 any other Archdiocese Settling Insurer Entity Policy
                                                 that insures or allegedly insures such entities that
                                                 was issued or allegedly issued to the Archdiocese

 Catholic Charities of The Archdiocese of        Travelers Casualty and Surety Company (formerly
 Saint Paul and Minneapolis as successor in      known as Aetna Casualty and Surety Company)
 interest to St. Joseph’s Home for Children      policy numbers 37SM10285FCA (8/1/78 – 8/1/79),
 (f/k/a Minneapolis Catholic Boys’ Home, f/k/a   37SM15868FCA (8/1/79 – 7/1/80), 37XS1768WCA
 Minneapolis Catholic Orphan Asylum, and         (8/17/75 – 8/17/76), 37XS2046WCA (8/17/76 –
 f/k/a St. Joseph’s German Catholic Orphan       8/17/77), 37XS2401WCA (8/17/77 – 8/17/78),
 Society); Seton Residence (f/k/a St. Paul       37XS2831WCA (8/17/78 – 7/1/79), and
 Catholic Orphan Asylum and f/k/a Catholic       37XS3399WCA (7/1/79 – 9/1/80); and any other
 Infants Home); Catholic Social Service of       Archdiocese Settling Insurer Entity Policy that
 Saint Paul (f/k/a known as Bureau of Catholic   insures or allegedly insures such entities that was
 Charities of Saint Paul, Inc.)                  issued or allegedly issued to the Archdiocese
 1200 2nd Avenue S.
 Minneapolis, MN 55403
 St. Joseph’s German Catholic Orphan Society     Travelers Casualty and Surety Company (formerly
 n/k/a Catholic Charities                        known as Aetna Casualty and Surety Company)
                                                 policy numbers 37SM10285FCA (8/1/78 – 8/1/79),
                                                 37SM15868FCA (8/1/79 – 7/1/80), 37XS1768WCA
                                                 (8/17/75 – 8/17/76), 37XS2046WCA (8/17/76 –
                                                 8/17/77), 37XS2401WCA (8/17/77 – 8/17/78),
                                                 37XS2831WCA (8/17/78 – 7/1/79), and
                                                 37XS3399WCA (7/1/79 – 9/1/80); and any other
                                                 Archdiocese Settling Insurer Entity Policy that
                                                 insures or allegedly insures such entities that was
                                                 issued or allegedly issued to the Archdiocese




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 Entity Name, Address and Insured Interest            Policy Number(s) and Insured Year(s)
 Archbishop Ireland Education Fund, Inc.        Travelers Casualty and Surety Company (formerly
 Dissolved in 1997                              known as Aetna Casualty and Surety Company)
                                                policy numbers 37AL188420 (8/1/73 – 8/1/74),
                                                37SM802875FCA (8/1/74 – 8/1/77),
                                                37SM10285FCA (8/1/78 – 8/1/79),
                                                37SM15868FCA (8/1/79 – 7/1/80),
                                                37XS1768WCA (8/17/75 – 8/17/76),
                                                37XS2046WCA (8/17/76 – 8/17/77),
                                                37XS2401WCA (8/17/77 – 8/17/78),
                                                37XS2831WCA (8/17/78 – 7/1/79), and
                                                37XS3399WCA (7/1/79 – 9/1/80); and any other
                                                Archdiocese Settling Insurer Entity Policy that
                                                insures or allegedly insures such entities that was
                                                issued or allegedly issued to the Archdiocese
 Archbishop’s Appeal Committee                  Travelers Casualty and Surety Company (formerly
 Not separately incorporated from Archdiocese   known as Aetna Casualty and Surety Company)
                                                policy numbers 37AL188420 (8/1/73 – 8/1/74),
                                                37SM802875FCA (8/1/74 – 8/1/77),
                                                37SM802875FCA7 (8/1/77 – 8/1/78), and
                                                37SM15868FCA (8/1/79 – 7/1/80); and any other
                                                Archdiocese Settling Insurer Entity Policy that
                                                insures or allegedly insures such entities that was
                                                issued or allegedly issued to the Archdiocese
 Archdiocesan Council of Catholic Women         Travelers Casualty and Surety Company (formerly
 Not separately incorporated from Archdiocese   known as Aetna Casualty and Surety Company)
                                                policy numbers 37AL188420 (8/1/73 – 8/1/74),
                                                37SM802875FCA (8/1/74 – 8/1/77),
                                                37SM802875FCA7 (8/1/77 – 8/1/78),
                                                37SM10285FCA (8/1/78 – 8/1/79),
                                                37SM15868FCA (8/1/79 – 7/1/80),
                                                37XS1768WCA (8/17/75 – 8/17/76),
                                                37XS2046WCA (8/17/76 – 8/17/77),
                                                37XS2401WCA (8/17/77 – 8/17/78),
                                                37XS2831WCA (8/17/78 – 7/1/79), and
                                                37XS3399WCA (7/1/79 – 9/1/80); and any other
                                                Archdiocese Settling Insurer Entity Policy that
                                                insures or allegedly insures such entities that was
                                                issued or allegedly issued to the Archdiocese
 Archdiocesan Development Office and            Travelers Casualty and Surety Company (formerly
 Annual Catholic Appeal                         known as Aetna Casualty and Surety Company)
 Not separately incorporated from Archdiocese   policy number 37SM10285FCA (8/1/78 – 8/1/79);
                                                and any other Archdiocese Settling Insurer Entity
                                                Policy that insures or allegedly insures such entities
                                                that was issued or allegedly issued to the
                                                Archdiocese




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 Entity Name, Address and Insured Interest            Policy Number(s) and Insured Year(s)
 Center for Growth in Priestly Ministry         Travelers Casualty and Surety Company (formerly
 Not separately incorporated from Archdiocese   known as Aetna Casualty and Surety Company)
                                                policy numbers 37SM10285FCA (8/1/78 – 8/1/79),
                                                and 37SM15868FCA (8/1/79 – 7/1/80); and any
                                                other Archdiocese Settling Insurer Entity Policy that
                                                insures or allegedly insures such entities that was
                                                issued or allegedly issued to the Archdiocese
 CommonBond Communities (f/k/a                  Travelers Casualty and Surety Company (formerly
 Community Development Corporation for the      known as Aetna Casualty and Surety Company)
 Archdiocese of Saint Paul and Minneapolis,     policy numbers 37AL188420 (8/1/73 – 8/1/74),
 and f/k/a Urban Affairs Community              37SM802875FCA (8/1/74 – 8/1/77),
 Development Corporation, Inc.)                 37SM802875FCA7 (8/1/77 – 8/1/78),
 1080 Montreal Avenue                           37SM10285FCA (8/1/78 – 8/1/79),
 St Paul, MN 55116                              37SM15868FCA (8/1/79 – 7/1/80), 37XS1768WCA
                                                (8/17/75 – 8/17/76), 37XS2046WCA (8/17/76 –
                                                8/17/77), 37XS2401WCA (8/17/77 – 8/17/78),
                                                37XS2831WCA (8/17/78 – 7/1/79),
                                                37XS3399WCA (7/1/79 – 9/1/80); and any other
                                                Archdiocese Settling Insurer Entity Policy that
                                                insures or allegedly insures such entities that was
                                                issued or allegedly issued to the Archdiocese
 Confraternity of Christian Doctrine of the     Travelers Casualty and Surety Company (formerly
 Archdiocese of Saint Paul, Inc.                known as Aetna Casualty and Surety Company)
 Dissolved in 1972                              policy numbers 37SM802875FCA (8/1/74 –
                                                8/1/77), and 37SM802875FCA7 (8/1/77 – 8/1/78);
                                                and any other Archdiocese Settling Insurer Entity
                                                Policy that insures or allegedly insures such entities
                                                that was issued or allegedly issued to the
                                                Archdiocese
 Consultation Services Center                   Travelers Casualty and Surety Company (formerly
 Not separately incorporated from Archdiocese   known as Aetna Casualty and Surety Company)
                                                policy numbers 37AL188420 (8/1/73 – 8/1/74),
                                                37SM802875FCA (8/1/74 – 8/1/77),
                                                37SM802875FCA7 (8/1/77 – 8/1/78),
                                                37SM10285FCA (8/1/78 – 8/1/79), and
                                                37SM15868FCA (8/1/79 – 7/1/80); and any other
                                                Archdiocese Settling Insurer Entity Policy that
                                                insures or allegedly insures such entities that was
                                                issued or allegedly issued to the Archdiocese
 Crossroads Resource Center                     Travelers Casualty and Surety Company (formerly
 Not separately incorporated from Archdiocese   known as Aetna Casualty and Surety Company)
                                                policy numbers 37SM802875FCA (8/1/74 – 8/1/77)
                                                and 37SM802875FCA7 (8/1/77 – 8/1/78); and any
                                                other Archdiocese Settling Insurer Entity Policy that
                                                insures or allegedly insures such entities that was
                                                issued or allegedly issued to the Archdiocese



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 Entity Name, Address and Insured Interest            Policy Number(s) and Insured Year(s)
 Catholic Youth Center, Minneapolis             Travelers Casualty and Surety Company (formerly
 Not separately incorporated from Archdiocese   known as Aetna Casualty and Surety Company)
                                                policy numbers 37AL188420 (8/1/73 – 8/1/74),
                                                37SM802875FCA (8/1/74 – 8/1/77),
                                                37SM802875FCA7 (8/1/77 – 8/1/78),
                                                37SM10285FCA (8/1/78 – 8/1/79), and
                                                37SM15868FCA (8/1/79 – 7/1/80); and any other
                                                Archdiocese Settling Insurer Entity Policy that
                                                insures or allegedly insures such entities that was
                                                issued or allegedly issued to the Archdiocese
 Catholic Youth Center, St. Paul                Travelers Casualty and Surety Company (formerly
 Not separately incorporated from Archdiocese   known as Aetna Casualty and Surety Company)
                                                policy numbers 37AL188420 (8/1/73 – 8/1/74),
                                                37SM802875FCA (8/1/74 – 8/1/77),
                                                37SM802875FCA7 (8/1/77 – 8/1/78),
                                                37SM10285FCA (8/1/78 – 8/1/79), and
                                                37SM15868FCA (8/1/79 – 7/1/80); and any other
                                                Archdiocese Settling Insurer Entity Policy that
                                                insures or allegedly insures such entities that was
                                                issued or allegedly issued to the Archdiocese
 Diocesan Bureau of Education                   Travelers Casualty and Surety Company (formerly
 Not separately incorporated from Archdiocese   known as Aetna Casualty and Surety Company)
                                                policy numbers 37AL188420 (8/1/73 – 8/1/74),
                                                37SM802875FCA (8/1/74 – 8/1/77),
                                                37SM802875FCA7 (8/1/77 – 8/1/78),
                                                37SM10285FCA (8/1/78 – 8/1/79), and
                                                37SM15868FCA (8/1/79 – 7/1/80); and any other
                                                Archdiocese Settling Insurer Entity Policy that
                                                insures or allegedly insures such entities that was
                                                issued or allegedly issued to the Archdiocese
 Manalive Program                               Travelers Casualty and Surety Company (formerly
 Dissolved in 1997                              known as Aetna Casualty and Surety Company)
                                                policy numbers 37SM802875FCA7 (8/1/77 –
                                                8/1/78), 37SM10285FCA (8/1/78 – 8/1/79),
                                                7SM15868FCA (8/1/79 – 7/1/80), 37XS2046WCA
                                                (8/17/76 – 8/17/77), 37XS2401WCA (8/17/77 –
                                                8/17/78), 37XS2831WCA (8/17/78 – 7/1/79), and
                                                37XS3399WCA (7/1/79 – 9/1/80); and any other
                                                Archdiocese Settling Insurer Entity Policy that
                                                insures or allegedly insures such entities that was
                                                issued or allegedly issued to the Archdiocese




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 Entity Name, Address and Insured Interest              Policy Number(s) and Insured Year(s)
 Metropolitan Tribunal                           Travelers Casualty and Surety Company (formerly
 Not separately incorporated from Archdiocese    known as Aetna Casualty and Surety Company)
                                                 policy numbers 37AL188420 (8/1/73 – 8/1/74),
                                                 37SM802875FCA (8/1/74 – 8/1/77),
                                                 37SM10285FCA (8/1/78 – 8/1/79), and
                                                 37SM15868FCA (8/1/79 – 7/1/80); and any other
                                                 Archdiocese Settling Insurer Entity Policy that
                                                 insures or allegedly insures such entities that was
                                                 issued or allegedly issued to the Archdiocese
 Minneapolis Communication Center Inc.           Travelers Casualty and Surety Company (formerly
 Dissolved in 1997                               known as Aetna Casualty and Surety Company)
                                                 policy numbers 37SM802875FCA (8/1/74 –
                                                 8/1/77), 37SM802875FCA7 (8/1/77 – 8/1/78), and
                                                 37SM10285FCA (8/1/78 – 8/1/79); and any other
                                                 Archdiocese Settling Insurer Entity Policy that
                                                 insures or allegedly insures such entities that was
                                                 issued or allegedly issued to the Archdiocese
 Pearson Education Developmental Education       Travelers Casualty and Surety Company (formerly
 (f/k/a Pearson Education-Drug Education)        known as Aetna Casualty and Surety Company)
 Dissolved in 2005                               policy numbers 37SM10285FCA (8/1/78 – 8/1/79),
                                                 37SM15868FCA (8/1/79 – 7/1/80), 37XS2401WCA
                                                 (8/17/77 – 8/17/78), and 37XS2831WCA (8/17/78 –
                                                 7/1/79); and any other Archdiocese Settling Insurer
                                                 Entity Policy that insures or allegedly insures such
                                                 entities that was issued or allegedly issued to the
                                                 Archdiocese
 Priest Senate and Presbytery                    Travelers Casualty and Surety Company (formerly
 Not separately incorporated from Archdiocese    known as Aetna Casualty and Surety Company)
                                                 policy number 37SM15868FCA (8/1/79 – 7/1/80);
                                                 and any other Archdiocese Settling Insurer Entity
                                                 Policy that insures or allegedly insures such entities
                                                 that was issued or allegedly issued to the
                                                 Archdiocese
 The Society for the Propagation of the Faith,   Travelers Casualty and Surety Company (formerly
 Incorporated (f/k/a Center for Mission)         known as Aetna Casualty and Surety Company)
 777 Forest Street                               policy numbers 37AL188420 (8/1/73 – 8/1/74),
 St. Paul, Minnesota 55106                       37SM802875FCA (8/1/74 – 8/1/77),
                                                 37SM802875FCA7 (8/1/77 – 8/1/78),
                                                 37SM10285FCA (8/1/78 – 8/1/79),
                                                 37SM15868FCA (8/1/79 – 7/1/80), 37XS1768WCA
                                                 (8/17/75 – 8/17/76), 37XS2046WCA (8/17/76 –
                                                 8/17/77), 37XS2401WCA (8/17/77 – 8/17/78),
                                                 37XS2831WCA (8/17/78 – 7/1/79),
                                                 37XS3399WCA (7/1/79 – 9/1/80); and any other
                                                 Archdiocese Settling Insurer Entity Policy that
                                                 insures or allegedly insures such entities that was
                                                 issued or allegedly issued to the Archdiocese

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 Entity Name, Address and Insured Interest                 Policy Number(s) and Insured Year(s)
 Tabernacle Society                                 Travelers Casualty and Surety Company (formerly
 Not separately incorporated from Archdiocese       known as Aetna Casualty and Surety Company)
                                                    policy number 37AL188420 (8/1/73 – 8/1/74); and
                                                    any other Archdiocese Settling Insurer Entity Policy
                                                    that insures or allegedly insures such entities that
                                                    was issued or allegedly issued to the Archdiocese

 Vocation Center                                    Travelers Casualty and Surety Company (formerly
 Not separately incorporated from Archdiocese       known as Aetna Casualty and Surety Company)
                                                    policy numbers 37SM10285FCA (8/1/78 – 8/1/79),
                                                    37SM15868FCA (8/1/79 – 7/1/80), 37XS2401WCA
                                                    (8/17/77 – 8/17/78), 37XS2831WCA (8/17/78 –
                                                    7/1/79), and 37XS3399WCA (7/1/79 – 9/1/80); and
                                                    any other Archdiocese Settling Insurer Entity Policy
                                                    that insures or allegedly insures such entities that
                                                    was issued or allegedly issued to the Archdiocese
 The Chancery Office                                Travelers Casualty and Surety Company (formerly
 Not separately incorporated from Archdiocese       known as Aetna Casualty and Surety Company)
                                                    policy number 37SM10285FCA (8/1/78 – 8/1/79);
                                                    and any other Archdiocese Settling Insurer Entity
                                                    Policy that insures or allegedly insures such entities
                                                    that was issued or allegedly issued to the
                                                    Archdiocese
 Members of the Archdiocese undertaking             Travelers Casualty and Surety Company (formerly
 special responsibilities while acting within the   known as Aetna Casualty and Surety Company)
 scope of their duties                              37SM802875FCA7 (8/1/77 – 8/1/78); and any other
                                                    Archdiocese Settling Insurer Entity Policy that
                                                    insures or allegedly insures such entities that was
                                                    issued or allegedly issued to the Archdiocese
 St. Paul Public School District (“but only in      St. Paul Surplus Lines Insurance Company policy
 respect of liability arising out of the            number SUO 5500535 (9/1/86-9/1/87); and any
 operations of one school bus operated by the       other Archdiocese Settling Insurer Entity Policy that
 Corpus Christi School Bus Co.”)                    insures or allegedly insures such entities that was
                                                    issued or allegedly issued to the Archdiocese
 Nazareth Hall College & Seminary, Inc.             Travelers Casualty and Surety Company (formerly
 Dissolved in 1997                                  known as Aetna Casualty and Surety Company)
                                                    policy numbers 37SM10285FCA (8/1/78 – 8/1/79),
                                                    37SM15868FCA (8/1/79 – 7/1/80), 37XS1768WCA
                                                    (8/17/75 – 8/17/76), 37XS2046WCA (8/17/76 –
                                                    8/17/77), 37XS2401WCA (8/17/77 – 8/17/78),
                                                    37XS2831WCA (8/17/78 – 7/1/79), and
                                                    37XS3399WCA (7/1/79 – 9/1/80); and any other
                                                    Archdiocese Settling Insurer Entity Policy that
                                                    insures or allegedly insures such entities that was
                                                    issued or allegedly issued to the Archdiocese




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 Entity Name, Address and Insured Interest                Policy Number(s) and Insured Year(s)
 Regina High School                                Travelers Casualty and Surety Company (formerly
 (Not separately incorporated from                 known as Aetna Casualty and Surety Company)
 Archdiocese) and Dominican Sisters of             policy numbers 37XS1768WCA (8/17/75 –
 Sinsinawa solely in connection with Regina        8/17/76), 37XS2046WCA (8/17/76 – 8/17/77),
 High School.                                      37XS2401WCA (8/17/77 – 8/17/78),
                                                   37XS2831WCA (8/17/78 – 7/1/79), and
                                                   37XS3399WCA (7/1/79 – 9/1/80); and any other
                                                   Archdiocese Settling Insurer Entity Policy that
                                                   insures or allegedly insures such entities that was
                                                   issued or allegedly issued to the Archdiocese
 The Saint Paul Seminary                           Travelers Casualty and Surety Company (formerly
 2260 Summit Avenue                                known as Aetna Casualty and Surety Company)
 St. Paul, Minnesota 55105                         policy number 37SM802875FCA7 (8/1/77 –
                                                   8/1/78); and any other Archdiocese Settling Insurer
                                                   Entity Policy that insures or allegedly insures such
                                                   entities that was issued or allegedly issued to the
                                                   Archdiocese
 Cathedral School and The Cathedral of Saint       Travelers Casualty and Surety Company (formerly
 Paul (individually and successor in interest to   known as Aetna Casualty and Surety Company)
 Cathedral School)                                 policy numbers 37AL188420 (8/1/73 – 8/1/74),
 239 Selby Ave                                     37SM802875FCA (8/1/74 – 8/1/77),
 St. Paul, MN 55102                                37SM802875FCA7 (8/1/77 – 8/1/78),
                                                   37SM10285FCA (8/1/78 – 8/1/79),
                                                   37SM15868FCA (8/1/79 – 7/1/80), 37XS1768WCA
                                                   (8/17/75 – 8/17/76), 37XS2046WCA (8/17/76 –
                                                   8/17/77), 37XS2401WCA (8/17/77 – 8/17/78),
                                                   37XS2831WCA (8/17/78 – 7/1/79), and
                                                   37XS3399WCA (7/1/79 – 9/1/80); and any other
                                                   Archdiocese Settling Insurer Entity Policy that
                                                   insures or allegedly insures such entities that was
                                                   issued or allegedly issued to the Archdiocese




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Catholic Entity                                     Address
The Church of All Saints of Lakeville, Minnesota,   19795 Holyoke Ave
including the parish school                         Lakeville, MN 55044
The Church of the Annunciation of Hazelwood,        4996 Hazelwood Ave
Minnesota                                           Northfield, MN 55057-4255
The Church of the Annunciation of Minneapolis,      509 54th St W
including the parish school, and including The      Minneapolis, MN 55419
Church of the Visitation in Minneapolis.
The Church of the Ascension of Norwood,             323 Reform St N
Minnesota                                           Norwood Young America, MN 55368
The Church of the Ascension of Minneapolis,         1723 Bryant Ave N
Minnesota, including the parish school and the      Minneapolis, MN 55411
former parish of The Church of St. Philip of
Minneapolis, Minnesota
The Church of the Assumption                         51 7th St W
                                                     St. Paul, MN 55102
The Church of the Assumption of Richfield,           305 East 77th St
Minnesota                                            Richfield, MN 55423-4312
Basilica of St. Mary of Minneapolis                  88 17th St. N.
                                                     P.O. Box 50010
                                                     Minneapolis, MN 55405
The Church of the Blessed Sacrament of St. Paul,     2119 Stillwater Ave
including The Church of St. Thomas the Apostle, of St. Paul, MN 55119
St. Paul, Minnesota
The Cathedral of Saint Paul, including the former    239 Selby Ave
parish of The Church of St. Vincent of St. Paul,     St. Paul, MN 55102
Minnesota
The Catholic Cemeteries                              2105 Lexington Ave. South
                                                     Mendota Heights, MN 55120
The Church of Christ the King of Minneapolis         5029 Zenith Ave S
                                                     Minneapolis, MN 55410
The Church of All Saints of Minneapolis              435 4th St NE
                                                     Minneapolis, MN 55413-2037
The Church of Corpus Christi of Saint Paul           2131 Fairview Ave N
                                                     Roseville, MN 55113
The Catholic Church of Divine Mercy of Faribault, 139 Mercy Drive
including the parish school, and the former parishes Faribault, MN 55021
of The Church of the Immaculate Conception of
Faribault Minnesota, The Church of the Sacred
Heart of Faribault, Minnesota, and The Church of
St. Lawrence of Faribault, MN.

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Catholic Entity                                      Address
The Church of The Epiphany of Coon Rapids,           1900 111th Ave NW
Minnesota, including the parish school               Coon Rapids, MN 55433-3728
The Church of Gichitwaa Kateri                       3045 Park Ave
                                                     Minneapolis, MN 55407-1517
The Church of the Good Shepherd, of Minneapolis,     145 Jersey Ave S
Minnesota, including the parish school               Golden Valley, MN 55426-1527
The Church of the Guardian Angels of Oakdale,        8260 Hudson Blvd
Minnesota                                            Lake Elmo, MN 55042
Church of the Guardian Angels of Chaska, Minn        218 Second St W
including the parish school                          Chaska, MN 55318-1813
Highland Catholic School                             2017 Bohland Ave
                                                     St. Paul, MN 55116-1911
The Church of the Holy Childhood, St. Paul,          1435 Midway Pkwy
Minnesota                                            St. Paul, MN 55108-2419
The Church of the Holy Cross of Minneapolis,         1621 University Ave NE
Minnesota, including the Church of Saint Anthony     Minneapolis, MN 55413-1231
of Padua, Church of Saint Hedwig of Minneapolis,
and the former parish of The Church of Saint
Clement.
Holy Cross Catholic School                           6100 37th St. W.
                                                     Webster, MN 55088
The Church of the Holy Family of St. Louis Park,     5900 Lake St W
including the parish school                          Saint Louis Park, MN 55416-2033
The Church of the Holy Name of Minneapolis           3637 11th Ave S
                                                     Minneapolis, MN 55407-2625
The Church of the Holy Name of Jesus of Medina,      155 County Rd 24
Minnesota, including the parish school               Wayzata, MN 55391-9614
Dominican Fathers Holy Rosary Church & School        2424 – 18th Ave S
                                                     Minneapolis, MN 55404
The Church of the Holy Spirit of St. Paul,           515 Albert St S
Minnesota, including the parish school               St. Paul, MN 55116-1611
The Church of the Holy Trinity, including the        308 4th St N
former parishes of The Church of St. Columbkille     Goodhue, MN 55027
of Belle Creek, Minnesota and The Church of St.
Mary of Belvidere, Minnesota
The Church of the Holy Trinity of Waterville,        506 Common St
Minnesota                                            Waterville, MN 56096-1513
The Church of the Holy Trinity of South St. Paul,    749 6th Ave S
including the parish school and The Church of St.    South St. Paul, MN 55075-3034
Augustine of South St. Paul, Minnesota.

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Catholic Entity                                       Address
The Church of the Immaculate Conception               116 Alabama St SE
                                                      Lonsdale, MN 55046-0169
The Church of the Immaculate Conception of            109 Angel Ave NW
Watertown, Minnesota                                  Watertown, MN 55388-0548
The Church of the Immaculate Conception of            4030 Jackson St NE
Columbia Heights, including the parish school         Columbia Heights, MN 55421-2929
The Church of the Immaculate Conception of            27528 Patrick St
Marysburg, Minnesota                                  Madison Lake, MN 56063-4117
The Church of the Immaculate Heart of Mary of         13505 Excelsior Blvd
Glen Lake, Minnesota                                  Minnetonka, MN 55345-4913
The Church of the Incarnation of Minneapolis,         3817 Pleasant Ave
including Sargado Corazon de Jesus                    Minneapolis, MN 55409-1228
The Church of Lumen Christi, including The            2055 Bohland Ave
Church of Saint Therese of St. Paul, The Church of    St. Paul, MN 55116
Saint Gregory the Great of Saint Paul, Minnesota,
and the Church of Saint Leo of St. Paul, Minnesota.
The Church of Mary, Mother of the Church of           3333 East Cliff Rd
Burnsville, Minnesota                                 Burnsville, MN 55337-3306
The Catholic Church of Mary Queen of Peace,           21304 Church Ave
including the parish school and the former parishes   Rogers (Hassan Township),
of the Church of Saint Martin of Rogers and The       MN 55374-9189
Church of St. Walberg, of Hasson
The Church of the Maternity of the Blessed Virgin,    1414 Dale St N
Saint Paul, Minnesota, including parish school and    St. Paul, MN 55117-4153
former parish of The Church of St. Andrews of St.
Paul Minnesota
The Church of the Most Holy Redeemer of               206 Vine Ave W
Montgomery, Minnesota, including the parish           Montgomery, MN 56069-1063
school and The Church of St. Canice of Kilkenny,
Minnesota
The Church of the Most Holy Trinity of Wesely,        4939 Washington St
Minnesota                                             Veseli, MN 55046-4007
The Church of The Nativity, of Cleveland,             200 West Main St
Minnesota, including the parish school                Cleveland, MN 56017-0187
The Church of the Nativity of Our Lord, including     1900 Wellesley Ave
the parish school                                     St. Paul, MN 55105-1617
The Church of the Nativity of the Blessed Virgin,     9900 Lyndale Ave S
Oxboro, Minnesota, including parish school            Bloomington, MN 55420-4733




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Catholic Entity                                       Address
The Church of Our Lady of Grace, in Edina,            5071 Eden Ave
Minnesota, including the parish school and The        Edina, MN 55436
Church of the Most Holy Trinity of St. Louis Park,
Minnesota
The Church of Our Lady of Guadalupe of Saint          401 Concord St
Paul, Minnesota                                       St. Paul, MN 55107-2475
The Church of Our Lady of Lourdes of St.              1 Lourdes Place
Anthony, Minnesota                                    Minneapolis, MN 55414-1018
The Church of Our Lady of Mount Carmel of             701 Fillmore St NE
Minneapolis                                           Minneapolis, MN 55413-2525
The Church of Our Lady of Peace, including the        5426 12th Ave S
parish school, The Church of St. Kevin and The        Minneapolis, MN 55417-2505
Catholic Church of the Resurrection of Minneapolis
The Church of Our Lady of the Lake of Mound,          2385 Commerce Blvd
Minn., including the parish school                    Mound, MN 55364-1427
The Church of Our Lady of the Prairie, Belle          212 N Chestnut St
Plaine, including the parish school, the former       Belle Plaine, MN 56011
parish of The Church of Sacred Heart of Belle
Plaine, Minnesota and the former parish of The
Church of Saints Peter and Paul of Belle Plaine,
Minn.
The Church of Our Lady of Victory of Minneapolis      5155 Emerson Ave N
                                                      Minneapolis, MN 55430-3414
The Church of Pax Christi of Eden Prairie             12100 Pioneer Trail
                                                      Eden Prairie, MN 55347-4208
St. John Paul II Catholic Preparatory School          1630 4th St. NE
                                                      Minneapolis, MN 55413
The Church of the Presentation of the Blessed         1725 Kennard St
Virgin Mary of Saint Paul, including the parish       Maplewood, MN 55109-4603
school
The Church of the Risen Savior, of Apple Valley       1501 County Rd 42 E
                                                      Burnsville, MN 55306-4723
The Church of the Sacred Heart in St. Paul            840 6th St E
                                                      St. Paul, MN 55106-4543
The Church of the Sacred Heart of Rush City           425 Field Ave PO Box 45
Minnesota                                             Rush City, MN 55069
The Church of the Sacred Heart, including the         4087 West Broadway Ave
parish school                                         Robbinsdale, MN 55422-2232
The Society for the Propagation of the Faith,         328 Kellogg Blvd
Incorporated (a/k/a Center for Mission)               West St. Paul, MN 55102

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Catholic Entity                                        Address
The Church of St. Cyril of Minneapolis, Minnesota      1315 2nd St NE
(also known as the Church of Ss. Cyril and             Minneapolis, MN 55413-1131
Methodius)
Parish of Saints Joachim and Anne of Shakopee,         2700 17th Ave E
Minnesota, including parish school, formerly           Shakopee, MN 55379-4443
known as St. Mary of Shakopee, Saint Mark’s
Church of Shakopee, Scott County and The Church
of Saint Mary of the Purification of Marystown,
Minn.
The Church of. SS. Peter and Paul of Medina,           145 Railway St E, P.O. Box 96
Minnesota                                              Loretto, MN 55357-0096
The Church of St. Adalbert, of St. Paul, Minnesota     265 Charles Ave
                                                       St. Paul, MN 55103-2005
The Church of St. Agatha of Vermillion, Minnesota      3700 160th St E
                                                       Rosemount, MN 55068-2007
The Church of St. Agnes of St. Paul, Minnesota,        535 Thomas Ave
including the parish school                            St. Paul, MN 55103
The Church of Saint Albert                             11400 57th St NE, P.O. Box 127
                                                       Albertville, MN 55301-0127
The Church of Saint Albert the Great, of               2836 33rd Ave S
Minneapolis, Minn., including former parish of The     Minneapolis, MN 55406-1626
Church of Our Lady of Perpetual Help of
Minneapolis, Minnesota and the former parish of
the Church of Saint Austin of Minneapolis,
Minnesota
The Church of St. Alphonsus, of Brooklyn Center,       7025 Halifax Ave N
Minnesota, including the parish school                 Brooklyn Center, MN 55429-1375
The Church of Saint Ambrose of Woodbury,               4125 Woodbury Dr.
including the parish school (formerly located in St.   Woodbury, MN 55129-9627
Paul, Minnesota)
The Church of St. Andrew of Elysian, Minnesota         305 Park Ave NE
                                                       Elysian, MN 56028-0261
The Church of St. Andrew Kim                           1850 Mississippi River Blvd
                                                       St. Paul, MN 55116-2644
The Church of Saint Anne – Saint Joseph Hien           2627 Queen Ave N
                                                       Minneapolis, MN 55411-1792
The Church of St. Anne of Hamel, Minnesota             200 Hamel Rd, P.O. Box 256
                                                       Hamel, MN 55340-0256
The Church of St Anne of LeSueur, Minnesota,           217 N 3rd St
including the parish school and the former parish of   Le Sueur, MN 56058-1808
Church of St. Thomas of Derrynane
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Catholic Entity                                    Address
The Church of Saint Bartholomew of Wayzata,        630 Wayzata Blvd E
including the parish school                        Wayzata, MN 55391-1704
The Church of Saint Bernard of St Paul Minnesota   1160 Woodbridge St.
                                                   St. Paul, MN 55117-4491
The Church of St. Bernard, of Benton, Minnesota,   212 Church St E
including the parish school                        Cologne, MN 55322-9552
The Church of St. Bonaventure, of Bloomington,     901 90th St E
Minnesota                                          Bloomington, MN 55420-3801
The Church of St. Boniface                         629 2nd St NE
                                                   Minneapolis, MN 55413-1905
The Church of St. Boniface of St. Bonifacius,      4025 Main St
Minn.                                              Saint Bonifacius, MN 55375-0068
The Church of Saint Bridget of Minneapolis,        3811 Emerson Ave N
including the Church of Saint Austin of            Minneapolis, MN 55412-2038
Minneapolis, Minnesota
The Church of St. Bridget of Sweden, of Lindstrom, 13060 Lake Blvd, P.O. Box 754
Minnesota                                          Lindstrom, MN 55045-0754
The Church of St. Casimir of St. Paul, Minnesota   934 Geranium Ave E
                                                   St. Paul, MN 55106-2610
The Church of St. Catherine of Spring Lake,        24425 Old Highway 13 Blvd
Minnesota                                          Jordan, MN 55352
The Church of St. Cecilia of St. Paul              2357 Bayless Place
                                                   St. Paul, MN 55114-1105
The Church of St. Charles Borromeo of              2739 Stinson Blvd NE
Minneapolis, Minnesota, including the parish       Saint Anthony, MN 55418-3124
school
The Church of Saint Charles, Bayport, Minnesota    409 3rd St N
                                                   Bayport, MN 55003-1044
The Church of Saint Columba of St. Paul, Minn.     1327 LaFond Ave
                                                   St. Paul, MN 55104-2035
The Church of St Dominic of Northfield Minnesota, 216 Spring St N
including the parish school                        Northfield, MN 55057-1431
The Church of St. Edward, of Bloomington,          9401 Nesbitt Ave S
Minnesota                                          Bloomington, MN 55437-1943
The Church of St. Elizabeth Ann Seton, Hastings,   2035 15th St W
Minnesota, including the parish school and the     Hastings, MN 55033-9294
former parishes of The Church of Guardian
Angels, Hastings, Minnesota and The Church of St.
Boniface of Hasting, Minnesota


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Catholic Entity                                      Address
The Church of Saint Frances Cabrini of               1500 Franklin Ave SE
Minneapolis, Minnesota                               Minneapolis, MN 55414-3649
The Church of St. Francis de Sales of St. Paul,      650 Palace Ave
Minnesota including Child Care Center &              St. Paul, MN 55102-3540
Preschool, and The Church of St. James of St. Paul
The Church of St. Francis of Assisi                  16770 13th St S
                                                     Lake St Croix Beach, MN 55043-9756
The Church of Saint Francis Xavier of Franconia,     25267 Redwing Ave
Minnesota                                            Shafer, MN 55074
The Church of St. Francis of Buffalo, Minnesota,     300 First Ave NW
including the parish school                          Buffalo, MN 55313-5042
The Parish of Saint Gabriel the Archangel of         6 Interlochen Rd
Hopkins, Minnesota, including St. Joseph of          Hopkins, MN 55343-8548
Hopkins and Saint John the Evangelist of
Interlachen Park
The Church of St. Genevieve of Centerville,          7087 Goiffon Rd
Minnesota including The Church of St. John the       Centerville, MN 55038-9125
Baptist of Hugo
The Church of Saint George of Long Lake            133 Brown Rd N
                                                   Long Lake, MN 55356-9560
The Church of St. Gerard                           9600 Regent Ave N
                                                   Brooklyn Park, MN 55443-1401
The Church of Saint Gregory                        38725 Forest Blvd
                                                   North Branch, MN 55056-0609
The Church of Saint Hedwig of Minneapolis          129 29th Ave. NE
                                                   Minneapolis, MN 55418
The Church of St. Helena of Minneapolis, including 3204 43rd St E
parish school                                      Minneapolis, MN 55406-3858
The Church of St. Henry of Monticello, Minn        1001 7th St E
                                                   Monticello, MN 55362-8805
The Church of Saint Henry of Sharon, Minnesota     165 N. Waterville Ave.
                                                   Le Center, MN 56057
The Church of Saint Hubert of Chanhassen Minn,     8201 Main St
including parish school                            Chanhassen, MN 55317-9647
The Church of St. Ignatius of French Lake,         35 Birch St E
Minnesota                                          Annandale, MN 55302-0126
The Church of St. Jerome, Maplewood, Minnesota     380 Roselawn Ave E
including parish school                            Maplewood, MN 55117-2033
The Church of Saint Joan of Arc in Minneapolis     4537 3rd Ave S
                                                   Minneapolis, MN 55419-5111

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Catholic Entity                                      Address
The Church of St. John Neumann                       4030 Pilot Knob Rd
                                                     Eagan, MN 55122-1814
The Church of St. John the Baptist of Dayton         18380 Columbus St, P.O. Box 201
Minnesota                                            Dayton, MN 55327-0201
The Church of St. John the Baptist of Byrnesville,   4625 West 125th St
Minnesota, including parish school                   Savage, MN 55378-1357
The Church of St. John Baptist, including parish     835 2nd Ave NW
school                                               New Brighton, MN 55112-6842
The Church of Saint John the Baptist of Jordan       313 East 2nd St
Minn., including parish school                       Jordan, MN 55352-1447
Church of St. John the Baptist of Excelsior,         680 Mill St
Minnesota, including parish school                   Excelsior, MN 55331-3272
The Church of St. John of Vermillion Minnesota,      106 Main St W
including parish school                              Vermillion, MN 55085-0008
St. John’s Church of Little Canada, Minnesota,       380 Little Canada Rd E
including parish school                              Little Canada, MN 55117-1627
The Church of Saint John Vianney in South Saint      789 17th Ave North
Paul, Minnesota                                      South St. Paul, MN 55075
The Church of St. Joseph                             8701 36th Ave N
                                                     New Hope, MN 55427-1769
The Church of Saint Joseph of West Saint Paul,       1154 Seminole Ave
Minnesota                                            West St. Paul, MN 55118-2020
The Church of St. Joseph, of Red Wing Minnesota      426 8th St W
                                                     Red Wing, MN 55066-3410
The Church of Saint Joseph of Taylors Falls          490 Bench St
                                                     Taylors Falls, MN 55084-0234
The Church of Saint Joseph of Waconia, Minn.,        41 1st St E
including parish school                              Waconia, MN 55387-1526
The Church of St. Joseph, of Rosemount               13900 Biscayne Ave W
Minnesota, including parish school                   Rosemount, MN 55068-3451
The Church of St. Joseph, of Miesville, Minnesota,   23955 Nicolai Ave E
in the Township of Douglas, including parish         Hastings, MN 55033-9650
school
Church of St. Joseph of Rice Lake, Minnesota         171 Elm St
                                                     Lino Lakes, MN 55014-1271
The Church of St. Joseph the Worker, Maple           7180 Hemlock Lane N
Grove, Minnesota                                     Maple Grove, MN 55369-5569
The Church of St. Jude of the Lake in the Town of    700 Mahtomedi Ave
Lincoln, including parish school                     Mahtomedi, MN 55115-1673


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Catholic Entity                                        Address
The Church of Saint Katharine Drexel, Ramsey,          7101 143rd Ave NW
Minnesota                                              Ramsey, MN 55303-6001
The Church of St. Lawrence of Minneapolis,             1203 5th St SE
Minnesota                                              Minneapolis, MN 55414-2030
The Newman Center and Chapel                           1203 5th St SE
                                                       Minneapolis, MN 55414-2030
The Church of St. Leonard of Port Maurice, of          3949 Clinton Ave S
Minneapolis, Minnesota                                 Minneapolis, MN 55409-1635
The Church of St. Louis, of St. Paul Minnesota         506 Cedar St
                                                       St. Paul, MN 55101-2245
The Church of St. Luke of Clearwater, Minnesota        17545 Huber Ave NW
                                                       Clearwater, MN 55320-0249
The Church of Saint Margaret Mary, of                  2323 Zenith Ave N
Minneapolis, Minnesota                                 Golden Valley, MN 55422-3853
The Church of St. Mark of St. Paul, Minnesota,         2001 Dayton Ave
including parish school                                St. Paul, MN 55104-5804
The Church of St. Mary, of St. Paul Minnesota          261 8th St E
                                                       St. Paul, MN 55101-2307
The Church of St. Mary of Le Center, Minnesota         165 Waterville Ave N
                                                       Le Center, MN 56057-1524
The Church of St. Mary, of New Trier, Minnesota        8433 239th St E
                                                       Hampton, MN 55031-9766
The Church of St. Mary of Stillwater                   423 5th St S
                                                       Stillwater, MN 55082-4982
The Church of St Mary of Waverly Minnesota             606 Elm Ave
                                                       Waverly, MN 55390-0278
The Church of St. Mary, Minnesota (also known as       1867 95th St SE
the Church of St. Mary of Czestochowa)                 Delano, MN 55328-8208
The Church of St. Mary of the Lake, of Medicine        105 Forestview Ln N
Lake, Minnesota                                        Plymouth, MN 55441-5910
The Church of St. Mary of the Lake, of White Bear,     4690 Bald Eagle Ave
Minnesota                                              White Bear Lake, MN 55110-3441
The Church of St. Matthew of St. Paul, Minnesota       490 Hall Ave
                                                       St. Paul, MN 55107-2845
The Church of St. Mathias of Hampton, Minnesota        23315 Northfield Blvd
                                                       Hampton, MN 55031-9667
The Church of Saint Maximilian Kolbe, including        204 South River St.
parish school, formerly known as The Church of St.     PO Box 470
Peter, of Delano, Minnesota and The Church of St.      Delano, MN 55328
Joseph of Delano
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Catholic Entity                                  Address
The Church of St. Michael of Farmington,           22120 Denmark Ave
Minnesota                                          Farmington, MN 55024
The Church of Saint Michael of Kenyon, Minnesota 108 Bullis St
                                                   Kenyon, MN 55946-1156
The Church of St. Michael, of Pine Island          451 5th St SW
Minnesota                                          Pine Island, MN 55963-6761
The Church of St. Michael of St. Paul Minnesota    337 Hurley St E
                                                   West St. Paul, MN 55118-1605
The Church of St. Michael, of Stillwater Minnesota 611 3rd St S
                                                   Stillwater, MN 55082-4908
The Church of St. Michael, of Frankfort,           11300 Frankfurt Pkwy NE
Minnesota, including parish school                 Saint Michael, MN 55376-4550
The Church of St. Michael of Prior Lake, including 16311 Duluth Ave SE
parish school                                      Prior Lake, MN 55372-2423
The Church of Saint Nicholas of Carver Minn.       412 4th St W
                                                   Carver, MN 55315-0133
St. Nickolaus Church of New Market Scott County 51 Church St
Minnesota                                          New Market, MN 55054-0009
The Church of St. Odilia, of Shoreview, Minnesota, 3495 Victoria St N
including parish school                            Shoreview, MN 55126-3813
St. Olaf’s Catholic Church of Minneapolis,         215 South 8th St
Minnesota                                          Minneapolis, MN 55402-2803
The Church of Saint Pascal Baylon, St. Paul,       1757 Conway St
Minnesota, including parish school, and the former St. Paul, MN 55106-5929
parish of The Church of St. John of St. Paul,
Minnesota
The Church of St. Patrick of Inver Grove,          3535 72nd St E
Minnesota                                          Inver Grove Heights, MN 55076-2627
The Church of St. Patrick of Edina, Minnesota      6820 St. Patrick’s Lane
                                                   Edina, MN 55439-1631
The Church of, St. Patrick, of Shieldsville        7525 Dodd Rd
Minnesota                                          Faribault, MN 55021-7431
The Church of St. Patrick of Cedar Lake,           24425 Old Highway 13 Blvd
Minnesota                                          Jordan, MN 55352-9604
The Church of St. Patrick of Cedar Creek,          19921 Nightingale St NW
Minnesota                                          Oak Grove, MN 55011-9243
The Church of St. Patrick of St. Paul Minnesota    1095 DeSoto St
                                                   St. Paul, MN 55130-3704
The Church of Saint Paul of Zumbrota, Minnesota    749 Main St S
                                                   Zumbrota, MN 55992-1608
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Catholic Entity                                        Address
The Church of Saint Paul                               1740 Bunker Lake Blvd NE
                                                       Ham Lake, MN 55304-7040
The Church of Saint Peter of Richfield, Minnesota,     6730 Nicollet Ave
including parish school of Blessed Trinity             Richfield, MN 55423-2464
The Church of St. Peter, of Mendota, Minnesota         1405 Hwy 13
                                                       Mendota, MN 55150-0679
The Church of Saint Peter, including parish school     1250 Shore Dr. S
                                                       Forest Lake, MN 55025-1933
The Church of St. Peter of North St. Paul, including   2600 Margaret St N
parish school and the former parish The Church of      North St. Paul, MN 55109-2361
the Holy Redeemer
The Church of St. Peter Claver Minnesota,              375 Oxford St N
including parish school                                St. Paul, MN 55104-4734
The Church of St. Pius of Cannon Falls, Minnesota      410 Colvill St W
                                                       Cannon Falls, MN 55009-2441
The Church of St. Pius X of White Bear, Minnesota      3878 Highland Ave
                                                       White Bear Lake, MN 55110-4240
The Church of Saint Raphael in Crystal, Minnesota,     7301 Bass Lake Rd
including parish school                                Crystal, MN 55428-3826
The Church of Saint Richard, of Richfield,             7540 Penn Ave S
Minnesota                                              Richfield, MN 55423-3629
The Church of St. Rita of Cottage Grove,               8694 80th St S
Minnesota                                              Cottage Grove, MN 55016-2012
The Church of Saint Rose of Lima of Rosetown,          2048 Hamline Ave N
Minnesota, including parish school                     Roseville, MN 55113-5855
The Church of St. Stanislaus of Saint Paul,            398 Superior St
Minnesota                                              St. Paul, MN 55102-2925
The Church of St. Stephen of Minneapolis,              2211 Clinton Ave
Minnesota                                              Minneapolis, MN 55404-3656
The Church of St. Stephen, of Anoka, Minnesota,        525 Jackson St
including parish school                                Anoka, MN 55303-2353
The Church of Saint Therese of Deephaven,              18323 Minnetonka Blvd
including parish school                                Deephaven, MN 55391-3231
St. Thomas Academy                                     949 Mendota Heights Rd.
                                                       Mendota Heights, MN 55118
The Church of St. Thomas Aquinas in St. Paul           920 Holly Ave
Park, Minnesota                                        St. Paul Park, MN 55071-1418
The Church of St. Thomas Becket                        4455 S Robert Trail
                                                       Eagan, MN 55123-2038


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Catholic Entity                                         Address
The Church of Saint Thomas More, including              1079 Summit Ave
parish school, The Church of the Immaculate Heart       St. Paul, MN 55105-3004
of Mary, St. Paul, Minnesota and former parish of
Church of St. Luke, St. Paul Minnesota
The Church of St. Thomas of Minneapolis                 2914 W 44th St
                                                        Minneapolis, MN 55410-1551
The Church of St. Thomas, of Corcoran, Minnesota        20000 County Rd 10
                                                        Corcoran, MN 55340-9501
The Church of Saint Timothy of Blaine                   707 89th Ave NE
                                                        Blaine, MN 55434-2304
The Church of St. Timothy of Maple Lake,                8 Oak Ave N
Minnesota, including parish school                      Maple Lake, MN 55358-2457
The Church of Saint Victoria of Victoria, Minn.         8228 Victoria Dr.
                                                        Victoria, MN 55386-9692
The Church of St. Vincent de Paul, of Osseo,            9100 93rd Ave N
Minnesota, including parish school                      Brooklyn Park, MN 55445-1407
The Church of St. Wenceslaus, of New Prague,            215 Main St E
Minnesota, including parish school, Saint               New Prague, MN 56071-1832
Scholastica Church of Heidelberg, Minnesota, The
Church of Saint John the Evangelist of Union Hill,
Minn., The Church of St. Joseph, and Church of
Saint Benedict, of St. Benedict.
The Church of Saint William of Fridley, Minnesota       6120 5th St NE
                                                        Fridley, MN 55432-5033
Transfiguration Church of Oakdale, Minnesota,           6133 15th St N
including parish school                                 Oakdale, MN 55128-4201




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Parish                                              Address
The Church of All Saints of Lakeville, Minnesota,   19795 Holyoke Ave
including the parish school                         Lakeville, MN 55044
The Church of the Annunciation of Hazelwood,        4996 Hazelwood Ave
Minnesota                                           Northfield, MN 55057-4255
The Church of the Annunciation of Minneapolis,      509 54th St W
including the parish school, and including The      Minneapolis, MN 55419
Church of the Visitation in Minneapolis.
The Church of the Ascension of Norwood,             323 Reform St N
Minnesota                                           Norwood Young America, MN 55368
The Church of the Ascension of Minneapolis,         1723 Bryant Ave N
Minnesota, including the parish school and the      Minneapolis, MN 55411
former parish of The Church of St. Philip of
Minneapolis, Minnesota
The Church of the Assumption                         51 7th St W
                                                     St. Paul, MN 55102
The Church of the Assumption of Richfield,           305 East 77th St
Minnesota                                            Richfield, MN 55423-4312
Basilica of St. Mary of Minneapolis                  88 17th St. N.
                                                     P.O. Box 50010
                                                     Minneapolis, MN 55405
The Church of the Blessed Sacrament of St. Paul,     2119 Stillwater Ave
including The Church of St. Thomas the Apostle, of St. Paul, MN 55119
St. Paul, Minnesota
The Cathedral of Saint Paul, including the former    239 Selby Ave
parish of The Church of St. Vincent of St. Paul,     St. Paul, MN 55102
Minnesota
The Church of Christ the King of Minneapolis         5029 Zenith Ave S
                                                     Minneapolis, MN 55410
The Church of All Saints of Minneapolis              435 4th St NE
                                                     Minneapolis, MN 55413-2037
The Church of Corpus Christi of Saint Paul           2131 Fairview Ave N
                                                     Roseville, MN 55113
The Catholic Church of Divine Mercy of Faribault, 139 Mercy Drive
including the parish school, and the former parishes Faribault, MN 55021
of The Church of the Immaculate Conception of
Faribault Minnesota, The Church of the Sacred
Heart of Faribault, Minnesota, and The Church of
St. Lawrence of Faribault, MN.
The Church of The Epiphany of Coon Rapids,           1900 111th Ave NW
Minnesota, including the parish school               Coon Rapids, MN 55433-3728


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Parish                                                Address
The Church of Gichitwaa Kateri                        3045 Park Ave
                                                      Minneapolis, MN 55407-1517
The Church of the Good Shepherd, of Minneapolis,      145 Jersey Ave S
Minnesota, including the parish school                Golden Valley, MN 55426-1527
The Church of the Guardian Angels of Oakdale,         8260 Hudson Blvd
Minnesota                                             Lake Elmo, MN 55042
Church of the Guardian Angels of Chaska, Minn         218 Second St W
including the parish school                           Chaska, MN 55318-1813
The Church of the Holy Childhood, St. Paul,           1435 Midway Pkwy
Minnesota                                             St. Paul, MN 55108-2419
The Church of the Holy Cross of Minneapolis,          1621 University Ave NE
Minnesota, including the Church of Saint Anthony      Minneapolis, MN 55413-1231
of Padua, Church of Saint Hedwig of Minneapolis,
and the former parish of The Church of Saint
Clement.
The Church of the Holy Family of St. Louis Park,      5900 Lake St W
including the parish school                           Saint Louis Park, MN 55416-2033
The Church of the Holy Name of Minneapolis            3637 11th Ave S
                                                      Minneapolis, MN 55407-2625
The Church of the Holy Name of Jesus of Medina,       155 County Rd 24
Minnesota, including the parish school                Wayzata, MN 55391-9614
Dominican Fathers Holy Rosary Church                  2424 – 18th Ave S
                                                      Minneapolis, MN 55404
The Church of the Holy Spirit of St. Paul,            515 Albert St S
Minnesota, including the parish school                St. Paul, MN 55116-1611
The Church of the Holy Trinity, including the         308 4th St N
former parishes of The Church of St. Columbkille      Goodhue, MN 55027
of Belle Creek, Minnesota and The Church of St.
Mary of Belvidere, Minnesota
The Church of the Holy Trinity of Waterville,         506 Common St
Minnesota                                             Waterville, MN 56096-1513
The Church of the Holy Trinity of South St. Paul,     749 6th Ave S
including the parish school and The Church of St.     South St. Paul, MN 55075-3034
Augustine of South St. Paul, Minnesota.
The Church of the Immaculate Conception               116 Alabama St SE
                                                      Lonsdale, MN 55046-0169
The Church of the Immaculate Conception of            109 Angel Ave NW
Watertown, Minnesota                                  Watertown, MN 55388-0548
The Church of the Immaculate Conception of            4030 Jackson St NE
Columbia Heights, including the parish school         Columbia Heights, MN 55421-2929

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Parish                                                Address
The Church of the Immaculate Conception of            27528 Patrick St
Marysburg, Minnesota                                  Madison Lake, MN 56063-4117
The Church of the Immaculate Heart of Mary of         13505 Excelsior Blvd
Glen Lake, Minnesota                                  Minnetonka, MN 55345-4913
The Church of the Incarnation of Minneapolis,         3817 Pleasant Ave
including Sargado Corazon de Jesus                    Minneapolis, MN 55409-1228
The Church of Lumen Christi, including The            2055 Bohland Ave
Church of Saint Therese of St. Paul, The Church of    St. Paul, MN 55116
Saint Gregory the Great of Saint Paul, Minnesota,
and the Church of Saint Leo of St. Paul, Minnesota.
The Church of Mary, Mother of the Church of           3333 East Cliff Rd
Burnsville, Minnesota                                 Burnsville, MN 55337-3306
The Catholic Church of Mary Queen of Peace,           21304 Church Ave
including the parish school and the former parishes   Rogers (Hassan Township),
of the Church of Saint Martin of Rogers and The       MN 55374-9189
Church of St. Walberg, of Hasson
The Church of the Maternity of the Blessed Virgin,    1414 Dale St N
Saint Paul, Minnesota, including parish school and    St. Paul, MN 55117-4153
former parish of The Church of St. Andrews of St.
Paul Minnesota
The Church of the Most Holy Redeemer of               206 Vine Ave W
Montgomery, Minnesota, including the parish           Montgomery, MN 56069-1063
school and The Church of St. Canice of Kilkenny,
Minnesota
The Church of the Most Holy Trinity of Wesely,        4939 Washington St
Minnesota                                             Veseli, MN 55046-4007
The Church of The Nativity, of Cleveland,             200 West Main St
Minnesota, including the parish school                Cleveland, MN 56017-0187
The Church of the Nativity of Our Lord, including     1900 Wellesley Ave
the parish school                                     St. Paul, MN 55105-1617
The Church of the Nativity of the Blessed Virgin,     9900 Lyndale Ave S
Oxboro, Minnesota, including parish school            Bloomington, MN 55420-4733
The Church of Our Lady of Grace, in Edina,            5071 Eden Ave
Minnesota, including the parish school and The        Edina, MN 55436
Church of the Most Holy Trinity of St. Louis Park,
Minnesota
The Church of Our Lady of Guadalupe of Saint          401 Concord St
Paul, Minnesota                                       St. Paul, MN 55107-2475
The Church of Our Lady of Lourdes of St.              1 Lourdes Place
Anthony, Minnesota                                    Minneapolis, MN 55414-1018

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Parish                                               Address
The Church of Our Lady of Mount Carmel of            701 Fillmore St NE
Minneapolis                                          Minneapolis, MN 55413-2525
The Church of Our Lady of Peace, including the       5426 12th Ave S
parish school, The Church of St. Kevin and The       Minneapolis, MN 55417-2505
Catholic Church of the Resurrection of Minneapolis
The Church of Our Lady of the Lake of Mound,         2385 Commerce Blvd
Minn., including the parish school                   Mound, MN 55364-1427
The Church of Our Lady of the Prairie, Belle         212 N Chestnut St
Plaine, including the parish school, the former      Belle Plaine, MN 56011
parish of The Church of Sacred Heart of Belle
Plaine, Minnesota and the former parish of The
Church of Saints Peter and Paul of Belle Plaine,
Minn.
The Church of Our Lady of Victory of Minneapolis     5155 Emerson Ave N
                                                     Minneapolis, MN 55430-3414
The Church of Pax Christi of Eden Prairie            12100 Pioneer Trail
                                                     Eden Prairie, MN 55347-4208
The Church of the Presentation of the Blessed        1725 Kennard St
Virgin Mary of Saint Paul, including the parish      Maplewood, MN 55109-4603
school
The Church of the Risen Savior, of Apple Valley      1501 County Rd 42 E
                                                     Burnsville, MN 55306-4723
The Church of the Sacred Heart in St. Paul           840 6th St E
                                                     St. Paul, MN 55106-4543
The Church of the Sacred Heart of Rush City          425 Field Ave PO Box 45
Minnesota                                            Rush City, MN 55069
The Church of the Sacred Heart, including the        4087 West Broadway Ave
parish school                                        Robbinsdale, MN 55422-2232
The Church of St. Cyril of Minneapolis, Minnesota    1315 2nd St NE
(also known as the Church of Ss. Cyril and           Minneapolis, MN 55413-1131
Methodius)
Parish of Saints Joachim and Anne of Shakopee,       2700 17th Ave E
Minnesota, formerly known as St. Mary of             Shakopee, MN 55379-4443
Shakopee, Saint Mark’s Church of Shakopee, Scott
County and The Church of Saint Mary of the
Purification of Marystown, Minn.
The Church of. SS. Peter and Paul of Medina,         145 Railway St E, P.O. Box 96
Minnesota                                            Loretto, MN 55357-0096
The Church of St. Adalbert, of St. Paul, Minnesota   265 Charles Ave
                                                     St. Paul, MN 55103-2005

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Parish                                                 Address
The Church of St. Agatha of Vermillion, Minnesota      3700 160th St E
                                                       Rosemount, MN 55068-2007
The Church of St. Agnes of St. Paul, Minnesota,        535 Thomas Ave
including the parish school                            St. Paul, MN 55103
The Church of Saint Albert                             11400 57th St NE, P.O. Box 127
                                                       Albertville, MN 55301-0127
The Church of Saint Albert the Great, of               2836 33rd Ave S
Minneapolis, Minn., including former parish of The     Minneapolis, MN 55406-1626
Church of Our Lady of Perpetual Help of
Minneapolis, Minnesota and the former parish of
the Church of Saint Austin of Minneapolis,
Minnesota
The Church of St. Alphonsus, of Brooklyn Center,       7025 Halifax Ave N
Minnesota, including the parish school                 Brooklyn Center, MN 55429-1375
The Church of Saint Ambrose of Woodbury,               4125 Woodbury Dr.
including the parish school (formerly located in St.   Woodbury, MN 55129-9627
Paul, Minnesota)
The Church of St. Andrew of Elysian, Minnesota         305 Park Ave NE
                                                       Elysian, MN 56028-0261
The Church of St. Andrew Kim                           1850 Mississippi River Blvd
                                                       St. Paul, MN 55116-2644
The Church of Saint Anne – Saint Joseph Hien           2627 Queen Ave N
                                                       Minneapolis, MN 55411-1792
The Church of St. Anne of Hamel, Minnesota             200 Hamel Rd, P.O. Box 256
                                                       Hamel, MN 55340-0256
The Church of St Anne of LeSueur, Minnesota,           217 N 3rd St
including the parish school and the former parish of   Le Sueur, MN 56058-1808
Church of St. Thomas of Derrynane
The Church of Saint Bartholomew of Wayzata,            630 Wayzata Blvd E
including the parish school                            Wayzata, MN 55391-1704
The Church of Saint Bernard of St Paul Minnesota       1160 Woodbridge St.
                                                       St. Paul, MN 55117-4491
The Church of St. Bernard, of Benton, Minnesota,       212 Church St E
including the parish school                            Cologne, MN 55322-9552
The Church of St. Bonaventure, of Bloomington,         901 90th St E
Minnesota                                              Bloomington, MN 55420-3801
The Church of St. Boniface                             629 2nd St NE
                                                       Minneapolis, MN 55413-1905
The Church of St. Boniface of St. Bonifacius,          4025 Main St
Minn.                                                  Saint Bonifacius, MN 55375-0068

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Parish                                               Address
The Church of Saint Bridget of Minneapolis,          3811 Emerson Ave N
including the Church of Saint Austin of              Minneapolis, MN 55412-2038
Minneapolis, Minnesota
The Church of St. Bridget of Sweden, of Lindstrom,   13060 Lake Blvd, P.O. Box 754
Minnesota                                            Lindstrom, MN 55045-0754
The Church of St. Casimir of St. Paul, Minnesota     934 Geranium Ave E
                                                     St. Paul, MN 55106-2610
The Church of St. Catherine of Spring Lake,          24425 Old Highway 13 Blvd
Minnesota                                            Jordan, MN 55352
The Church of St. Cecilia of St. Paul                2357 Bayless Place
                                                     St. Paul, MN 55114-1105
The Church of St. Charles Borromeo of                2739 Stinson Blvd NE
Minneapolis, Minnesota, including the parish         Saint Anthony, MN 55418-3124
school
The Church of Saint Charles, Bayport, Minnesota    409 3rd St N
                                                   Bayport, MN 55003-1044
The Church of Saint Columba of St. Paul, Minn.     1327 LaFond Ave
                                                   St. Paul, MN 55104-2035
The Church of St Dominic of Northfield Minnesota, 216 Spring St N
including the parish school                        Northfield, MN 55057-1431
The Church of St. Edward, of Bloomington,          9401 Nesbitt Ave S
Minnesota                                          Bloomington, MN 55437-1943
The Church of St. Elizabeth Ann Seton, Hastings,   2035 15th St W
Minnesota, including the parish school and the     Hastings, MN 55033-9294
former parishes of The Church of Guardian
Angels, Hastings, Minnesota and The Church of St.
Boniface of Hasting, Minnesota
The Church of Saint Frances Cabrini of             1500 Franklin Ave SE
Minneapolis, Minnesota                             Minneapolis, MN 55414-3649
The Church of St. Francis de Sales of St. Paul,    650 Palace Ave
Minnesota including Child Care Center &            St. Paul, MN 55102-3540
Preschool, and The Church of St. James of St. Paul
The Church of St. Francis of Assisi                16770 13th St S
                                                   Lake St Croix Beach, MN 55043-9756
The Church of Saint Francis Xavier of Franconia,   25267 Redwing Ave
Minnesota                                          Shafer, MN 55074
The Church of St. Francis of Buffalo, Minnesota,   300 First Ave NW
including the parish school                        Buffalo, MN 55313-5042




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Parish                                             Address
The Parish of Saint Gabriel the Archangel of       6 Interlochen Rd
Hopkins, Minnesota, including St. Joseph of        Hopkins, MN 55343-8548
Hopkins and Saint John the Evangelist of
Interlachen Park
The Church of St. Genevieve of Centerville,        7087 Goiffon Rd
Minnesota including The Church of St. John the     Centerville, MN 55038-9125
Baptist of Hugo
The Church of Saint George of Long Lake            133 Brown Rd N
                                                   Long Lake, MN 55356-9560
The Church of St. Gerard                           9600 Regent Ave N
                                                   Brooklyn Park, MN 55443-1401
The Church of Saint Gregory                        38725 Forest Blvd
                                                   North Branch, MN 55056-0609
The Church of Saint Hedwig of Minneapolis          129 29th Ave. NE
                                                   Minneapolis, MN 55418
The Church of St. Helena of Minneapolis, including 3204 43rd St E
parish school                                      Minneapolis, MN 55406-3858
The Church of St. Henry of Monticello, Minn        1001 7th St E
                                                   Monticello, MN 55362-8805
The Church of Saint Henry of Sharon, Minnesota     165 N. Waterville Ave.
                                                   Le Center, MN 56057
The Church of Saint Hubert of Chanhassen Minn,     8201 Main St
including parish school                            Chanhassen, MN 55317-9647
The Church of St. Ignatius of French Lake,         35 Birch St E
Minnesota                                          Annandale, MN 55302-0126
The Church of St. Jerome, Maplewood, Minnesota     380 Roselawn Ave E
including parish school                            Maplewood, MN 55117-2033
The Church of Saint Joan of Arc in Minneapolis     4537 3rd Ave S
                                                   Minneapolis, MN 55419-5111
The Church of St. John Neumann                     4030 Pilot Knob Rd
                                                   Eagan, MN 55122-1814
The Church of St. John the Baptist of Dayton       18380 Columbus St, P.O. Box 201
Minnesota                                          Dayton, MN 55327-0201
The Church of St. John the Baptist of Byrnesville, 4625 West 125th St
Minnesota, including parish school                 Savage, MN 55378-1357
The Church of St. John Baptist, including parish   835 2nd Ave NW
school                                             New Brighton, MN 55112-6842
The Church of Saint John the Baptist of Jordan     313 East 2nd St
Minn., including parish school                     Jordan, MN 55352-1447


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Parish                                               Address
Church of St. John the Baptist of Excelsior,         680 Mill St
Minnesota, including parish school                   Excelsior, MN 55331-3272
The Church of St. John of Vermillion Minnesota,      106 Main St W
including parish school                              Vermillion, MN 55085-0008
St. John’s Church of Little Canada, Minnesota,       380 Little Canada Rd E
including parish school                              Little Canada, MN 55117-1627
The Church of Saint John Vianney in South Saint      789 17th Ave North
Paul, Minnesota                                      South St. Paul, MN 55075
The Church of St. Joseph                             8701 36th Ave N
                                                     New Hope, MN 55427-1769
The Church of Saint Joseph of West Saint Paul,       1154 Seminole Ave
Minnesota                                            West St. Paul, MN 55118-2020
The Church of St. Joseph, of Red Wing Minnesota      426 8th St W
                                                     Red Wing, MN 55066-3410
The Church of Saint Joseph of Taylors Falls          490 Bench St
                                                     Taylors Falls, MN 55084-0234
The Church of Saint Joseph of Waconia, Minn.,        41 1st St E
including parish school                              Waconia, MN 55387-1526
The Church of St. Joseph, of Rosemount               13900 Biscayne Ave W
Minnesota, including parish school                   Rosemount, MN 55068-3451
The Church of St. Joseph, of Miesville, Minnesota,   23955 Nicolai Ave E
in the Township of Douglas, including parish         Hastings, MN 55033-9650
school
Church of St. Joseph of Rice Lake, Minnesota         171 Elm St
                                                     Lino Lakes, MN 55014-1271
The Church of St. Joseph the Worker, Maple           7180 Hemlock Lane N
Grove, Minnesota                                     Maple Grove, MN 55369-5569
The Church of St. Jude of the Lake in the Town of    700 Mahtomedi Ave
Lincoln, including parish school                     Mahtomedi, MN 55115-1673
The Church of Saint Katharine Drexel, Ramsey,        7101 143rd Ave NW
Minnesota                                            Ramsey, MN 55303-6001
The Church of St. Lawrence of Minneapolis,           1203 5th St SE
Minnesota                                            Minneapolis, MN 55414-2030
The Church of St. Leonard of Port Maurice, of        3949 Clinton Ave S
Minneapolis, Minnesota                               Minneapolis, MN 55409-1635
The Church of St. Louis, of St. Paul Minnesota       506 Cedar St
                                                     St. Paul, MN 55101-2245
The Church of St. Luke of Clearwater, Minnesota      17545 Huber Ave NW
                                                     Clearwater, MN 55320-0249


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Parish                                                 Address
The Church of Saint Margaret Mary, of                  2323 Zenith Ave N
Minneapolis, Minnesota                                 Golden Valley, MN 55422-3853
The Church of St. Mark of St. Paul, Minnesota,         2001 Dayton Ave
including parish school                                St. Paul, MN 55104-5804
The Church of St. Mary, of St. Paul Minnesota          261 8th St E
                                                       St. Paul, MN 55101-2307
The Church of St. Mary of Le Center, Minnesota         165 Waterville Ave N
                                                       Le Center, MN 56057-1524
The Church of St. Mary, of New Trier, Minnesota        8433 239th St E
                                                       Hampton, MN 55031-9766
The Church of St. Mary of Stillwater                   423 5th St S
                                                       Stillwater, MN 55082-4982
The Church of St Mary of Waverly Minnesota             606 Elm Ave
                                                       Waverly, MN 55390-0278
The Church of St. Mary, Minnesota (also known as       1867 95th St SE
the Church of St. Mary of Czestochowa)                 Delano, MN 55328-8208
The Church of St. Mary of the Lake, of Medicine        105 Forestview Ln N
Lake, Minnesota                                        Plymouth, MN 55441-5910
The Church of St. Mary of the Lake, of White Bear,     4690 Bald Eagle Ave
Minnesota                                              White Bear Lake, MN 55110-3441
The Church of St. Matthew of St. Paul, Minnesota       490 Hall Ave
                                                       St. Paul, MN 55107-2845
The Church of St. Mathias of Hampton, Minnesota        23315 Northfield Blvd
                                                       Hampton, MN 55031-9667
The Church of Saint Maximilian Kolbe, including        204 South River St.
parish school, formerly known as The Church of St.     PO Box 470
Peter, of Delano, Minnesota and The Church of St.      Delano, MN 55328
Joseph of Delano
The Church of St. Michael of Farmington,           22120 Denmark Ave
Minnesota                                          Farmington, MN 55024
The Church of Saint Michael of Kenyon, Minnesota 108 Bullis St
                                                   Kenyon, MN 55946-1156
The Church of St. Michael, of Pine Island          451 5th St SW
Minnesota                                          Pine Island, MN 55963-6761
The Church of St. Michael of St. Paul Minnesota    337 Hurley St E
                                                   West St. Paul, MN 55118-1605
The Church of St. Michael, of Stillwater Minnesota 611 3rd St S
                                                   Stillwater, MN 55082-4908
The Church of St. Michael, of Frankfort,           11300 Frankfurt Pkwy NE
Minnesota, including parish school                 Saint Michael, MN 55376-4550
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Parish                                                  Address
The Church of St. Michael of Prior Lake, including      16311 Duluth Ave SE
parish school                                           Prior Lake, MN 55372-2423
The Church of Saint Nicholas of Carver Minn.            412 4th St W
                                                        Carver, MN 55315-0133
St. Nickolaus Church of New Market Scott County         51 Church St
Minnesota                                               New Market, MN 55054-0009
The Church of St. Odilia, of Shoreview, Minnesota,      3495 Victoria St N
including parish school                                 Shoreview, MN 55126-3813
St. Olaf’s Catholic Church of Minneapolis,              215 South 8th St
Minnesota                                               Minneapolis, MN 55402-2803
The Church of Saint Pascal Baylon, St. Paul,            1757 Conway St
Minnesota, including parish school, and the former      St. Paul, MN 55106-5929
parish of The Church of St. John of St. Paul,
Minnesota
The Church of St. Patrick of Inver Grove,               3535 72nd St E
Minnesota                                               Inver Grove Heights, MN 55076-2627
The Church of St. Patrick of Edina, Minnesota           6820 St. Patrick’s Lane
                                                        Edina, MN 55439-1631
The Church of, St. Patrick, of Shieldsville             7525 Dodd Rd
Minnesota                                               Faribault, MN 55021-7431
The Church of St. Patrick of Cedar Lake,                24425 Old Highway 13 Blvd
Minnesota                                               Jordan, MN 55352-9604
The Church of St. Patrick of Cedar Creek,               19921 Nightingale St NW
Minnesota                                               Oak Grove, MN 55011-9243
The Church of St. Patrick of St. Paul Minnesota         1095 DeSoto St
                                                        St. Paul, MN 55130-3704
The Church of Saint Paul of Zumbrota, Minnesota         749 Main St S
                                                        Zumbrota, MN 55992-1608
The Church of Saint Paul                                1740 Bunker Lake Blvd NE
                                                        Ham Lake, MN 55304-7040
The Church of Saint Peter of Richfield, Minnesota,      6730 Nicollet Ave
including parish school of Blessed Trinity              Richfield, MN 55423-2464
The Church of St. Peter, of Mendota, Minnesota          1405 Hwy 13
                                                        Mendota, MN 55150-0679
The Church of Saint Peter, including parish school      1250 Shore Dr. S
                                                        Forest Lake, MN 55025-1933
The Church of St. Peter of North St. Paul, including    2600 Margaret St N
parish school and the former parish The Church of       North St. Paul, MN 55109-2361
the Holy Redeemer


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Parish                                                  Address
The Church of St. Peter Claver Minnesota,               375 Oxford St N
including parish school                                 St. Paul, MN 55104-4734
The Church of St. Pius of Cannon Falls, Minnesota       410 Colvill St W
                                                        Cannon Falls, MN 55009-2441
The Church of St. Pius X of White Bear, Minnesota       3878 Highland Ave
                                                        White Bear Lake, MN 55110-4240
The Church of Saint Raphael in Crystal, Minnesota,      7301 Bass Lake Rd
including parish school                                 Crystal, MN 55428-3826
The Church of Saint Richard, of Richfield,              7540 Penn Ave S
Minnesota                                               Richfield, MN 55423-3629
The Church of St. Rita of Cottage Grove,                8694 80th St S
Minnesota                                               Cottage Grove, MN 55016-2012
The Church of Saint Rose of Lima of Rosetown,           2048 Hamline Ave N
Minnesota, including parish school                      Roseville, MN 55113-5855
The Church of St. Stanislaus of Saint Paul,             398 Superior St
Minnesota                                               St. Paul, MN 55102-2925
The Church of St. Stephen of Minneapolis,               2211 Clinton Ave
Minnesota                                               Minneapolis, MN 55404-3656
The Church of St. Stephen, of Anoka, Minnesota,         525 Jackson St
including parish school                                 Anoka, MN 55303-2353
The Church of Saint Therese of Deephaven,               18323 Minnetonka Blvd
including parish school                                 Deephaven, MN 55391-3231
The Church of St. Thomas Aquinas in St. Paul            920 Holly Ave
Park, Minnesota                                         St. Paul Park, MN 55071-1418
The Church of St. Thomas Becket                         4455 S Robert Trail
                                                        Eagan, MN 55123-2038
The Church of Saint Thomas More, including              1079 Summit Ave
parish school, The Church of the Immaculate Heart       St. Paul, MN 55105-3004
of Mary, St. Paul, Minnesota and former parish of
Church of St. Luke, St. Paul Minnesota
The Church of St. Thomas of Minneapolis                 2914 W 44th St
                                                        Minneapolis, MN 55410-1551
The Church of St. Thomas, of Corcoran, Minnesota        20000 County Rd 10
                                                        Corcoran, MN 55340-9501
The Church of Saint Timothy of Blaine                   707 89th Ave NE
                                                        Blaine, MN 55434-2304
The Church of St. Timothy of Maple Lake,                8 Oak Ave N
Minnesota, including parish school                      Maple Lake, MN 55358-2457
The Church of Saint Victoria of Victoria, Minn.         8228 Victoria Dr.
                                                        Victoria, MN 55386-9692
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Parish                                                Address
The Church of St. Vincent de Paul, of Osseo,          9100 93rd Ave N
Minnesota, including parish school                    Brooklyn Park, MN 55445-1407
The Church of St. Wenceslaus, of New Prague,          215 Main St E
Minnesota, including parish school, Saint             New Prague, MN 56071-1832
Scholastica Church of Heidelberg, Minnesota, The
Church of Saint John the Evangelist of Union Hill,
Minn., The Church of St. Joseph, and Church of
Saint Benedict, of St. Benedict.
The Church of Saint William of Fridley, Minnesota     6120 5th St NE
                                                      Fridley, MN 55432-5033
Transfiguration Church of Oakdale, Minnesota,         6133 15th St N
including parish school                               Oakdale, MN 55128-4201




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                                          EXHIBIT 4

         14.5 SETTLING INSURER SUPPLEMENTAL INJUNCTION.

 Supplemental Injunction Preventing Prosecution of Claims Against Settling Insurer
Entities.
  Pursuant to Sections 105(a) and 363 of the Bankruptcy Code and in consideration of the
undertakings of the Settling Insurers pursuant to the Insurance Settlement Agreements,
including the Settling Insurers’ purchases of insurance policies or Interests in insurance
policies from the Archdiocese, Other Insured Entities, Seminaries, and Catholic Entities
pursuant to Section 363(f) of the Bankruptcy Code:
  Any and all Persons who have held, now hold or who may in the future hold any Interests
(including all debt holders, all equity holders, governmental, tax and regulatory
authorities, lenders, trade and other creditors, Tort Claimants, perpetrators, other
insurers, and all others holding Interests of any kind or nature whatsoever, including those
Claims released or to be released pursuant to the Insurance Settlement Agreements)
against any of the Protected Parties or the Settling Insurer Entities that directly or
indirectly arise from, relate to or is in connection with any of the Settling Insurer Entity
Policies, any Claim that would have been covered under a Settling Insurer Entity Policy
but for an this Agreement, any Tort Claim, Related Insurance Claim, Class 3 Claims, Class
12 Claims, Class 13 Claims, Class 14 Claims, or Claim Nos. 502, 503, and 668 are hereby
permanently stayed, enjoined, barred, and restrained from taking any action, directly or
indirectly, to assert, enforce or attempt to assert or enforce any such Interest against the
Settling Insurer Entities, the Settling Insurer Entity Policies, or Protected Parties,
including:
               (b)     Commencing or continuing in any manner any action or other
         proceeding against the Settling Insurer Entities or the Protected Parties or the
         property of the Settling Insurer Entities or Protected Parties;

                (c)   Enforcing, attaching, collecting, or recovering, by any manner or
         means, any judgment, award, decree or order against the Settling Insurer Entities
         or Protected Parties or the property of the Settling Insurer Entities or Protected
         Parties;

                (d)    Creating, perfecting, or enforcing any lien of any kind against the
         Settling Insurer Entities or Protected Parties or the property of the Settling Insurer
         Entities or Protected Parties;

                (e)    Asserting or accomplishing any setoff, right of indemnity,
         subrogation, contribution, or recoupment of any kind against any obligation due the
         Settling Insurer Entities or Protected Parties or the property of the Settling Insurer
         Entities or Protected Parties; and

                (f)   Taking any action, in any manner, in any place whatsoever, that does
         not conform to, or comply with, the provisions of the Plan.

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  All claims described in this Section 14.5 shall be channeled to the Trust. This injunction
shall not apply to any reinsurance claim.




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